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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------X
ALEX GOLDFARB,                           :                                           Civil Action No.

                                                        Plaintiff,              :

                              v.                                                :    COMPLAINT

CHANNEL ONE RUSSIA AND RT AMERICA,                                              :    Jury Trial Demanded

                                                        Defendants.             :

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          Plaintiff Alex Goldfarb, by and through his attorneys, Rottenberg Lipman Rich, P.C., for

his complaint, alleges as follows:

                                            NATURE OF THE ACTION

          1.        Dr. Alex Goldfarb was an associate and a close friend of Alexander Litvinenko, a

Russian dissident who was murdered in London by Russian agents in 2006 Dr. Goldfarb brings

this action because he is a victim of malicious defamation by defendants, who have falsely

accused him of murdering his friend Alexander Litvinenko and his own wife, as well as being an

agent of the United States Central Intelligence Agency (“CIA”).

          2.        On November 23, 2006, Litvinenko, a former officer of the Russian Federal

Security Service (“FSB”) who had been living in London, died of poisoning with the radioactive

element Polonium-210. On his deathbed, Litvinenko accused Russian President Vladimir Putin

of ordering his murder.

          3.        In 2007, British authorities demanded that Russia extradite Andrey Lugovoy on

charges of murdering Litvinenko. In 2011, those authorities issued an international arrest

warrant for a second suspect, Dmitry Kovtun. On information and belief, both men are presently

in Russia.
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       4.      For six years after Litvinenko’s death, his father Walter Litvinenko (“Walter”)

was outspoken in repeatedly and publicly blaming President Putin for his son’s murder.

However, in 2012 Walter denounced his late son as a traitor and asked for Putin’s forgiveness

and permission to return to Russia. Walter named Dr. Goldfarb and another Russian exile, Boris

Berezovsky, as his son’s murderers.

       5.      In 2015-2016, Sir Robert Owen, a British High Court judge, conducted a

comprehensive judicial inquiry into Litvinenko’s death (the “UK Inquiry”). Sir Robert found

beyond a reasonable doubt that Lugovoy and Kovtun had murdered Litvinenko. He also found a

“strong probability” that the murderers acted on behalf of the Russian state, probably on personal

instructions from Putin.

       6.      Litvinenko’s murder recently regained international prominence after the

poisoning of two Russian nationals, Sergei and Julia Skripal, on March 4, 2018 in Salisbury,

England. The British government accused Russia of conducting the Skripal attack and noted the

uncanny similarity with the Litvinenko murder.

       7.      It is in this context that defendants Channel One Russia and RT America

embarked on a propaganda offensive aimed to absolve Lugovoy, Kovtun and the Russian state of

responsibility for Litvinenko’s death. Defendants broadcast programs falsely accusing Dr.

Goldfarb of murdering Litvinenko, as well as his own wife because she “knew too much” about

Litvinenko’s murder, and promoted a fictitious narrative attempting to discredit the findings of

the UK Inquiry.

       8.      These falsehoods were published by Defendants, who repeatedly broadcast false

statements by Walter, Lugovoy, and Kovtun, as well as Defendants’ contributors, reporters and

presenters, all of whom knew that their statements were false.



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       9.      As demonstrated below, Defendant Channel One Russia is liable to Dr. Goldfarb

because on March 20, 2018, March 30, 2018, April 4, 2018, and April 10, 2018, Channel One

broadcasted programs which were seen across the world, including in New York, falsely

accusing Dr. Goldfarb of murdering both Alexander Litvinenko and Dr. Goldfarb’s wife. For the

same reasons, Defendant RT America is liable for its broadcast of April 1, 2018. Defendants

published the statements at issue with actual knowledge that they were false; at a minimum, they

acted with reckless disregard of the falsity of those statements. The false statements published

by Defendants accusing Dr. Goldfarb of murder constitute libel on its face, and have caused him

significant actual damages.

       10.     Dr. Goldfarb brings this action to hold Channel One Russia and RT America

accountable for the substantial damages he has suffered, and will continue to suffer, as a result of

       Defendants’ malicious and reckless conduct, and to deter the dissemination of false

narratives fabricated by master propagandists deceitfully posing as journalists.

                                            PARTIES

       11.     Plaintiff Alex Goldfarb, a.k.a. Alexander Goldfarb, is a distinguished

microbiologist who received a Ph.D. from the Weizmann Institute in Israel and was a professor

of microbiology at Columbia University and Public Health Research Institute in New York from

1982 to 2006. He is also a noted human rights activist who has worked with, among others,

Andrei Sakharov. Dr. Goldfarb is a citizen and resident of the State of New Jersey.

       12.     Defendant Channel One Russia (“Channel One”), on information and belief, is a

Joint-Stock Company formed under the laws of the Russian Federation with its principal place of

business in Moscow, Russia. According to its website, Channel One is “the most widely

distributed Russian-language channel … reaching over 250 million TV viewers around the

world.”

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       13.     Defendant RT America, a.k.a. ANO TV-Novosti (“RT”), on information and

belief, is an autonomous nonprofit organization formed under the laws of Russian Federation

with its principal place of business in Moscow, Russia. According to its web site, “RT has a

total weekly audience of 100 million viewers in 47 of the 100+ countries where RT broadcasts.”

                                         JURISDICTION

       14.     Subject matter jurisdiction is proper in this Court under 28 U.S.C § 1332 (a) (2)

because the matter in controversy exceeds the sum of $75,000, exclusive of interest and costs,

and is between a citizen of a State and citizens of a foreign state.

       15.     This Court has personal jurisdiction over Defendant Channel One pursuant to

New York Civil Practice Law and Rules (“CPLR”) § 301. Defendant Channel One transacts

significant business within the State of New York. Its Russian-language programs are streamed

to tens of thousands of paid cable, satellite and IPTV subscribers in New York through major

distributors, including Spectrum, DirecTV, Optimum and Xfinity. Channel One maintains an

office at 250 West 57th Street, Suite 429, New York, NY 10107. Upon information and belief,

Channel One’s exclusive advertising sales representative in New York is “Atmosphere - Channel

One Russia” at 133 West 25th Street, Suite 3W, New York, NY 10001.

       16.     This Court has personal jurisdiction over Defendant RT pursuant to New York

CPLR § 301. RT transacts significant business within the State of New York. Upon information

and belief, RT distributes English language programming to tens of thousands of paid

subscribers in New York through Spectrum. Upon information and belief, RT maintains a studio

in New York City and employs a permanent New York correspondent.

                                              VENUE

       17.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) (1)

because both Defendants are residents of the State in which this judicial district is located, and

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pursuant to 28 U.S.C. § 1391(b) (2) because a substantial part of the events giving rise to the

claim occurred in this judicial district.

                                            THE FACTS

Alexander Litvinenko - A Whistleblower

        18.     Alexander Litvinenko was an officer in the anti-organized crime division of the

FSB. In 1998, he led a group of FSB members in a press conference during which they disclosed

corruption and criminality among top FSB officials. Shortly thereafter, FSB arrested Litvinenko

on sham charges of official misconduct. In late 1999, after he was in jail for about a year, he was

released pending trial.

        19.     Boris Berezovsky was then a wealthy entrepreneur with interests in oil,

transportation and the media, including a major stake in ORT-TV, the predecessor of Channel

One. He was also an advisor to President Boris Yeltsin, a deputy in the Russian Parliament,

known as the Duma, and held other official positions.

        20.     Plaintiff Dr. Goldfarb was then a professor of microbiology in New York and an

advisor to the philanthropist George Soros. During the 1990s, Dr. Goldfarb spent much of his

time in Moscow directing various Soros projects. During this time, he met and befriended Mr.

Berezovsky and Mr. Litvinenko.

        21.     Andrey Lugovoy, a former KGB officer, was Head of Security of ORT-TV and

oversaw Berezovsky’s personal security.

        22.     In September 1999 a series of mysterious explosions in apartment buildings killed

more than 300 people in Moscow and other Russian cities. Mr. Putin, then Prime Minister and

the former head of FSB, blamed the bombings on Chechen separatists. Putin ordered the

Russian army to invade Chechnya. His forceful response to the bombings helped him win

presidential elections in March 2000.

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       23.    Within weeks of his inauguration, Mr. Putin moved to put Russia’s broadcast

media under state control. In October 2000 he pressured Berezovsky to surrender control of

ORT to Kremlin-friendly oligarchs and threatened to imprison him if he did not comply. Fearing

arrest, Berezovsky fled to London.

       24.    Putin’s election emboldened the FSB to take revenge on its detractors.

Litvinenko decided to flee. His escape was organized by Berezovsky and Dr. Goldfarb. On

November 1, 2000 Litvinenko, his wife Marina and their six-year-old son Anatoly, accompanied

by Dr. Goldfarb, arrived in London and sought asylum.

Litvinenko’s life and death in London (2001-2006)

       25.    Litvinenko was granted asylum in May 2001. During 2002-2003 he wrote two

books: “Blowing Up Russia,” which accused the FSB of staging the 1999 apartment bombings in

order to provoke the Chechen war and help Putin win the presidency, and “Lubyanka Criminal

Group,” which described corruption in the FSB.

       26.     Berezovsky was granted asylum in the United Kingdom (“UK”) in September

2003. The Russian Federation requested his extradition from UK on charges of economic crimes

(2003) and plotting to overthrow Putin (2006). Both requests were rejected.

       27.    In March 2003, Vladimir Terluk, an asylum seeker in London from Kazakhstan,

told Litvinenko and Dr. Goldfarb that he was an FSB agent assigned to carry out reconnaissance

for an assassination of Berezovsky using a poisoned pen. Terluk offered to “flip” in exchange

for money and help in obtaining asylum. Dr. Goldfarb and Litvinenko rejected Terluk’s overture

and reported him to the London police.

       28.    In 2003, Litvinenko began working as a consultant for British security and

business intelligence companies. M16, the British Secret Service, hired him as a consultant on



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Russian organized crime. Litvinenko was assigned to assist Spanish law enforcement in the

investigation of the Russian mafia in Spain.

       29.       During this work, Litvinenko uncovered connections between Russian gangsters

and members of Putin’s inner circle. Upon information and belief, Litvinenko’s discoveries

were the immediate motive for his murder by Russian operatives.

       30.       During this period, Dr. Goldfarb was the CEO of the International Foundation for

Civil Liberties (“IFCL”), a New York non-profit corporation funded by Berezovsky. As part of

its work exposing wrongdoing by the Putin regime, IFCL provided grants to Litvinenko to fund

his two books.

       31.       Lugovoy started visiting London frequently in the end of 2005. At the time he

owned a security company in Moscow. In 2006 Litvinenko and Lugovoy discussed a possible

business venture to provide due diligence reports on Russian figures.

       32.       Litvinenko met with Lugovoy and Kovtun on October 16, 2006 at the office of a

company called Erynis. On November 1, 2006 they all met again at the Pine Bar in the London

Millennium hotel. That night, while Litvinenko fell ill with what would later be shown to be

Polonium poisoning, Lugovoy and Kovtun returned to Moscow.

       33.       Dr. Goldfarb arrived in London from New York on November 13, 2006.

Litvinenko’s father Walter arrived in London from Moscow on November 20, 2006.

       34.       Only a few people were permitted to see Mr. Litvinenko in the hospital, among

them Ms. Litvinenko, Dr. Goldfarb, Berezovsky, Walter and a family friend, the exiled Chechen

politician Akhmed Zakayev. The London police interviewed Litvinenko at his hospital bed.

       35.       Mr. Litvinenko died on the evening of November 23, 2006 without knowing what

had poisoned him. Later that night, the London police identified Polonium-210.



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       36.     Two days before his death, Litvinenko signed a written statement accusing Putin

of ordering his poisoning. On the morning after his death, Dr. Goldfarb, with Walter standing

next to him, read that statement to the press in front of the hospital.

Lugovoy and Kovtun Suspected of Murder

       37.     On May 28, 2007, U.K. officials asked Russia to extradite Lugovoy to stand trial

for Litvinenko’s murder. Russia denied the request. In December 2007, Lugovoy was elected to

the Duma. In March 2015, Putin awarded Lugovoy a medal “For Services to the Fatherland,

Second Degree.”

       38.     In May 2007, Dr. Goldfarb and Marina Litvinenko published a book entitled

“Death of a Dissident. The Poisoning of Alexander Litvinenko and the Return of the KGB.” The

book advanced the theory that Lugovoy and Kovtun poisoned Litvinenko on Putin’s orders. The

conclusions in the book were based on inference because hard evidence was not then available,

since at that time the London police file was sealed.

       39.     In 2011, British authorities named Kovtun as a second suspect in Litvinenko’s

murder and issued an international warrant for his arrest. Upon information and belief, Kovtun

is presently a general director of a company in Moscow.

The False Narrative Emerges

       40.     On April 1, 2007, the Russian Television and Radio Broadcasting Company

(“RTR,” a state-controlled company not related to Defendants) broadcast an interview with

Terluk. According to Terluk, in March 2003 Litvinenko and Dr. Goldfarb induced him to make a

false statement to the London police about a plot to kill Berezovsky with a poisoned pen. That

supposedly false statement, RTR claimed, became the basis for Berezovsky receiving asylum in

the UK. RTR’s presenter further hypothesized that three years later Berezovsky had Litvinenko

killed because he feared that Litvinenko might reveal the supposed asylum fraud.

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        41.      Berezovsky sued RTR and Terluk for defamation in a UK court. On March 10,

2010, Mr. Justice Eady concluded (EXHIBIT 1) that there was no evidence that Berezovsky had

any part in Litvinenko’s murder, and that Terluk’s central allegation, i.e., that a false statement

was procured from Terluk in order for Berezovsky to obtain asylum and avoid extradition, was

false. Berezovsky was awarded defamation damages.

        42.      Despite the judgement in Berezovsky vs. Terluk, the false narrative that

Berezovsky had Litvinenko killed in order to silence him continues to be advanced by Russian

propagandists.

The About-face of Walter

        43.      In 2008, Litvinenko’s father Walter moved from Russia to Italy where

Litvinenko’s half-brother Maxim lived. The family put all their savings into Maxim’s failing

restaurant. By the end of 2009, the restaurant went into bankruptcy. At Walter’s request

Berezovsky arranged through Dr. Goldfarb to send him $60,000. Walter asked Berezovsky for

more money but was turned down.

        44.      In 2011, Walter’s wife died. At age 72, Walter was living alone and in poverty in

Senigallia, Italy.

        45.      For six years after Litvinenko’s death, Walter was outspoken in blaming Putin for

his son’s murder. For example, on November 22, 2007 in an interview with The Guardian he

said:

                        As a reward, the chief executioner of my son, Mr. Lugovoy, has now been
                        given a seat in the Duma. The main executioner, Mr. Putin, is afraid to
                        leave his position, as he wants to maintain his power in order to cover up
                        this crime.


        Similarly, on January 27, 2012 he wrote in his blog:



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                         Russia presently is a bigger evil than in the old days… I warn anyone
                         who is going to cast a vote for Putin: your vote will make you and your
                         family hostages. If you don’t care about yourself at least think of your
                         children.

          46.   However, five days later, Walter abruptly changed his position. According to

Channel One, their reporters rushed to Senigallia, Italy after receiving a mea culpa letter from

Walter.

          47.   On February 2, 2012 Channel One and RT broadcast sensational interviews with

Walter, who called his son “a traitor” and asked Putin for forgiveness and permission to return to

Russia. Channel One correspondent Anton Vernitsky expressed serious doubts about Walter’s

sincerity:

                      One cannot be at all sure that Walter Litvinenko wouldn’t instantly change
                      his view if someone in the West would all of a sudden help him.

          48.   In an interview on RT on May 31, 2012 Walter named Berezovsky and Dr.

Goldfarb as his son’s killers. Upon information and belief, this was the first time Walter publicly

named Dr. Goldfarb (along with Mr. Berezovsky) as his son’s murderer:

                     Sara Firth, RT Reporter Further twists in the story surrounding the
                      poisoning and murder of former security official Alexander Litvinenko.
                      Litvinenko’s father Walter has revealed in an interview the names of the
                      people he says are the killers of his son. The people he names are the
                      Russian billionaire Boris Berezovsky and Alex Goldfarb and these were
                      both former colleagues and friends of Alexander Litvinenko.
                      Walter It was Berezovsky and Goldfarb. That’s it. Goldfarb knows all
                      about atomic energy. How do you think Alexander first became infected
                      with Polonium-210? Why do you think this case has been dragging on for
                      so long? Why has there’s been no court case? Because they don’t have
                      anything, and if a real court case were to open, it will become apparent who
                      was behind it!




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       49.     Two years later, Sara Firth resigned from RT. She told CNN’s Don Lemon that

instead of honest reporting RT was “pushing a narrative.”

       50.     As of May 31, 2012, the Litvinenko police file was still sealed.

       51.     Upon information and belief, Walter returned to Moscow in 2013. In a Russian

newspaper interview he said:

                     After I repented, they forgave me… People came to talk… Now I am in
                     Moscow, happy. They gave me the apartment. I can live here as long as I
                     wish, but it belongs to the agency…

The Official British Probe: Inquest to Public Inquiry (2012-2014)

       52.     A coroner’s inquest into Litvinenko’s death, as required by UK law, was launched

on August 7, 2012 with the appointment of Sir Robert Owen, a High Court judge.

       53.     Lugovoy, among others, was designated “an interested party” and was

represented by counsel. However, on March 13, 2013, Lugovoy withdrew from the probe. Upon

information and belief, he withdrew immediately after his lawyers reviewed the evidence against

him in the London police file.

       54.     On December 12, 2012, after reviewing in camera secret documents from UK

government agencies, Sir Robert found evidence of a "prima facie case" that Litvinenko had

been murdered on behalf of the Russian state. The UK Government obtained a court order

preventing disclosure of those documents in open court.

       55.     On June 5, 2013, Sir Robert asked the government to set up a “Public Inquiry”

instead of an inquest, which would allow him to take the secret evidence into consideration. On

July 22, 2014, then-Home Secretary Theresa May announced that an Inquiry into Litvinenko’s

death would be held. Sir Robert was appointed Chairman.




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           56.      On March 23, 2013, Berezovsky was found dead. While the police found his

death to be suicide, the coroner was unable to rule out a foul play and entered an open verdict.

UK Inquiry (2015-2016)

           57.      Public Inquiries are established by the UK government, under the Inquiries Act

2005, to conduct independent and impartial investigations of events of public concern. The

factual findings in public inquiries may be used in criminal or civil proceedings.

           58.      The Litvinenko Public Inquiry opened in London on July 31, 2014. Open

hearings at the Royal Courts of Justice were held for 34 days in January, February, March and

July of 2015, and the police evidence was publicly disclosed for the first time. The transcripts of

the hearings and the evidence in the case are available online.1 There were also several days of

closed hearings.

           59.      Sir Robert presented The Inquiry Report2 (the “Report”) to the Parliament and

released it to the public on January 21, 2016.

           60.      Sir Robert noted that neither Lugovoy nor Kovtun participated in the Inquiry:

                                     2.17 Andrey Lugovoy and Dmitri Kovtun, both of whom are
                                     wanted by the British authorities for the murder of Mr. Litvinenko,
                                     declined my invitation to give evidence to the Inquiry…

                                     2.19 …I should emphasize that, in the end, the fact that Mr.
                                     Lugovoy and Mr. Kovtun did not give oral evidence does not
                                     undermine the findings that I have made about their involvement in
                                     Mr. Litvinenko’s death. The findings are clear. I am entirely
                                     confident in making them.

           61.      Sir Robert then explained the standards of proof he applied:



1
    : http://webarchive.nationalarchives.gov.uk/20160613090328/https://www.litvinenkoinquiry.org/hearings
2
 https://assets.publishing.service.gov.uk/government/uploads/system/uploads/attachment_data/file/493855/The-
Litvinenko-Inquiry-H-C-695.pdf
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                                  2.20 …where in this Report I state that ‘I am sure’ I will have
                                  found a fact to the criminal standard. When I use such expressions
                                  as ‘I find’ or ‘I am satisfied’ the standard of proof will have been
                                  the ordinary civil standard of proof, namely the balance of
                                  probabilities.

        62.      Two of Walter’s statements were admitted as evidence.3 The first statement was

to the London police, signed on November 30, 2006, a week after his son’s death. This excerpt

was read in court:

                                  When I was visiting Sasha in hospital, he was still in his right mind
                                  and consciousness until the very end i.e. until they linked him to
                                  the controlled artificial intra-tracheal respiration, he was able to
                                  talk meaningfully. He was struggling to talk but he accused
                                  President Putin of his death, 'Daddy, Putin has poisoned me’. He
                                  said that he was a very important witness of the crimes committed
                                  by Putin and [then FSB Director Nikolai] Patrushev. He said that
                                  the international community would sooner or later put Putin before
                                  court for his crimes…. He said that Putin was a man with perverted
                                  mind, a very dangerous man because he was holding power. 'You,
                                  Daddy, be careful'.

        63.      The second statement was signed on September 18, 2012 in Ancona, Italy, shortly

before Walter returned to Russia. This excerpt was read in court:

                                  I intend to inform, as I added as conclusion, from what I have seen
                                  personally, from what Alexander had told me before his death,
                                  from what I have learned from other people, and based on my
                                  personal investigations, that what had happened to Alexander in
                                  London, it was a result of Berezovsky's activity. It was him who
                                  didn't want Alexander, after coming back to Russia, to be able to
                                  tell something about what he had done and about his business in
                                  London. I believe that Polonium was used just to mislead
                                  everyone and that it was skillfully placed everywhere where
                                  Lugovoy had been present. I also want to specify that Goldfarb,


3
 https://www.litvinenkoinquiry.org/hearings. See Walter’s statements attached to proceedings on Day 26 (17 March
2015)

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                                    partner of Berezovsky, is technical specialist in the field of nuclear
                                    production… Besides, I would like to add that I have been invited
                                    to a certain press conference in London. During the press
                                    conference, Goldfarb broke me off by the elbow when I was saying
                                    that my son had defended with his heart London from Polonium.
                                    To my opinion, Berezovsky and Goldfarb found this phrase
                                    premature. After the press conference I saw a wife of Alex
                                    Goldfarb crying on the couch. Perhaps she had drunk a little but
                                    she said the following embracing me: 'Poor Walter, poor Walter.
                                    Alex killed Alexander.' [There is a note that the phrase was in
                                    English.] I clarify that Goldfarb's name is Alex. A month later this
                                    woman died. I studied English but I don't speak it. I understood
                                    the meaning of this phrase just afterwards as I was very suffering
                                    of my son's death during that period.

           64.     Upon information and belief, this was the first time Walter named the late Mrs.

Alex Goldfarb as his source and insinuated that her death might be connected with her alleged

revelation to him. In truth, Dr. Goldfarb’s wife Svetlana died of cancer at the age of 55 in April

2010, three and half years after Litvinenko’s death.

           65.     In the UK Inquiry, Dr. Goldfarb testified that Walter’s statements were patently

untrue, and attributed them to Walter’s despair due to his dire financial situation and the loss of

his wife.4

           66.     Sir Robert did not find Walter’s November 18, 2012 statement to be credible.

           67.     А large body of evidence regarding Lugovoy and Kovtun was summarized in the

UK Inquiry Report, including:

                   (a) quantitative scientific analyses of the Polonium trail the two men left behind,

                   including their hotel rooms, offices, toilets, restaurants, planes, etc. This data was

                   matched against the men’s travel, movements and meetings. The pattern of

                   Polonium contamination was only consistent with Mr. Lugovoy and Mr. Kovtun

4
    https://www.litvinenkoinquiry.org/hearings. See Dr Goldfarb’s testimony on Day 26 (17 March 2015)
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              having brought Polonium to London three times on their three visits between 16

              October and 1 November 2006, and having made two attempts to poison Mr.

              Litvinenko, on 16 October at Erynis and 1 November 2006 at Pine Bar; and

              (b) the testimony of a witness who said that two days before the second attack on

              Mr. Litvinenko, Kovtun told him he was on a mission to poison a traitor “with a

              very expensive poison”.

       68.    Sir Robert concluded that Lugovoy and Kovtun were the murderers:

                            8.60 I have found that Mr. Litvinenko ingested the fatal dose of
                            polonium 210 when he drank tea in the Pine Bar on 1 November
                            2006. I have also found that he did not put the polonium 210 into
                            the teapot himself – either by accident, or as a deliberate means of
                            committing suicide.

                            8.65 I am sure that Mr. Lugovoy and Mr. Kovtun placed the
                            polonium 210 in the teapot at the Pine Bar on 1 November 2006.

                            8.66 I am sure that they did this with the intention of poisoning Mr.
                            Litvinenko.
                            8.67 I am sure that the two men had made an earlier attempt to
                            poison Mr. Litvinenko, also using polonium 210, at the Erynis
                            meeting on 16 October 2006.

                            8.68 I am sure that Mr. Lugovoy and Mr. Kovtun knew that they
                            were using a deadly poison (as opposed to, for example, a ‘truth
                            drug’ or a sleeping draught), and that they intended to kill Mr.
                            Litvinenko.


       69.    Sir Robert specifically rejected the theory advanced by Lugovoy (and echoed by

Walter) that someone had deliberately placed Polonium 210 in the footsteps of Lugovoy and

Kovtun to set them up.




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                              8.161 It has been a frequent theme of Mr. Lugovoy’s press
                              interviews over the years that he has been the victim of a set up.
                              He has stated that MI6, or perhaps some other British agency, must
                              have killed Mr. Litvinenko and then spread a trail of polonium in
                              order to incriminate him and Mr. Kovtun.

                              8.164 I will simply say that in all the oral evidence that I have
                              heard during this process, in all the many thousands of pages of
                              documents that I have seen, I have not come across anything that
                              would even begin to substantiate the claims of a set up made by
                              Mr. Lugovoy. On the other hand, I have seen plentiful evidence
                              that is wholly inconsistent with Mr. Lugovoy’s claims. That
                              evidence, much of which I have attempted to summarize above,
                              clearly establishes that, far from being set up, Mr. Lugovoy did in
                              fact, with Mr. Kovtun, poison Mr. Litvinenko.

         70.   Sir Robert also rejected the notion that Berezovsky had any role in Litvinenko’s

death:

                              9.16 … I am quite satisfied that Mr. Berezovsky bore no
                              responsibility for Mr. Litvinenko’s death.

         71.   In addition to the evidence reviewed in open court and made public, Sir Robert

considered closed materials concerning two specific issues:

                              7.9 …Those issues will include the question of whether Alexander
                              Litvinenko had any sort of relationship with British security and
                              intelligence agencies, and if so the nature and extent of that
                              relationship. The issues will also include the question of whether
                              the Russian State was responsible for Mr. Litvinenko’s death.

         72.   Concerning the Russian State’s responsibility, Sir Robert found:

                              9.215 Taking full account of all the evidence and analysis available
                              to me, I find that the FSB operation to kill Mr. Litvinenko was
                              probably approved by Mr. Patrushev and also by President Putin.




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          73.     In summary, the relevant conclusions of the UK Inquiry include:

                • Beyond a reasonable doubt, Lugovoy and Kovtun poisoned Litvinenko. All the

                 evidence on that issue was presented in open court, and there was no closed

                 evidence;

                • Alternative theories, including the alleged role of Berezovsky and the claim that

                 Lugovoy and Kovtun had been “set-up” were rejected for total lack of evidence;

                • Walter’s allegations against Dr. Goldfarb were heard in open court and rejected;

                 and

                • The only closed evidence related to Litvinenko’s work for MI6 and the Russian

                 State’s responsibility. There was no closed evidence concerning the responsibility

                 of Lugovoy and Kovtun for Litvinenko’s murder.

False Coverage of the UK Inquiry Report by Defendants: Pushing a Narrative

          74.     Both Channel One and RT were fully aware of the contents and conclusions of Sir

Robert’s Report. Channel One’s news program on January 21, 20165 showed a recording of Sir

Robert reading his conclusions (see transcript below). The RT news report on the same day6

showed RT reporter Anastasia Churkina standing in a London street holding a copy of the

Report, from which she directly quoted (see transcript below).

          75.     Despite their knowledge of Sir Robert’s findings, both Defendants have advanced

a fictitious narrative aimed at discrediting the UK Inquiry. Although Defendants knew that it

was not true, they claimed that all evidence in the case had been kept secret. Another deliberate




5
  https://www.1tv.ru/news/2016-01-21/3001-v_londone_zavershilos_tak_nazyvaemoe_publichnoe_rassledo-
vanie_dela_aleksandra_litvinenko
6
    https://www.rt.com/news/329651-uk-report-litvinenko-putin/
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falsehood was that the conclusions of the Report were simply opinions; in fact, the role of Mr.

Lugovoy and Mr. Kovtun had been judicially established beyond a reasonable doubt as a fact.

       76.     Channel One’s attempt to discredit the Report is illustrated by the English

transcript of the January 21, 2016 Channel One newscast followed by the comments from Mr.

Lugovoy:

                         Narrator [recorded film] The so-called Public Inquiry into the
                        Alexander Litvinenko case has been concluded. As many expected, the
                        commission adopted the point of view, which was repeatedly voiced by
                        the British authorities. In the death of a former officer of the Russian
                        special services turned agent of MI6, two Russians were accused:
                        Andrei Lugovoy and Dmitry Kovtun. The authors of the report admitted
                        that the two had not been questioned: Lugovoy and Kovtun did not come
                        to London because they would be immediately arrested. Naturally, Boris
                        Berezovsky also was not interrogated - this key witness died in Britain in
                        2013 under strange circumstances. Nor the Russian origin of polonium
                        that poisoned Litvinenko has been proven. In general, the report
                        contains a lot of words "possibly" and "probably", which did not prevent
                        the judge from accusing the top Russian leadership, again with the
                        "maybe" clause.
                         Sir Robert [voiceover translation into Russian] "I am sure that
                        Messrs. Lugovoy and Kovtun have placed polonium-210 in the teapot in
                        the Pine bar on November 1, 2006. I am also sure that they did this
                        aiming to poison Mr. Litvinenko. They acted on the direction of other
                        people, [possibly on the instructions of the FSB.]”
                         Narrator [recorded film] One of the London accused, Andrei
                        Lugovoy, views the judge's decision as evidence that the British do not
                        want to establish the true cause of Litvinenko's death.
                         Andrey Lugovoy [voiceover written statement] For London, the
                        "polonium scandal” has become a convenient way to achieve a political
                        objective, which I knew from the very beginning. The events of 2014 in
                        Ukraine, the subsequent anti-Russian hysteria and concomitant
                        resumption of the Litvinenko inquiry, in spite of the previously classified
                        data, to me personally look like a miserable attempt by London to use the
                        "skeleton in the closet" to pursue its political ambitions.
                         Narrator [recorded film] There are really a lot of questions to the
                        British Justice. The inquiry, which has been called “public”, and even

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                         “open”, was not in fact such. It was held in closed hearings. The
                         materials of the investigation, the identities of the witnesses - often even
                         their testimony - were kept secret. The judge made his decisions based
                         on the data of intelligence services without disclosing them - obviously,
                         in Britain they are not ready to make public the role of their own
                         intelligence in the "Litvinenko case”.

       77.     The report from the London RT correspondent on January 21, 2016 pushed the

same false narrative:

                        Anastasia Churkina Well, Emily, this is certainly a result that has been
                        years in the making because of course we know that this report was
                        commissioned around the time when tensions started escalating between
                        Russia and the West over the situation in Ukraine. And this is of course
                        something that comes out at a curious time because of the relationship
                        between Russia and some western countries not at exactly a high point to
                        say the least. Now, it’s a report that’s over 300 pages long and it’s
                        certainly raising lots of questions because it does seem to be expressing
                        lots of opinions, views and statements that are highly questionable because
                        of the uncertainty of some of the language that is used in it. To be more
                        specific, let’s use a quotation from the final statement of the chairman of
                        this report. He says, quote, “I have concluded that there is a strong
                        probability that when Mr. Lugovoy poisoned Mr. Litvinenko, he did so
                        under the direction of the FSB the Federal Security Service of the Russian
                        Federation. I have further concluded that Mr. Kovtun was also acting
                        under FSB direction possibly indirectly through Mr. Lugovoy but
                        probably in the knowledge that that was the body for which he was acting.
                        I have further concluded that the FSB operation to kill Mr. Litvinenko was
                        probably approved by Mr. Patrushev, then head of the FSB and also by
                        President Putin.” So, it’s this word “probably” that’s raising lots of
                        concerns about the certainty of this report that has been so highly
                        anticipated in the West, but it’s certainly seen as the continuation of the
                        blame game that started on day one. Since Litvinenko’s poisoning the
                        finger pointing kicked off right away and certainly ten years later we are
                        not really seeing anything new whatsoever!

       78.     Defendants’ own reporting demonstrates that they were aware of the Report’s

findings, including the conclusion that it was beyond reasonable doubt that Lugovoy and Kovtun

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poisoned Mr. Litvinenko. Defendants knowingly distorted, misrepresented and omitted facts to

advance their propaganda objective of shifting responsibility for Litvinenko’s murder away from

Lugovoy and Kovtun, and ultimately from the Russian state and Putin.

The Skripal Poisoning in 2018-Echoes of the Litvinenko Murder

       79.     On March 4, 2018, former Russian military intelligence officer and British spy

Sergei Skripal and his daughter Yulia Skripal were poisoned in Salisbury, England. The poison

was a nerve agent called Novichok of a type only developed in Russia. British Foreign Secretary

Boris Johnson and Prime Minister Theresa May noted the similarity to the Litvinenko case. The

Skripal attack resulted in massive expulsions of Russian diplomats from UK and from British

allies around the world.

       80.     Russian officials claimed that the Skripal attack was staged by Western

intelligence services. On April 4, 2018, Sergey Naryshkin, director of Russia’s Foreign

Intelligence Service, called the poisoning "a grotesque provocation crudely concocted by U.S.

and British security services.”

       81.     Russian media embarked on a massive propaganda offensive supporting

Naryshkin claim. As part of that effort, they revived their false narrative of Litvinenko’s death,

including the accusations against Dr. Goldfarb and Mr. Berezovsky, the “set-up” theory of a

planted Polonium trail, and Terluk’s fantasies. Defendants broadcast these falsehoods knowing

full well that they had been debunked in the UK Inquiry. The fact that these lies have been

revived, repackaged and broadcast years later as part of a well-orchestrated propaganda

campaign evidences the Defendants’ malice.




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                  DEFAMATORY STATEMENTS IN MARCH-APRIL 2018

         82.    The five original television programs at issue (four of them are in Russian and

one, in English) are available on the internet (referenced below in footnotes 6 - 10). They are

presented in full or in part as English language transcripts in EXHIBIT 2. The corresponding

video clips with English captions are provided on DVD in EXHIBIT 3. The text in the

transcripts and video excerpts are time-marked counting from the beginning of each program.

Program 1 - 3/20/2018 Channel One Program “Let Them Talk”7

         83.    “Let Them Talk” is Channel One’s flagship talk show. It lasts for about one hour

excluding commercials and is broadcast on weekdays just before the nightly news. The March

20, 2018 episode was wholly devoted to the Skripal poisoning. The first 35 minutes of the

program had no direct relation to Dr. Goldfarb. However, in EXHIBITS 2 and 3, the program is

reproduced in full to illustrate how the defamation of Dr. Goldfarb fit into the general theme of

Channel One’s coverage of the Skripal attack.

         84.    Starting from the time mark 35:45, Lugovoy recited the false narrative about the

London Inquiry, namely, that “all materials” were kept secret and all of Sir Robert’s conclusions

were “based exclusively on suppositions and guesswork”. Lugovoy set the tone by calling Sir

Robert Owen “a clownish ex-judge.” Dmitry Borisov was the presenter. Andrei Karaulov is

Channel One contributor.

                START: 35:45
                     Dmitry Borisov (DB) In the case of Alexander Litvinenko which has been
                     mentioned here there was a concrete person, Andrey Lugovoy, who has
                     been accused of bringing Polonium. How did that story end?
                     Andrey Lugovoy (AL) The story ended with me and Dmitry Kovtun being
                     accused of the poisoning murder of Litvinenko and at a certain moment
                     Theresa May, she was the UK Home Secretary at the time, decided to
                     classify all case materials saying that public access to these materials

7
    https://youtu.be/zYUHhkSbuxw
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                    including lawyers and those involved in the inquiry would undermine
                    national security of Great Britain. At this the case ended. Later in 2016
                    there appeared, sorry for the expression, a clownish ex-judge who allegedly
                    conducted a public inquiry where all his statements were based exclusively
                    on suppositions and guesswork, where they accuse our state of ordering it
                    and the two of us carrying it out.
               END: 36:46

       85.     Later in the program (time mark 38:25), Borisov welcomed Walter, who warmly

greeted Lugovoy, one of the person’s determined to be his son’s murderer. Walter repeated his

false account of his alleged conversation with Dr. Goldfarb’s late wife:

               START: 42:11
                    Walter (WL) …after that rally we come in. Goldfarb’s wife is sitting
                    there, a young girl sitting on the bed, crying, weeping: “Walter, Walter.
                    Alex killed Alexander”. Who knows English they understand what I said.
                    Alex is Goldfarb, she openly told me that Goldfarb killed. “Walter,
                    Walter” - that is me, Walter.
                    DB So you believe an associate of Boris Berezovsky killed your son.
                    WL Goldfarb! While Sasha was at hospital he flew to the USA three
                    times. I come to Akhmed and say “Akhmed what is this?” And Akhmed
                    says “Listen he is CIA”. Alex is. That is, he was interested in raising this
                    outcry, all that dirt which they are throwing also today on Putin, they are
                    sitting there rejoicing. That Alex Goldfarb, that same Akhmed saying
                    “Now Putin will never rise back. This is the end of him! We’ve torn
                    him to pieces!”
                    DB Who said that?
                    WL Alex Goldfarb.
                    DB Alexander Goldfarb.
                    Andrei Karaulov (AK) An incredible account of a man who for three
                    days sat at Litvinenko’s deathbed. We heard your monologue.
                    Absolutely sensational. Would anybody in the world, BBC, CNN, anyone
                    request this tape and show what you said today, your testimony especially
                    you naming Goldfarb, Berezovsky’s right hand, who is actually an agent,
                    a member of the American Central Intelligence Agency, and here is your
                    present monologue, which no one except us in Russia, no one in the world
                    wants to hear! (Applause).
               END 44:10


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       86.     After a break, Borisov had Walter repeat his false accusations to let them sink in

with the viewers.

               START: 47:20
                    DB Good evening to everyone again. I am Dmitry Borisov. Today in “Let
                    Them Talk” we discuss the sensation of the recent days in Britain. The
                    poisoning of Sergei Skripal and his daughter. In this context everyone
                    remembers the poisoning of Alexander Litvinenko in Britain. His father
                    Walter Alexandrovich in this studio is sitting next to Andrey Lugovoy who
                    had been named the murderer of Alexander Litvinenko. So, Walter
                    Alexandrovich said he considers CIA complicit in the murder of Alexander
                    Litvinenko and you even said you know who specifically did it?
                    WL Yes Goldfarb. It was his work.
                    DB And you know that it was Alexander Goldfarb, an associate of Boris
                    Berezovsky from what you’ve heard from Alexander’s own wife.
                    WL Yes, the wife. She told me about that. And a month later she herself
                    died suddenly…
                    Unidentified guest. She died suddenly.
                    Unidentified guest. Was she a young woman?
                    WL 28 years old. She was very young. I am so sorry for her.
               END 48:19

       87.     Channel One producers knew of Walter’s public statements in 2012, in which he

first uttered these allegations, and that he repeated the same allegations in his testimony to the

UK Inquiry. Nevertheless, Channel One presented his old statements as sensational new

revelations. This misrepresentation indicates a malicious intent.

       88.     Indirect evidence also suggests that Walter may have received money for his

participation in the program. This is at least true with regard to another participant, Victoria

Skripal, Sergei Skripal’s niece:

                       On July 10, the BBC’s Russian-language service published an interview
                       with Victoria, where she produced a copy of an exclusive contract with the
                       Russian state television network Pervyi Kanal [Channel One]. Victoria
                       told the BBC that she’d been hired to work as an economist for the
                       production company “Direkt,” with a monthly salary of 115,000 rubles
                       ($1,840), without doing any actual work, except for appearing on Pervyi

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                           Kanal’s talk shows. The BBC captured all these admissions on tape. A
                           source close to Skripal also told the BBC that she also received a one-time
                           payment of 1 million rubles ($16,000).8

          89.     As noted above, Channel One knew that the UK Inquiry had identified, beyond a

reasonable doubt, that the killers of Mr. Litvinenko were Mr. Lugovoy and Mr. Kovtun. That

they chose to discount those judicial findings testifies to their actual malice in defaming Dr.

Goldfarb.

          90.     Channel One failed to do even the most elementary fact-checking regarding Ms.

Goldfarb’s death. Had they done so by asking Dr. Goldfarb when they spoke to him before and

immediately after the March 20, 2018 program (see the following section), they would have

found that:

                • Dr. Goldfarb’s wife was a native Russian speaker and had no reason to address

                  Walter in English, a language he did not understand;

                • she was 51 at the time of Mr. Litvinenko’s death and not 28; and

                • she died of cancer three and a half years later — not abruptly a month after Mr.

                  Litvinenko’s death as claimed by Walter.

Dr. Goldfarb’s attempts to rebut the falsities of Channel One

          91.     A Channel One producer named Lara called Dr. Goldfarb in New York on March

14, 2018 and invited him to participate in the taping of the March 20, 2018 program via Skype.

She informed him that Walter and Lugovoy would be on the program. Dr. Goldfarb agreed to

participate. Lara asked Dr. Goldfarb what he intended to say. He replied that he would say that

Lugovoy should be in prison for murder and Walter should be ashamed of himself. Two days

later, Lara informed Dr. Goldfarb that his participation had been canceled.


8
    https://meduza.io/en/brief/2018/07/10/the-real-russia-today
                                                      24
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       92.     The day after the March 20, 2018 program aired, Lara invited Dr. Goldfarb to

participate in the next program, which would be recorded on March 23, 2018. Dr. Goldfarb

agreed. Lara sent him an agreement form from the production company “Direkt” - the same that

payed Victoria Skripal - which he signed and emailed back on the morning of March 23rd.

       93.     Lara asked Channel One’s New York based associate Anastasia Orlyanskaya to

arrange a camera to film Dr. Goldfarb while he spoke on Skype. However, on the morning of

March 23, 2018, Lara and Ms. Orlyanskaya informed Dr. Goldfarb that his appearance had been

cancelled.

       94.     On March 22, 2018, Channel One’s Special Correspondent in New York, Zhanna

Agalakova, sent Dr. Goldfarb an SMS requesting an interview. He readily agreed, following

which she texted him the address of Channel One’s New York studio on 57th Street. They met at

the studio on March 23, 2018. In a taped interview lasting more than an hour, Dr. Goldfarb gave

a detailed rebuttal to Walter’s accusations and to the false background narrative. He stressed that

(a) the UK Inquiry Report’s determination that Lugovoy and Kovtun murdered Mr. Litvinenko

constitutes a legal finding of fact based on evidence presented in open court, and (b) Walter’s

claims are based on an invented and demonstrably false conversation with Dr. Goldfarb’s wife.

Ms. Agalakova said she would send the tape to Moscow right away. Nothing from this interview

ever appeared on air. Instead, Channel One rebroadcast the same falsehoods in programs on

March 30, April 4, and April 10, 2018.

       95.     Five days before the airing of the last program, a producer of Channel One named

Natalia called Dr. Goldfarb and conducted an approximately 15-minute telephone interview. A

short segment of this interview was broadcast on the April 10, 2018 program (see below).




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Program 2 - 03/30/18 Channel One Program “Man and Law”9

         96.    “Man and Law” (“Chelovek i Zakon”) is a popular weekly news analysis program

aired in prime time on Fridays. The March 30, 2018 episode devoted approximately twelve

minutes to the Skripal case. The English transcript of the relevant section is attached in

EXHIBIT 2, and the captioned video, in EXHIBIT 3. Below are two fragments defaming Dr.

Goldfarb.

                START: 17:55
                     Narrator [recorded film] With all these outrageous accusations they did
                     not even hear in the West - or did not want to hear - a sensational news:
                     the father of fugitive Lt. Colonel of FSB Alexander Litvinenko who in
                     2006 was poisoned with Polonium, named the murderer of his son.
                     Walter [interview] Lugovoy had nothing to do with it. And Scaramella
                     had nothing to do with it.
                     Reporter And who had?
                     Walter So far I think there is only one who had, Goldfarb personally.
                     Who else?
                     Narrator [recorded film] Alexander Goldfarb, an Israeli and American
                     citizen, the head of Foundation of Civil Liberties founded by Boris
                     Berezovsky, a former associate of George Soros. Who is he really? We
                     combed our archives, met with the main protagonists of the Polonium
                     story and found many threads linking the poisoning of Litvinenko with the
                     Skripal case.
                END 18:55
                …

                START 21:04
                     Narrator [recorded film] Scotland Yard accused Andrey Lugovoy of
                     murdering Litvinenko, allegedly on orders of Russia’s special services,
                     which, they said, decided to eliminate their ex-colleague for collaborating
                     with the English. Litvinenko’s father has his own explanation. Alexander
                     in fact died in his arms, but neither Walter Alexandrovich himself nor
                     those who visited his son in the hospital during the three weeks did not get
                     any radiation. This led the father to think that his son was poisoned
                     already in the hospital.

9
    https://www.youtube.com/watch?v=DK9m2iaMbLU&feature=youtu.be

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          Walter [interview] He was vomiting blood; it was clear that he ingested
          Polonium not more than an hour or two previously. Meaning, it happened
          in the hospital. I understood it later, by analyzing…
          Reporter Who visited him in the hospital?
          Walter Everybody. Goldfarb too.
          Narrator [recorded film] While the runaway Lt. Colonel was at the
          hospital Goldfarb flew to US several times. Litvinenko’s father is sure
          that his every step he cleared at the CIA. Walter Alexandrovich is
          positive: Goldfarb is a CIA agent. Here is why: few people know that
          shortly before his death Alexander Litvinenko converted to Islam. After
          he died his father discussed with Akhmed Zakayev, the fugitive Chechen
          general, the rules of Muslim funeral.
          Walter [interview] Goldfarb sat there and said “They won’t understand
          this in America.” Meaning, they don’t like Muslims in America. Sasha
          had become a Muslim, but we should not advertise it, talk about it too
          much. I went to Akhmed and asked, “How can this be?” And he said,
          “What to expect of him? He is CIA. Has been CIA for a long time.”.
          Narrator [recorded film] The fugitive Chechen general Zakayev would
          not speak idly. Another extraordinary situation happened in Alex’s home
          - they called him Alex in London.
          Walter [Studio] There was a woman weeping, Goldfarb’s wife. She was
          about your age, very pretty. She was sitting there crying, weeping:
          “Walter, Walter, Alex killed Alexander”.
          Reporter That was Goldfarb’s wife?
          Walter Goldfarb’s wife. She died within a month.
          Narrator [recorded film] She confessed that her husband killed
          Alexander and herself died a month later at the age of 28. That’s strange.
          By the way, according to some reports Goldfarb had been closely
          associated with the famous physicist Andrey Sakharov who designed the
          first Soviet hydrogen bomb. Some sources say Goldfarb was his
          interpreter, others, his secretary.
          Andrey Lugovoy [studio] When he lived in the Soviet Union, Goldfarb
          was professionally involved in nuclear physics. This, of course, makes
          one think that when the media and others started talking about Polonium-
          210, this could well have been his idea and probably his practical doing.
          Narrator [recorded film] So Litvinenko’s father’s theory is this:
          Alexander was poisoned by the CIA together with MI-5 and MI-6 in order
          to discredit Russia. It was done by the hands of Alex Goldfarb. He
          administered Polonium at the hospital. As for Lugovoy they contaminated

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                    him later with small doses so that he would leave Polonium trail in various
                    places.
             END 24:46
Program 3 - 04/01/18 RT Program “Worlds Apart”.10

       97.     “Worlds Apart” is the RT flagship interview program broadcast in English. On

April 1, 2018 RT aired a studio interview during which Walter repeated many of the defamatory

statements he made on Channel One. The first 13 minutes of the program are presented as a

transcript in APPENDIX 2, and the captioned video clip in APPENDIX 3. While questioning

Walter, host Oksana Boyko revealed that she knew that Dr. Goldfarb’s wife had died of cancer,

yet she did not challenge Walter’s lie that she was murdered to keep her silent.

               START 05:51
                    Oksana Boyko (OB) I know you personally think that a former friend,
                    Alexander Goldfarb is connected to his death? A shady character?
                    Walter (WL) He is a CIA guy. It’s CIA that’s killed my son.
                    OB What was his motive? Why are you so sure that it was him?
                    WL Motive? I think he would have left like I did. He was as smart as I
                    am. You know, as long as you remain obedient you live; as soon as you
                    rebel you get killed. This is what happened to Berezovsky, this is what
                    happened to this lady who said, ‘Walter, Walter, Alex killed Alexander’.
                    OB You mean, Goldfarb’s wife? She had cancer?
                    WL No, she did not have cancer. So young…woman. They just killed
                    her. Because she knew too much, and she spoke too much. And when she
                    was saying that, they told me she was a drug addict, and now they say she
                    had cancer. They lie all the time.
               END 07:07

       98.     Later in the interview, Ms. Boyko falsely stated that all of the Litvinenko

investigation materials had been classified. Yet from RT’s own reporting, she knew or was

reckless not to have known that the UK Inquiry Report and the police and forensic evidence had

been published in 2016 and are freely available on the UK Inquiry web site.

               START 07:30
10
  https://www.youtube.com/watch?v=bSTydJE8ORY&feature=youtu.be
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                      OB There is an interesting coincidence in this case. Theresa May, when
                      she was Home Secretary, she classified the Litvinenko case, all the
                      investigation materials, and she said it was a matter of national security.
                      You are a family…
                      WL Sure, it was the right thing to do. Because if they reveal all this
                      information… It’s not just the national security. It’s basically CIA that’s
                      involved.
                 END 08:01

Program 4 - 04/04/18 Channel One Program “Let Them Talk”11.

          99.    This program was a follow up to the “Let Them Talk” episode on March 20,

2018. The transcript of the relevant segment (from 32:43 to 54:06) is in EXHIBIT 2; the

corresponding video clip is in EXHIBIT 3. To set the stage, host Dmitry Borisov summarized

the “sensational” revelations of the previous program:

                 START 32:45
                        DB Today again we discuss the poisoning case of Sergei Skripal, the ex-
                        spy, and his daughter Yulia. Theories multiply like mushrooms after the
                        rain and in the process, it turned out the ex-spy, while in Britain, could get
                        close to the crowd around Boris Berezovsky who had long lived in
                        London. This group reportedly had included Alexander Litvinenko and a
                        longtime associate of Berezovsky Alex Goldfarb. The murder of
                        Litvinenko, the mysterious death of Boris Berezovsky and the poisoning
                        of Sergei Skripal could be links in the same chain as was indirectly
                        asserted by Walter Litvinenko, the father of the late agent. On the
                        previous show he said he believes the probable murderer of his son was
                        Goldfarb who, he said, could be a CIA agent. So, whose path could the
                        ex-spy Sergei Skripal cross? Or perhaps the actual target was his daughter
                        and if so why only she is out of coma? Before the break we talked about
                        what was also discussed last time, namely that Sergei Skripal was a link in
                        the same chain with the poisoning of Alexander Litvinenko. A sensational


11
     https://www.youtube.com/watch?v=zIaD8drTkN8&feature=youtu.be
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                      statement was made on the last program by Walter Alexandrovich, the
                      father of Alexander Litvinenko.
              END 34:09
       100.   The program then brought Andrey Lugovoy to the stage, who said that Walter’s

allegations about Dr. Goldfarb were no surprise to him, even though Dmitry Borisov said that

this was “one of the most discussed” news in the country:


              START 34:38
                   DB So, look here, you heard everything that Walter Litvinenko said on our
                   program. No one was prepared for that version. It truly became one of
                   the most discussed news, at least in our country. Did it surprise you?
                   AL Regarding Goldfarb?
                   DB Regarding…
                   AL No, it did not surprise me. We aired this version 12 years ago when
                   the events happened. We discussed several versions very thoroughly
                   including the role of Berezovsky's people. The main version was that in
                   the case of Litvinenko the interests of both Berezovsky and secret services
                   were affected. And of Berezovsky's circle.
              END 35:10

       101.    The program then showed a staged handshake between Walter and Dmitry

Kovtun, following which Borisov and Kovtun insinuated that “a kind of a warm relationship”

existed between Dr. Goldfarb and Mr. Litvinenko’s widow, Marina. Borisov called it a

“sensational supposition,” which amounts to “one more version of Alexander Litvinenko's

murder”:

              START 40:56
                   DB Walter Alexandrovich, on our last show you came out and greeted
                   and practically embraced Andrey Lugovoy who you think is absolutely
                   uninvolved in the case. What would you say about Dmitry Kovtun?
                   WL They were all together. Sokolenko, Dmitry Kovtun, them all were
                   together.
                   DB If he shows up in this studio, will you greet Dmitry Kovtun?
                   WL Why not?

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               DB Dmitry Kovtun is here. Greetings. Let's ask him about this old case
               in which he also has been accused, and the present case of Sergei Skripal.
               DK Hello!
               WL Hello!
               DB Good evening Dmitry! I know that when our editors talked to you
               about the version that Alexander Goldfarb could be complicit in the
               murder of Alexander Litvinenko you put forward a rather sensational
               supposition regarding the possible relationship of Alexander Goldfarb
               and…
               DK …the former wife of Alexander you mean?
               DB … and Marina Litvinenko.
               DK Well, from the first days after Litvinenko's death Goldfarb was near
               her; we saw them together all the time, they wrote a book together, they
               prepared for the hearings together and all those statements she made
               during Public Inquiry make one think that she is of course under
               someone's influence and does not make her own decisions.
               DB So you think she is under Goldfarb's influence?
               DK I think yes.
         END 42:28
…
         START 46:33
              DB How it can be that Alex Goldfarb whom Walter Litvinenko blames in
              his son's death keeps warm relations with the widow of poisoned
              Alexander and what linked Boris Berezovsky to Sergei Skripal? Just
              before the break, one more version of Alexander Litvinenko's murder was
              offered by Dmitry Kovtun who also had featured in the British criminal
              case. I want you Dmitry to repeat it. So, Alexander Goldfarb whom
              Walter Alexandrovich thinks is complicit in his son's murder, according to
              you was in a kind of warm relationship with Marina Litvinenko.
               DK He is still in a kind of warm relationship with Marina Litvinenko.
               DB You said she is influenced by him.
               DK I said he influences her in a certain way; directs her.
               DB How?
               DK He formulates her position, her opinions, convinces her to make
               false statement in the Public Inquiry hearings, for example. And she does
               that. She is making absolutely ill-advised, easily disprovable…
               DB Why does she listen to him?
               DK Probably because he in some way commands her respect.
               DB Respect, or...?

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                     DK Respect, maybe more by now, I don’t…
               END 47:45

       102.    The reprehensible and malicious intent of this exercise orchestrated by Channel

One using the false statements of one of the individuals determined to be Litvinenko’s murderers

is obvious: to undermine the moral high ground of Marina Litvinenko, who has been the driving

force in the fight for justice for her late husband, and to further defame Dr. Goldfarb.

Program 5 - April 10, 2018 Channel One Program “Let Them Talk”12.

       103.    On April 10, Channel One broadcast another episode of “Let Them Talk.” The

English transcript of the section from 27:00 to 50:53 is presented in EXHIBIT 2, and the

corresponding captioned video clip, in EXHIBIT 3. In the program, Lugovoy narrated Terluk’s

false and judicially discredited fantasy about Berezovsky’s asylum, calling it “the key episode”

because it provided a motive for Dr. Goldfarb to kill Litvinenko.

               START 27:00
                       Dmitry Borisov (DB) So, Andrey, when the Office of Prosecutor
                     General recalls similar scenarios, they mention the Litvinenko story in
                     which you’ve been involved, they also mentioned the attempt to
                     assassinate Boris Berezovsky in 2003. And a name emerged there, that
                     of a certain Vladimir Terluk
                       Andrey Lugovoy (AL) Yes, colleagues let us go back to what the
                     Office of Prosecutor General said. They showed a key story with Terluk.
                     Few remember it. I was peripherally involved in that story too, because
                     British lawyers came to Moscow and took my deposition as part of the
                     Berezovsky vs Terluk case. For a year I worked with them; Vladislav
                     Reznik, the lawyer who helped me is here. So, this is what that was
                     about: in 2003, when Berezovsky arrived in London they refused to give
                     him political asylum. My friends, he did not get it, and this was a
                     shocking blow to him. So precisely after that, Berezovsky’s
                     collaboration with the British special services commenced, with MI-6.
                     There was a deal, apparently. This deal involved Goldfarb - who, as we
                     firmly believe is a member of the CIA, - Litvinenko and a certain con
                     man, the historian Felshtinsky.

12
https://www.youtube.com/watch?v=IN2zsa7si9k&feature=youtu.be
                                                 32
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               END 28:15
               …

               START 28:35
                       AL So in order to create an appearance of legitimacy in obtaining
                      political asylum for Berezovsky, they needed a scandal. In the end they
                      found a certain Terluk. He is a citizen of Kazakhstan. They got him to
                      agree to claim that Russian special services gave him a fountain pen
                      loaded with poisoned ink, which he was supposed to use during the
                      second court hearing on Berezovsky’s political asylum. And in a
                      nutshell this kind of operation was carried out. As the result, Berezovsky
                      got political asylum. I have read the testimony of Litvinenko, Goldfarb
                      and Felshtinsky in this case, a real tearjerker. And so, in effect, the
                      British already in those days were using stories about poisoning. Why
                      this is a key episode? It looks they did not pay Terluk enough or
                      something else because Terluk was released, there was nothing against
                      him, no pen with poisoned ink was found but the political asylum has
                      been granted. And when Litvinenko fell out with Berezovsky, who held
                      him by not transferring the deed on the house, withholding his salary,
                      stopping funding the tuition of his son, I’ll tell you straight: Litvinenko
                      became a threat to Berezovsky because he could return to Russia. And
                      quite possibly this led to what’s happened to him next; we talked about it
                      a lot.
               END 30:12

       104.    During the program, Lugovoy and a lawyer named Alexander Treschev, falsely

stated that after Berezovsky was granted British asylum, Dr. Goldfarb and Litvinenko organized

an illegal business obtaining asylum for criminals escaping the Russian justice system. Lugovoy

and Treschev offered no evidence about this fictitious activity. The only purpose for publishing

that false story was to reinforce the credibility of the fictitious Terluk narrative, which Lugovoy

considered “the key episode” in the whole fabrication:

               START 32:08
                      AL There is one more small detail, so that you understand everything
                     related to Goldfarb and his Foundation for Civil Liberties founded by
                     Berezovsky. Using as a model the way Berezovsky got his asylum,

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                      Goldfarb, Felshtinsky and Litvinenko decided to set up a trade selling
                      British citizenship. They told me - Dmitry Kovtun will confirm: Guys,
                      let’s find someone in Russia who has been pursued by the Russian law;
                      we’ll strike a deal with that person; the price will be one million dollars;
                      he will make several harsh statements against Russian authorities, make
                      sure he is photographed preferably as he is being detained in one of the
                      skirmishes that we all see. Then we get him over to London via a third
                      country; he makes appropriate statements, the Foundation for Civil
                      Liberties - it has been registered in New York - endorses him; and he
                      gets asylum.
                        DB And the Foundation for Civil Liberties is the one where Goldfarb is
                      vice president…
                        AL The president. As we were listening to this all, I said, how can that
                      be, it’s an obvious con, and he said, you don’t realize how idiotic the
                      British are; they believe all the crazy stuff we’re telling them about
                      Russia! Period. (Applause).
                        Alexander Treschev (AT) Andrei, the most important is that they have
                      realized several such scenarios and a number of people got immunity
                      trough them, that is, this industry has since developed and became large
                      scale, and we know that dozens of people, maybe several dozen obtained
                      asylum in this way, who are crooks, traitors and thieves…
               END 33:36

       105.    Channel One then broadcast a brief eighty-second excerpt of the taped telephone

conversation with Dr. Goldfarb. This brief audio excerpt omitted Dr. Goldfarb’s detailed

rebuttals and was obviously included to create the false impression that Dr. Goldfarb had been

allowed to participate in the program. Mikhail Ignatov, a forensic expert, and Igor Nikulin, a

former UN biological weapons expert, are guests on the program.

               START 41:46
                      DB Nonetheless, nothing of what you’ve said undermines Alexander
                     Goldfarb’s trust in the British Justice. We got in touch with him. Here is
                     how he answered the questions of my colleague.
                      Natalia (NA) [audio of conversation]:… will be taped.
                      Alex Goldfarb (AG) Go ahead.
                      NA First question. What do you think about the poisoning of Skripal?


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                      AG I think Russian special services poisoned Skripal as British
                    authorities say. Why I think so? Because I trust British authorities and
                    don’t trust Russian authorities. Russian authorities poisoned him and
                    sooner or later they must be held accountable. The Brits have the
                    evidence, they claim, and I fully trust them.
                      NA Litvinenko’s father accused you of killing his son. How do you
                    respond to him?
                      AG I can respond: he is no father to him, he abandoned him when the
                    boy was two years old, later he milked him, and later when Berezovsky
                    stopped giving him money he returned to Moscow. He is worse than
                    Lugovoy because Lugovoy at least carried out an order while the father
                    betrayed his son for an apartment in Moscow.
                       NA When Alexander Litvinenko was in the hospital they say that you
                    shaved him bold. What is the story? Why you did it?
                       AG I did not do it. When Alexander Litvinenko was in the hospital
                    his hair fell out because of the action of radiation. This was confirmed
                    by the way in an open court, all evidence is available in the Internet,
                    anyone can see.
                      DB [studio] Alexander Goldfarb says he trusts British authorities
                    100%, absolutely does not trust what Russia says and if this is what
                    Britain says, then…
                     Mikhail Ignatov (MI) What else can he say?
                     Igor Nikulin (IN) Nothing else could be expected from him!
             END 43:35

      106.   The program also repeated the false statement that Dr. Goldfarb was an agent of

the CIA:

             START 44:04
                     DB Regarding Alexander Goldfarb, you, Andrei, have called him on the
                   air a likely CIA agent, didn’t you Andrei?
                     AL Well, a CIA agent, firstly Litvinenko’s father said that, and also I
                   know that he had emigrated from Russia in the Soviet time and I know
                   from his own words that in the 1990s he was on the so-called black list,
                   he was on the list of people whose entry into the Russian Federation was
                   prohibited. These lists are not compiled arbitrarily, meaning that he was
                   a threat to the security of Russian Federation.
                    DB And what do you think…
                    AL That was in the 1990s, I emphasize!

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                  END 44:48

          107.    The statement that Dr. Goldfarb was unable to enter Russia because he was on a

“black-list” is false. The truth is that during the 1990s, Dr. Goldfarb spent much of his time in

Russia directing various significant charitable projects funded by George Soros:

                            From 1992 to 1995, Goldfarb was Director of Operations at Soros'
                           International Science Foundation, which helped sustain tens of thousands
                           of scientists and scholars in the former Soviet Union during the harshest
                           three years of economic reform. In 1994 Goldfarb managed Soros'
                           Russian Internet Project, which built infrastructure and provided free
                           Internet access for university campuses across Russia… In 1995, during
                           the first months of the First Chechen War Goldfarb oversaw a Soros-
                           funded relief operation… From 1998 to 2000 Goldfarb directed the $15
                           million Soros tuberculosis project in Russia13.

          Despite these easily verifiable facts, Channel One broadcast Lugovoy’s lies to

substantiate their false narrative about Litvinenko’s murder that was needed to explain how Dr.

Goldfarb supposedly could obtain Polonium from the CIA.

Dr. Goldfarb Has Been Severely Damaged by Defendants’ Malicious Lies

          108.    The defamatory statements made and broadcast by Defendants have been widely

reproduced and republished around the world by the media in Russian and in English, as well as

on social media. Dr. Goldfarb enjoys a considerable public standing in Russia and around the

world, including the United States. Dr. Goldfarb is the author of a widely circulated book and is

often invited to take part in news programs, talk shows, conferences and documentaries on

Russian affairs both here and abroad. By falsely branding him a murderer in a high-profile case,

Defendants have caused Dr. Goldfarb public humiliation, embarrassment and irreparable damage

to his reputation.



13
     https://en.wikipedia.org/wiki/Alexander_Goldfarb_(biologist)
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       109.    The Litvinenko case has been and will continue to be the subject of countless

books, articles and dramatizations. It is inevitable that Dr. Goldfarb will now forever be

mentioned - even by the most objective authors - as someone who has been accused of being

Litvinenko’s murderer.


       110.    The false accusation that Dr. Goldfarb murdered his beloved wife has caused him

particularly deep mental anguish and emotional distress. Because of these false allegations, he

has relived months and months of his wife’s excruciating fight with cancer while he sat

helplessly at her bedside.

       111.    In the aftermath of Defendants’ defamatory programs, Dr. Goldfarb has received

dozens of inquiries and expressions of concern for his own safety coming from his family,

friends, the press, and from law enforcement officials. The Federal Bureau of Investigation

contacted Dr. Goldfarb to inquire about his well-being and “to make sure that nothing similar

happens in our country.” A family member of Dr. Goldfarb has told him about recurrent

nightmares of being poisoned along with him.

       112.    The false claims of Dr. Goldfarb’s association with the CIA broadcast by

Defendants create an objective danger that some of the CIA-haters around the world, whether

mentally disturbed individuals or bona fide terrorists, will take the fabrication at face value and

attempt to harm Dr. Goldfarb. This constitutes a real danger to him and adds to the mental

anguish and distress among his friends and family.

       113.    Defendants’ repeated lies have caused, and will continue to cause, profound

emotional damage to Dr. Goldfarb.

       114.    Defendants’ wrongful conduct was intended to curry favor with the Russian

government and thereby to obtain economic and other benefits. In particular, the Russian


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government has allowed Defendants to establish a near monopoly and dominate the broadcasting

market, and thereby receive substantial advertising revenues and profits.

                                    FIRST CAUSE OF ACTION
                                           (Libel Per Se)
                                      Against both Defendants

        115.     Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 114 as if

fully set forth herein.

        116.     Defendants broadcast statements that Dr. Goldfarb murdered Litvinenko,

murdered his wife, and is a CIA operative.

        117.     Those statements are about Dr. Goldfarb and are reasonably understood to be

about him.

        118.     Those statements are demonstrably false:

               • The official British Public Inquiry established, on the criminal standard of proof,

                 that Litvinenko had been murdered by Lugovoy and Kovtun.

               • Dr. Goldfarb could not have murdered Litvinenko because on November 1, 2006,

                 the day of his poisoning, he was not in London. He arrived thirteen days later.

               • The allegation that Dr. Goldfarb murdered his wife rests on the alleged

                 conversation between her and Walter shortly after Mr. Litvinenko’s death. She

                 allegedly told him in English: “Walter, Walter, Alex killed Alexander.” Walter

                 also stated that Mrs. Goldfarb died a month later at the age of 28. The truth is that

                 Mrs. Goldfarb was a native Russian speaker and could not have used English with

                 Walter who did not speak English at all. She was 51 at the time of the alleged

                 conversation, not 28. She died of cancer four years later, not one month after the

                 alleged discussion.

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              • The allegation that Dr. Goldfarb is a member of the CIA is based entirely on

               hearsay from Walter, an unreliable source.

       118.     In broadcasting the defamatory allegations against Dr. Goldfarb, Defendants

purportedly relied on the following claims:

              • the evidence incriminating Lugovoy and Kovtun has been kept secret;

              • the finding that Lugovoy and Kovtun killed Litvinenko was merely an opinion

               rather than a judicial finding; and

              • the trail of radioactive Polonium-210 incriminating Lugovoy and Kovtun had been

               planted in order to falsely incriminate them.

       The truth, as Defendants knew, is that (a) all evidence pertinent to Lugovoy and Kovtun

has been made public in the UK Inquiry and is available on the Public Inquiry web site, (b) their

culpability has been established beyond a reasonable doubt, and (c) the theory that. Lugovoy and

Kovtun were set up by someone planting Polonium was considered and rejected in the UK

Inquiry.

       119.     Defendants knew that the defamatory statements they broadcast were false. Their

own reporting establishes that they have seen, read, analyzed and quoted from the UK Inquiry

Report. Despite that knowledge, Defendants have intentionally misrepresented the UK Inquiry

Report’s findings as part of their campaign to defame Dr. Goldfarb and discredit the Inquiry.

       120.     In addition to their knowledge of the UK Inquiry Report, the reliance of

Defendants’ reporters, analysts, producers and editors on Lugovoy, Kovtun and Walter, without

engaging in the most elementary fact-checking, evidences that their defamatory statements about

Dr. Goldfarb were intentional or made with reckless disregard of the truth.




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       121.    Defendants knew from their own reporting that Walter first made his allegations

against Dr. Goldfarb in 2012, when he begged Putin for permission to return to Russia.

Defendants reported that his pleas and statements were the consequence of his dire financial

situation and that he expected to be rewarded. A Channel One reporter had observed: “One

cannot be at all sure that Walter Litvinenko wouldn’t instantly change his view if someone in the

West would all of a sudden help him.” Despite these serious doubts, in 2018 Defendants

repackaged and re-released Walter’s false statements as if they were new.

       122.    The allegation that Dr. Goldfarb could somehow obtain Polonium-210 to kill

Litvinenko and/or contaminate the trail of Lugovoy and Mr. Kovtun is so absurd on its face that

it could only be put on air with intent to defame. There has never been a shred of evidence to

support the assertion that Dr. Goldfarb acted with the help of the CIA, MI6 or some other

government agency, and, as Defendants know, was specifically debunked by the Report.

       123.    Defendant Channel One continued to broadcast false statements about Dr.

Goldfarb even after the taped interview in New York on March 23, 2018, where he gave a

detailed rebuttal to the false statements on the March 20, 2018 program. He identified the

sources where the true facts could be checked, including the Report and the Public Inquiry

website, and pointed out the obvious falsity of Walter’s claims about his wife’s death. But

Channel One went on to broadcast the same defamatory statements in three subsequent programs

--on March 30, April 4, and April 10, 2018-- in deliberate disregard of the truth.

       124.    Channel One’s malice is evident from its handling of Dr. Goldfarb’s attempts to

respond to its defamatory broadcasts. While lower level personnel sought Dr. Goldfarb’s

reaction to the accusations, higher level executives deliberately prevented the truth from coming

out by cancelling two scheduled appearances where Dr. Goldfarb could have directly confronted



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his accusers. Channel One never used the interview taped of March 23, 2018, and instead

broadcast only a small fragment of a phone conversation.

        125.      The RT reporter who interviewed Walter on April 1, 2018 knew that cancer was

the true cause of Dr. Goldfarb’s wife’s death. Despite that knowledge, Defendant RT broadcast

Walter’s false allegation that she was killed in order to keep her silent.

        126.     The statements of Defendants constitute libel per se. Those statements accuse Dr.

Goldfarb of horrific crimes; specifically, the poisoning of his close friend and the murder of his

wife.

                                 SECOND CAUSE OF ACTION
                                       (Libel Per Se)
                                    Against Channel One

        127.     Plaintiff hereby repeats and re-alleges the allegations of paragraphs 1 through 126

as if fully set forth herein.

        128.     Defendant Channel One broadcast accusations of Dr. Goldfarb’s committing

additional crimes:

               • Dr. Goldfarb and Berezovsky conspired to defraud the UK into granting asylum to

                Berezovsky, and they killed Litvinenko to prevent this from being disclosed;

               • Dr. Goldfarb and Litvinenko operated an illegal business to help criminal asylum-

                seekers; and

               • Dr. Goldfarb persuaded Marina Litvinenko to give false testimony to the Public

                Inquiry in London.

        129.     These statements are about Dr. Goldfarb and are reasonably understood to be

about Dr. Goldfarb.

        130.     These statements are false:

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               • The allegation of fraud in connection with Berezovsky’s asylum application was

                conclusively rejected in 2010 by an English judge in Berezovsky vs Terluk. The

                judge’s explicit finding that there was no such fraud demonstrates that Dr.

                Goldfarb had no motive to cover up a non-existent crime by killing Litvinenko.

               • The allegation that Dr. Goldfarb had operated an illegal business to help criminal

                asylum-seekers has never been supported by a shred of evidence.

               • The vague assertion that Marina Litvinenko committed perjury at the urging of Dr.

                Goldfarb has never been supported by any specific allegation, let alone by any

                evidence.

        131.     Defendant Channel One knew or were highly aware of the overwhelming

probability that the claim that Mr. Goldfarb took part in the alleged asylum fraud was false.

Channel One was aware of the decision in Berezovsky vs Terluk. Lugovoy talked about that

decision at length on the Channel One program of April 10, 2018.

                                    THIRD CAUSE OF ACTION
                            (Intentional Infliction of Emotional Distress)
                                      Against both Defendants

        132.     Plaintiff hereby repeats and re-alleges the allegations in paragraphs from 1 to 131

as if fully set forth herein.

        133.     As a result of the substantial public interest in the Litvinenko and Skripal cases,

the nature of the defamatory statements Defendants published about Dr. Goldfarb, and the extent

to which those false statements were circulated, Defendants have directly and proximately

caused Dr. Goldfarb to suffer significant damages, including damage to his reputation,

humiliation, embarrassment, mental suffering, and emotional distress. These damages are

ongoing in nature and will continue to be suffered in the future.

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       134.     Defendants’ conduct was committed knowingly, intentionally, willfully,

wantonly, dishonestly and maliciously, with the intent to harm Dr. Goldfarb, or in blatant

disregard of the substantial likelihood of causing him harm. Accordingly, Dr. Goldfarb should

be awarded compensatory and punitive damages.

                                      PRAYER FOR RELIEF


       135.     WHEREFORE, Plaintiff, Dr. Alex Goldfarb, demands judgment against

Defendants, Channel One Russia and RT America, as follows:

      i.      An award of compensatory, special and punitive damages in amounts to be

              established at trial;

      ii.     An award of Plaintiff’s costs associated with this action, including but not limited

              to his reasonable attorneys’ fees and expenses; and

      iii.    Such other and further relief as the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Plaintiff demands a trial by jury on all issues so triable.

Dated: New York, New York
       September 6, 2018


                                                       ROTTENBERG LIPMAN RICH, P.C.


                                                       By:_______/s___________
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                       EXHIBIT 1
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Berezovsky v Russian Television & Radio Broadcasting Company & Anor [2010] EWHC 476 (QB) (10 March 2010)                  5/30/18, 11)15 AM




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  Cite as: [2010] EWHC 476 (QB)



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                                                                            Neutral Citation Number: [2010] EWHC 476 (QB)
                                                                                                               Case No: HQ07X01481

 IN THE HIGH COURT OF JUSTICE
 QUEEN'S BENCH DIVISION

                                                                                                                Royal Courts of Justice
                                                                                                           Strand, London, WC2A 2LL
                                                                                                                       10 March 2010

                                                                    Before:

                                           THE HONOURABLE MR JUSTICE EADY
                                                  ____________________

                                                                     Between:
                                                        BORIS BEREZOVSKY
                                                                                                              Claimant
                                                                      - and -

                                    (1) THE RUSSIAN TELEVISION AND RADIO
                                           BROADCASTING COMPANY
                                             (2) VLADIMIR TERLUK                                              Defendants

                                                           ____________________

           Desmond Browne QC and Matthew Nicklin (instructed by Carter-Ruck) for the Claimant
                                  The Second Defendant in person

http://www.bailii.org/ew/cases/EWHC/QB/2010/476.html                                                                           Page 1 of 41
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Berezovsky v Russian Television & Radio Broadcasting Company & Anor [2010] EWHC 476 (QB) (10 March 2010)   5/30/18, 11)15 AM



                                   Hearing dates: 8-9, 11-12, 15-16 & 18-19 February 2010
                                                   ____________________

                                                  HTML VERSION OF JUDGMENT​
                                                     ____________________

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          Mr Justice Eady :

          Introduction: the parties and their roles in the litigation

     1. The Claimant sues the Defendants over the broadcast of a television programme on 1 April 2007. The
        First Defendant is the Russian Television and Radio Broadcasting Company ("RTR"), which was
        responsible for the Russian language programme Vesti Nedeli on the channel RTR Planeta. RTR's
        charter demonstrates that it is a state-owned television and radio broadcaster which was created to
        obtain and distribute information and also to make television programmes for broadcast both in and
        outside Russia. This claim is conﬁned to the broadcast of allegations within this jurisdiction.

     2. The channel is free to view. It is available without subscription throughout the United Kingdom. There
        are thousands of Russians and Russian speakers living in Britain (indeed, I was told that there may be
        several hundred thousand in London alone). One of the witnesses, Mrs Marina Litvinenko, told me that
        many of them do not integrate too well here and are still very much focused on life in Russia and on
        the Russian viewpoint on current affairs generally. Her evidence is supported by other witnesses. Mr
        Yuli Dubov, for example, compared Vesti Nedeli to Newsnight, although he thought it would attract "a
        broader audience". It is likely to have attracted particular interest on the night in question because it
        had been trailed in advance as throwing new light on the notorious murder of Mr Alexander Litvinenko
        the previous November. The likelihood is that the viewers of the programme in the jurisdiction will
        have been measured in the thousands.

     3. The Second Defendant, Mr Terluk, has lived in this country since 15 February 1999 and has been
        hoping to obtain political asylum throughout that period, although it has so far not been granted. The
        Claimant has lived here since 2001 and was granted asylum on 10 September 2003. He obtained
        refugee status and indeﬁnite leave to remain because the view was taken by the Home Ofﬁce that he
        had "a well-founded fear of political persecution" in Russia. He was described by one of the witnesses,
        Mr Alex Goldfarb, as a leader of the Russian émigré community and the principal opponent of Mr
        Vladimir Putin abroad.

     4. As I have said, the theme of the programme in question was to throw new light on the murder of
        Alexander Litvinenko, which took place in London in November 2006. A signiﬁcant part of the
        programme consisted in an interview with a person (referred to as "Pyotr") whose identity was, to some
        extent at least, disguised. The back of his head was shown in shadow and his voice was distorted. It is
        the Claimant's case that the interviewee was in fact the Second Defendant. That remains a live issue for
        the court to resolve.

     5. The First Defendant took no part in the trial, although it had been represented by various ﬁrms of
        solicitors at different stages. There were, however, long periods of non-participation. It only ﬁnally
        became clear shortly before the trial that it would not be represented.

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     6. Judgment had been entered on 4 December 2008 against both Defendants in default. In July of last
        year, however, I set aside judgment in respect of the Second Defendant. Although at one stage it was
        indicated (in a letter from Denton Wilde Sapte of 4 August 2009) that the First Defendant also intended
        to apply to set aside the judgment, no such application was ever launched. The trial eventually took
        place, therefore, on the issues of both liability and damages regarding the Second Defendant, but the
        only issue relating to the First Defendant was that of damages.

     7. When judgment was entered originally, there was a direction that damages were to be assessed by
        judge alone on 6 March 2009. By letter of 11 December, one week after judgment was entered, both
        Defendants were informed that they could apply for trial by jury if they wished. Nothing happened on
        this or any other issue until, a few days before the appointed hearing date, the Second Defendant
        applied to set aside judgment. (This followed a meeting on 27 February 2009 with representatives of
        the Russian Chief Prosecutor's Department, although Mr Terluk says that he was working on the
        application and that he only made a few amendments to his draft after the meeting.) Thus the hearing
        on 6 March was used for other purposes. There came a point when I directed that the trial should take
        place with a jury, because I had formed the impression that Mr Terluk favoured this mode of trial. At
        the pre-trial review on 5 February 2010, however, he made it clear that this was not so. It transpired
        that he and the Claimant were both content to have trial by judge alone. The First Defendant had never
        expressed any view on this point, either at the time I originally ordered assessment of damages by
        judge alone or when I later directed trial by jury. I made an order accordingly.

     8. As it happened, this was more convenient for all concerned. Jury trial with a litigant in person speaking
        through an interpreter would have been problematic. Sitting alone, I was able to approach the trial more
        informally and could let Mr Terluk's McKenzie friend, Ms Margiani, take more of a proactive role and
        to an extent act as a quasi-advocate. Also, I was able to take a more relaxed view about the
        admissibility of evidence than would have been the case with a jury. In fact, a jury would almost
        certainly have had to be discharged in the light of some of the material Mr Terluk introduced. I let in a
        substantial amount of evidence, and cross-examination, without taking up time arguing about it or
        having to explain the rules of evidence. This was on the basis that I could then decide the case only on
        that which was properly admissible. Further difﬁculties would have arisen in a jury trial over
        documents, as the Second Defendant kept refusing to indicate to the Claimant's solicitors in advance
        which documents he wanted in the trial bundle. He introduced them piecemeal as the trial progressed.

     9. It is perhaps worth recording that a number of false allegations have been made in the Russian press as
        to why RTR did not participate in the trial. It has been said, for example, that it was prohibited from
        doing so because the court had ordered it to disclose the identity of a source (i.e. Pyotr), which it
        refused to do. In fact, the opposite is the truth. There was a hearing in January of this year when
        counsel represented RTR and made submissions on source protection. These were upheld, so that RTR
        did not have to disclose anything which might reveal such information.

    10. It is true that there had been a much earlier hearing, in July 2008, during which RTR had asked the
        court to decline jurisdiction on the ground that it was obliged, by Russian law, not to reveal the identity
        of "Pyotr" because he was supposed to be a "state-protected witness/victim". This was said to render
        the case non-justiciable. I rejected this application: [2008] EWHC 1918 (QB). RTR had failed to
        establish that "Pyotr" had the protected status. Moreover, no indication was given as to why this
        litigation would require Pyotr's identity to be revealed in any event. It was not, for example, explained
        what defence RTR would wish to advance that might lead to this revelation; in particular, there was no
        indication of a plea of justiﬁcation. Moreover, even at that stage, I referred, at [22], to the possibility of
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          RTR being able to rely on s.10 of the Contempt of Court Act 1981, which provides for source
          protection. (Since RTR was unsuccessful in its application, it was ordered to pay a sum on account of
          costs, which remains outstanding to this day.)

    11. RTR was ordered on 25 January of this year to specify whether it was going to participate in the trial by
        the deadline of 27 January at 5 p.m. This left only seven working days before the commencement of
        the trial itself. The purpose of the order was to enable everyone to prepare accordingly. Both I and the
        Claimant's solicitors had previously tried to obtain an answer from RTR as to its intentions, but this
        information was not forthcoming. For example, I had asked RTR's counsel at a hearing on 13 January
        and he replied that he would take instructions. The request was repeated in a solicitor's letter of 14
        January. Denton Wilde Sapte responded in letters of 15 and 21 January to the effect that they were
        taking instructions. Still nothing happened. All this against the background that the trial date had been
        ﬁxed in August 2009. RTR had had ample time to decide on the stance it wanted to take. It was
        necessary to know where we stood. Despite having solicitors in London, it failed to meet the deadline.
        No application was made for an extension.

    12. On 1 March, after this judgment was ready in draft for releasing to the parties, RTR resurfaced. I
        received a communication indicating that it wished to appeal my order of 5 February as to mode of
        trial. It wished to argue that the damages should have been assessed by a jury. I was asked to stay the
        handing down of my judgment until after the application for permission to appeal was dealt with. The
        object is apparently to obtain an order for retrial of the issues relating to damages – this time with a
        jury. Mr Browne QC, for the Claimant, has made the point that it would be "absurd that a non-
        participating party should be able to dictate mode of trial, when the participating parties both wished a
        trial by judge alone". By the time I made the order on 5 February, it had been clear for more than a
        week that RTR was not intending to participate. As I have said, it failed to meet the deadline on 27
        January and did not seek an extension.

    13. It would not accord with the overriding objective for me to stay the handing down of judgment on
        liability, as between Mr Berezovsky and Mr Terluk, simply because RTR suddenly declared an interest
        in jury trial on the issue of damages. Nor would it be compliant with the parties' rights under Article 6
        of the European Convention. There have been unnecessary delays in the course of the litigation and it
        is overdue for resolution.

    14. In any event, since the issue of liability was to be tried by judge alone, it would make no sense to bring
        in a jury at a later stage to assess the damages. They would need to have the whole circumstances of
        the trial on liability placed before them. It would amount to a complete replication of what had already
        taken place. In all the circumstances, I concluded that it was inappropriate to stay the handing down of
        my judgment on damages.

    15. Before I come to the broadcast itself, and the defamatory meanings for which the Claimant contends, it
        is important that I set out something of the background context, as it has emerged in the course of the
        evidence.

          Mr Boris Berezovsky's account of his earlier career

    16. Mr Berezovsky was born in Moscow in 1946. For many years he worked at the Institute for Control
        Sciences, where he eventually held the post of Head of the Department of Computer Design. While
        there, he obtained a degree in engineering at the age of 28 and subsequently became a Doctor of

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          Sciences, aged 35. He was elected a corresponding member of the Russian Academy of Sciences.

    17. In the course of his career, he has written more than a hundred papers and two monographs on
        scientiﬁc subjects. He has also lectured around the world, including in the United States, Japan, Italy
        and Germany. During his time at the Institute, Mr Berezovsky worked with the large car manufacturer
        known as Autovaz and developed computer software for automatic design systems. These were used in
        various Russian industries. One of the ﬁrst private companies to exist in Russia was Logovaz, which
        was set up by Mr Berezovsky in 1989 for the purpose, originally, of developing and selling computer
        software. In 1991, he became a distributor for a large number of external car manufacturers, such as
        Mercedes-Benz, Volvo, General Motors, Chrysler, Honda and Daewoo. Mr Berezovsky's business
        career thereafter prospered and in November 1994 Logovaz, together with some other private
        companies, acquired a 49% share of ORT, which he described as "the major Russian television
        channel". A year later he acquired a substantial interest in the major oil company, Sibneft, which was
        set up in September 1995.

    18. During the presidency of Mr Boris Yeltsin, Mr Berezovsky became involved in politics and held
        various ofﬁces. From October 1996 to November 1997, he held the position of Deputy Secretary of the
        Security Council of the Russian Federation, which led to his becoming directly involved in the
        negotiation of the peace treaty at the end of the ﬁrst Chechen war. This was signed between Russia and
        the Chechen president, Mr Aslan Maskhadov, on 12 May 1997. In April 1998, he was appointed
        Executive Secretary of the Commonwealth of Independent States ("CIS") This was as a result of the
        unanimous decision of the twelve presidents of the former Soviet republics. That position he held until
        2 April 1999. In December of that year he was elected a member of the Duma.

    19. Shortly afterwards, Mr Putin stood for President and Mr Berezovsky was at the outset a supporter. On
        the other hand, he recounted in his evidence how he became more and more concerned, from the spring
        of 2000 onwards, by what he perceived to be a process of centralising all power within the Kremlin. He
        began publicly to oppose certain of his policies.

    20. In May 2000, I was told, Mr Berezovsky criticised Mr Putin's decision to dismiss regional governors,
        who had been democratically elected. A further point of criticism related to the treatment of Vladimir
        Gusinsky, whose television channel, known as NTV, had voiced opposition to a number of Mr Putin's
        policies. He was arrested in June 2000 and accused of serious fraud. He was, however, released once he
        had signed a paper surrendering his television interests to the state.

    21. Mr Berezovsky also criticised Mr Putin's policy in relation to Chechnya, which he regarded as
        aggressive. This is one of the main factors which led Mr Berezovsky voluntarily to resign from the
        Duma in July 2000. He also announced an intention to organise more general political opposition to Mr
        Putin.

    22. In August 2000, the Kursk submarine disaster occurred, which led to the slow deaths by asphyxiation
        of the entire crew. Mr Putin was on holiday on the Black Sea at the time and came in for a good deal of
        criticism for what was thought by many people to be a slow response to the disaster. He was given
        unfavourable coverage in this context by ORT, which led to his inviting Mr Berezovsky to the Kremlin.
        According to his evidence, he was told to surrender his share in ORT because Mr Putin wished to have
        complete control of the television station. If he did not comply, he would be put in prison. He protested
        publicly that the Kremlin was trying to "blackmail" him. Eventually, in October 2000, while he was
        away in France, it was announced by the Russian prosecuting authorities that he and Mr Gusinsky were

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          to be charged shortly with separate criminal offences. It is Mr Berezovsky's case that these were
          politically motivated. He decided not to return to Russia.

    23. By October 2001, Mr Berezovsky was in England and, as I have recorded, he applied for political
        asylum. In March 2003, the Russian prosecutor applied for extradition, on the basis that Mr
        Berezovsky had stolen 2,322 cars. The background to this was that Autovaz had supplied these
        vehicles to Logovaz on credit terms back in 1993 and 1994. According to Mr Berezovsky, these
        vehicles had been transferred as part of a tripartite deal between Autovaz, Logovaz and the Samara
        regional administration, which took a share in Logovaz equivalent to the amount Autovaz owed the
        region in outstanding taxes.

    24. I was told that, much later, in November 2005, the Praesidium of the Supreme Arbitration Court held
        that this deal had been entirely lawful. I must be careful, however, to record that I have heard no expert
        evidence on Russian law or as to the full implications of that decision. At all events, Mr Berezovsky
        relies upon it as an outward demonstration of the fact that the charges brought against him had no
        foundation in law and were politically motivated. It is not for me to come to a conclusion one way or
        the other. It does not arise as an issue in the case.

    25. He contends also that the grant of refugee status in 2003 would not have taken place if the British
        government had reason to believe that he had committed a serious criminal offence. Furthermore, at the
        same time the extradition proceedings brought against him in England were discharged.

    26. In November 2008, notwithstanding the ruling of the Praesidium three years earlier, the criminal
        proceedings were revived and a trial was to be conducted in Mr Berezovsky's absence. According to
        his evidence, he believes that this was a political act intended to undermine his refugee status in the
        United Kingdom and to lead possibly to his extradition. He took no part in the criminal proceedings in
        Russia, which commenced on 19 January 2009.

          Mr Berezovsky's relationship with Mr Alexander Litvinenko

    27. It is necessary, by way of background, also to summarise the evidence in relation to Mr Alexander
        Litvinenko, whose death formed the background to and subject-matter of the offending television
        broadcast. I heard evidence from his widow, Mrs Marina Litvinenko, and I also received in evidence a
        written statement of Mr Litvinenko himself, which was dated 31 July 2003, and had been prepared for
        use in Mr Berezovsky's asylum application, then still pending. Its relevance is that it touches upon the
        disputed incidents which are alleged to have taken place in the summer of 2003 as part of the Second
        Defendant's plea of justiﬁcation in these proceedings.

    28. For various reasons, Mr Berezovsky considered his life to be in danger at the time he was still living in
        Russia in the mid 1990s. It was during this time that he met Mr Litvinenko, who had been an ofﬁcer in
        the KGB and was at that time working for its successor, the Federal Counterintelligence Service
        ("FSK") which became, in 1995, the Federal Security Service ("FSB"). He received a good deal of
        support from him over the years and regarded him as a close friend.

    29. On 7 June 1994, Mr Berezovsky's car was blown up in front of the Logovaz ofﬁces in Moscow.
        Although he was fortunate enough to escape with minor burns, his driver was apparently decapitated.
        Mr Litvinenko was one of the ofﬁcers charged with the responsibility for investigating that
        assassination attempt, and that is how Mr Berezovsky ﬁrst met him. As it happens, the perpetrators

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          were never found.

    30. On 1 March 1995, the Director General of ORT, Vladislav Listiev, was murdered. Two days later, the
        police in Moscow raided Mr Berezovsky's Logovaz ofﬁce with a view to arresting him and questioning
        him about the murder. According to Mr Berezovsky, he believes that this too was politically motivated
        and that the arrest took place on the instructions of Alexander Korzhakov, who was at that time
        President Yeltsin's Chief of Security. He had been a general in the KGB and was seeking to consolidate
        power around President Yeltsin through what Mr Berezovsky describes as "the old KGB elite". His
        account of this is that Korzhakov was pitting himself politically against him and other "economic
        reformers and entrepreneurs". I emphasise that I am not in a position to make any ﬁnding as to where
        the truth lies in this matter: I merely record Mr Berezovsky's version of events.

    31. It was in this context that Mr Berezovsky again called upon Mr Litvinenko for assistance. On the day
        of the raid, 3 March 1995, Mr Litvinenko came to the ofﬁces, identiﬁed himself as an FSB ofﬁcer and
        told the police ofﬁcers to "move along". Mr Litvinenko called his superior ofﬁcers to the scene also and
        the situation, described by Mr Berezovsky as "a stand off", was brought to a conclusion. Mr
        Berezovsky claims that he would have been arrested and possibly killed had it not been for Mr
        Litvinenko's prompt assistance on that occasion.

    32. In 1998, Mr Berezovsky had further reason to be grateful to Mr Litvinenko, who was at that time
        working for the FSB unit known as URPO. This had responsibilities for dealing with organised crime.
        In March of that year, Mr Litvinenko told Mr Berezovsky that he had been ordered in December 1997
        by his commander's deputy, Alexander Kamyshnikov, to assassinate him (Mr Berezovsky). He was
        chosen for this task because he was believed to be close to him. Nevertheless, he regarded the
        instruction, not surprisingly, as unlawful.

    33. Following this, Mr Berezovsky says that he invited Mr Litvinenko and his wife to his dacha in Moscow
        in April 1998, and arranged for this very serious allegation to be ﬁlmed by an ORT camera crew. This
        was in the presence of Sergei Dorenko, who I understand was a prominent television presenter. Mrs
        Litvinenko has said that she realised then that their lives would never be the same again. Equipped with
        that evidence, Mr Berezovsky then ﬁled a complaint with the chief military prosecutor's ofﬁce, which
        was dismissed eventually on 2 October of that year. According to Mr Berezovsky's evidence, he was
        told that it had been accepted that the ofﬁcers concerned had spoken the words alleged by Mr
        Litvinenko, but that they were not to be interpreted as a speciﬁc order to kill him. He produced in
        evidence his letter of complaint, objecting to the decision to close the case for the reason that what Mr
        Litvinenko took as an instruction was only a "casual remark".

    34. In July 1998, Mr Putin became head of the FSB and Mr Berezovsky revealed the assassination plot to
        him. He also arranged for Mr Litvinenko to meet him, in order to present his evidence of corruption
        within the FSB. Mr Berezovsky says that Mr Putin took no action and that, therefore, on 11 November
        1998, he wrote an open letter to Mr Putin, published in the newspaper Kommersant, inviting him to use
        his power to restore constitutional order.

    35. A few days after the publication of that letter, on 17 November, Mr Litvinenko and other URPO
        colleagues announced publicly that they had been ordered to assassinate Mr Berezovsky. This took
        place at a press conference held at the Interfax Agency. They called upon Mr Putin to purge the FSB of
        corruption. According to Mr Berezovsky's perception, these events caused embarrassment to Mr Putin
        and he was critical of the "whistle-blowers".

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    36. Mr Litvinenko's activities, it seems, led to his dismissal from the FSB on 10 January 1999 on Mr
        Putin's instructions. Two months later, according to Mr Berezovsky, he was arrested on "trumped up"
        charges and spent several months in the Lefortovo Prison, where he is said to have been beaten. He
        says that he also spent 36 days in solitary conﬁnement. On 26 November of the same year a judge
        found Mr Litvinenko not guilty on all counts, but he was re-arrested in the courtroom on different
        charges. I understand that he was accused of beating up suspects at a vegetable storage facility and
        extorting cans of peas from them worth 80 million roubles. Mr Litvinenko therefore returned to jail.
        Mrs Litvinenko told me that she had been warned at the time that the authorities had 11 charges against
        her husband up their sleeves and so, if he were acquitted of one, there were plenty of others available.

    37. At this point, Mr Berezovsky went to see Mr Putin (by then Prime Minister) and appealed for his
        intervention. Mr Litvinenko was then released from jail on 26 December 1999. Nevertheless, he
        remained under FSB surveillance and his passport was taken away. Despite this, he managed to ﬂee
        Russia ﬁnally in October 2000. When he arrived in Turkey, Mr Goldfarb, a colleague of Mr
        Berezovsky and a witness in the case, offered assistance to him and his family. Mr and Mrs Litvinenko
        and their son arrived in London on 1 November 2000. He applied for political asylum, which was
        granted in May 2001. By this time, Mr Berezovsky and Mr Litvinenko were ﬁrm friends.

          The "apartment bombings" and the "Ryazan incident"

    38. Once he arrived in England, Mr Litvinenko and a historian called Yuri Felshtinsky began to investigate
        an incident which had occurred in September 1999. It involved the bombing of some apartments,
        which led to many civilians being killed. It was their case that the FSB had been responsible for the
        attacks and that the motive was to provide a pretext for the invasion of Chechnya on 23 September,
        thus precipitating the second Chechen war. I need to stress once again that I am not in a position to
        make any ﬁndings as to where the truth lies on these important and controversial events. They are not
        issues in the litigation before me and I am not called upon to resolve any dispute of that sort. These
        matters simply form part of the narrative in Mr Berezovsky's evidence.

    39. Mr Litvinenko's researches led to a book called "Blowing up Russia, Terror from Within" and a
        documentary programme called "Assassination of Russia". Similar allegations had been made
        elsewhere, including on Mr Vladimir Gusinsky's channel, NTV, which broadcast a documentary called
        "The Sugar of Ryazan" just before the elections of 26 March 2000, when Mr Putin won an
        overwhelming majority. The "Ryazan incident" concerned an announcement by the police, on 23
        September 1999 (the day of the invasion), that a bombing attempt had been foiled in an apartment
        block in Ryazan, which lies some 130 miles to the south of Moscow. That day, Mr Putin praised the
        vigilance of the local people in discovering the bomb and made a promise of victory in Chechnya. Two
        days later, a different account was given, to the effect that there had been an FSB training exercise and
        that what had been found was sugar – rather than the explosive hexogen. Furthermore, what had been
        thought to be a detonator turned out to be a dummy device. For reasons which I need not address, Mr
        Berezovsky and others found this later ofﬁcial explanation implausible.

    40. NTV had commissioned the "Assassination of Russia" documentary in 2001. It was made by two
        journalists who were also responsible for the ﬁlm "Sugar of Ryazan". Mr Gusinsky had intended to
        broadcast that ﬁlm as soon as the documentary was ﬁnished, but in April 2001 the Russian government
        took NTV from Mr Gusinsky. The NTV journalists moved to Mr Berezovsky's channel, TV-6. He made
        it clear that his channel would continue to ﬁnance the ﬁlm and ultimately to broadcast it. Mr Litvinenko
        and his colleague became the ﬁlm's consultants.

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    41. On 14 December 2001, by means of a teleconference at a gathering in Moscow, Mr Berezovsky
        accused the FSB of masterminding the apartment bombs. This apparently led to the government's
        decision to conﬁscate the TV-6 channel. After a series of court decisions, its frequency was turned off
        on 21 January 2002. Accordingly, the ﬁlm was never shown to the Russian public. Attempts to publish
        the book and show the ﬁlm there failed. I am told that three members of the Russian Parliament who
        were involved were later killed or suffered sudden deaths; namely, Yuri Schekochikin, Vladimir
        Golovlev and Sergei Yuschenkov.

    42. In the light of all the difﬁculties, Mr Berezovsky arranged for the documentary to be shown in London
        on 5 March 2002. At that time, he was engaged in forming a political party ("Liberal Russia"). It was
        formally registered as a political party in Russia on 7 April 2003. It was announced at the screening
        that a central platform of the new party would be to expose what was perceived as the "cover up".
        Another participant at the press conference was Mr Nikita Chekulin, who was at that time taking a
        similar line to Mr Berezovsky. After he returned to Russia two years later, however, he went through a
        remarkable conversion. He retracted what he had said at the press conference and claimed that it had
        been dictated to him by one of Mr Berezovsky's associates (Mr Alex Goldfarb). I mention Mr Chekulin
        at this stage because he reappears later in the narrative from time to time.

    43. Leaders of the newly formed party came over to London for the viewing of the documentary, including
        Mr Yuschenkov (whose murder took place on 17 April 2003). I was told by Mr Alex Goldfarb that he
        had been a member of the Duma since 1989 and had recently founded a public commission in Moscow
        to investigate the apartment bombings and the Ryazan incident. Another member of the Commission,
        until his death shortly afterwards, was Mr Shekochikin. I was told by one of Mr Terluk's witnesses, Mr
        Khinstein, who arrived unannounced towards the end of the trial, that the better view was that Mr
        Shekochikin's death was attributable to natural causes rather than poisoning. Be that as it may, with the
        founding members either dead or in exile, the Liberal Russia party ceased to function.

          The death of Mr Litvinenko

    44. Mr Berezovsky included this material in his witness statement, as part of the background, to show how
        closely linked he had become with Mr Litvinenko. Although Mr Litvinenko was not apparently
        interested in politics, he had strong views as to upholding the rule of law. This is all part of the context
        to which Mr Berezovsky points in seeking to demonstrate how unlikely it would be that he should be
        involved in Mr Litvinenko's assassination (which is one of the central charges he believes has been
        made against him in the television programme now sued upon).

    45. These activities led to Mr Litvinenko and Mr Berezovsky becoming, according to their perception,
        targets for the FSB. They both believed that vigilance was necessary because their lives were in danger.

    46. A contrasting account of Mr Litvinenko's character and record was advanced by the Russian
        prosecutors, through Mr Terluk, in the course of the trial. He was portrayed as something of a wild
        man. It was said that he was an unreliable fantasist, who was prone to emotional outbursts and to
        violent attacks on prisoners. The purpose of this was to undermine the credibility to be attached to his
        witness statement. (The reason why the prosecutors knew about its contents was because it was handed
        over by Mr Terluk in breach of his obligation of conﬁdence, along with other disclosed documents.)

    47. Mr Berezovsky drew attention to the evidence given by Mr Litvinenko in his earlier libel action in May
        2006. I recall myself that he stated on that occasion that some people were afraid to appear in court,

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          even to conﬁrm that they had watched the television programme which was the subject-matter of those
          proceedings. He said he was quite sure that the case was being followed by the FSB and also
          mentioned that he knew of people who had been killed because they took their cases to the European
          Court of Human Rights in Strasbourg. This was six months before he was himself assassinated in
          London by means of polonium poisoning.

    48. A few weeks before this occurred, on 7 October 2006, the Russian journalist Anna Politkovskaya was
        murdered. She had been the Chechen correspondent of the Novaya Gazeta and was known as a critic of
        the Chechen war and of Mr Putin's presidency. Reports appeared shortly afterwards to the effect that
        President Putin had made comments about the murder during a trip to Germany on 10 October. He
        apparently suggested that it might have been ordered by those living abroad and hiding from Russian
        justice – the motive being to create anti-Russian feelings around the world. Some took this to be a
        reference to Mr Berezovsky. Without mincing his words, Mr Litvinenko shortly thereafter accused Mr
        Putin of ordering her murder. This took place at a Politkovskaya commemoration at the Frontline Club
        in London. Whatever else may be said about him, that no doubt took considerable courage. He ﬁrst fell
        ill on 1 November and died a horrible death on 23 November. Afterwards, it was established that he
        had ingested polonium-210, which is a rare radioactive isotope. It destroyed his bone marrow, other
        organs and his immune system. Mr Berezovsky had visited him several times in hospital before his
        death. The funeral took place on 7 December 2006 at Highgate Cemetery.

    49. As is well known, attempts were later made by the United Kingdom to obtain the extradition of a
        Russian citizen in connection with the murder of Mr Litvinenko. Much earlier, however, on 5
        December 2006, it was announced by the Russian Prosecutor General, Yuri Chaika, that no Russian
        citizen would be extradited to Britain. In this connection, I was shown an extract from Thomson
        Business Intelligence conﬁrming that announcement.

    50. During that autumn, reports had appeared to the effect that an agreement had been signed between
        British authorities and the Deputy General Prosecutor of the Russian Federation, Alexander
        Zvyagintsev, with a view to smoothing the extradition of suspected ﬁnancial criminals who had ﬂed to
        London. It was said that Mr Berezovsky was "top of the hit list". He was in no doubt that the Russian
        authorities were attempting to revoke his refugee status and to renew their application for extradition.
        Then, shortly after Mr Litvinenko's death, reports began to emerge from Russia to the effect that Mr
        Berezovsky was to blame for the murder and that his motive was to embarrass Mr Putin.

    51. Although he knew about them, Mr Berezovsky did not take these rumours seriously. He did, however,
        agree to be questioned by the Russian authorities, in the presence of British police ofﬁcers, and the
        interview took place on 30 March 2007. It will be noted that this was two days before the broadcast
        which forms the subject-matter of this libel action. He insisted that the interview should be recorded
        and that he would have the opportunity to release the record of it if there was any attempt to
        misrepresent what had taken place. Indeed, one of the allegations on the programme in question was to
        the effect that he had declined to answer a substantial proportion of the questions put to him. In order to
        demonstrate that this was untrue, he released the full transcript of the recording, as he was entitled to
        do, on various websites including that of Kommersant and Compromat.ru.

          The content of the broadcast of 1 April 2007

    52. I have set out the background at some length in order to put the broadcast in context. It is now
        appropriate to rehearse the words complained of in the action (as translated into English):

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                  "[Announcer] Today's programme in the studio of Andrei Kondrashov: How Berezovsky
                  obtained political asylum

                  [Berezovsky] If I particularly dislike someone, I'll kill him

                  [Kondrashov] A sensational disclosure to Newsweek from a well-informed source now
                  under the protection of Scotland Yard.

                  [Pyotr] When they made up their minds to take action, they obviously slipped something
                  into my coffee.

                  [Kondrashov] A new version of the Litvinenko poisoning, he also knew too much…

                  [Other items in the programme]

                  [Kondrashov] We begin with an event which is hardly the main news of the past week,
                  but it's quite a sensation. A new trail has emerged in the Litvinenko affair; a rather
                  unexpected turn of events. Litvinenko may have been poisoned because he was one of two
                  witnesses to a frame-up which helped Boris Berezovsky to obtain political asylum in
                  Britain. The other witness is still alive, but has been afraid for some time now that he may
                  share Litvinenko's fate, he has requested the protection of Scotland Yard and the
                  Prosecutor General.

                                            My colleague Andrei Medvedev managed to meet up
                                            with him in London. He told him how they tried to
                                            make him declare himself an FSB agent assigned to
                                            kill Berezovsky and how the oligarch escaped
                                            extradition as a result. This person, who is now under
                                            the protection of the British police, began talks with
                                            Berezovsky himself at the same time. Of course,
                                            Berezovsky has been interviewed by investigators
                                            this week.

                  [Caption]: London, March 30th 2007

                  [Medvedev] I assume the mixture of poorly concealed irritation and fear on his face
                  during the press conference was brought on by his interview with the investigator. He was
                  questioned by an English policeman in the presence of a Russian colleague. The questions
                  were sent over to Britain three months ago; they were put to Berezovsky in English and
                  translated into Russian. The oligarch repeats his claim that Alexander Litvinenko was
                  poisoned by Kremlin agents who want to poison him too.

                  [Caption]: Boris Berezovsky. London, March 30th 2007

                  [Berezovsky] I considered it essential to meet them, as my sole aim is to ﬁnd the people
                  who killed my friend. In this case, unfortunately, it has become a personal matter.

                  [Caption]: Archive

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                  [Medvedev] The claims about spies, murderers and poison ﬁrst surfaced four years ago in
                  London. It was actually Alexander Litvinenko who thought up this scare story to save
                  Berezovsky from extradition.

                  [Caption]: London, March 2003

                                            In the Spring of 2003, the British were seriously
                                            planning to hand Berezovsky over to Russia.
                                            Apparently, it was a matter of months, even weeks.
                                            Supposedly, the oligarch was even arrested, then
                                            released, with bail set at $200,000. The only way out
                                            was to prove that he was in mortal danger in his
                                            homeland.

                  [Caption]: London, March 28th 2007

                                            The man we interviewed – let's call him "Pyotr" – is
                                            currently under State protection in two countries and
                                            agents of Scotland Yard are protecting him at the
                                            request of the Prosecutor General of Russia

                                            In 2003 he attended the court proceedings for
                                            Berezovsky's case, as he himself was planning to
                                            apply for political asylum in Britain. On one of the
                                            days in court he met Nikita Chekulin, a friend of the
                                            disgraced oligarch at the time.

                                            Chekulin came to the next meeting with a friend who
                                            introduced himself as Sasha Litvinenko

                  [Caption]: Pyotr, acquaintance of A.Litvinenko, now protected by Scotland Yard.
                  London, March 28th 2007

                  [Pyotr] And this Sasha said to me, straight off, "We recognise you. You're a KGB colonel.
                  And I recognise you for sure: you were following me two days ago at Heathrow." And
                  Boris Berezovsky told me – Litvinenko that is – that he'd seen me at the Prosecutor
                  General's Ofﬁce in Russia and you'd been assigned to make an attempt on Berezovsky's
                  life.

                  [Caption]: London, Great Britain

                  [Medvedev] Pyotr says he tried to explain that no way was he an agent and he was trying
                  to get political asylum himself. Litvinenko replied that it didn't matter. "Confess that you
                  have to poison Berezovsky with a toxin hidden in a fountain pen and we'll pay you two
                  million pounds."

                  You had to confess to murder?


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                  [Caption]: Pyotr, acquaintance of A. Litvinenko, now protected by Scotland Yard.
                  London, March 28th 2007

                  [Pyotr] Yes, yes, to Berezovsky's murder, and they presented it as if I'd decided not to do
                  this and met up with them and told them all about it.

                  [Caption]: London, 2002

                  [Medvedev] Litvinenko immediately explained that this would be a strong argument for
                  the British court. If they're even trying to kill Berezovsky here, that means he's going to be
                  persecuted for his political convictions and there's no way he should be sent back to
                  Russia.

                  [Caption]: Pyotr, acquaintance of A.Litvinenko, now protected by Scotland Yard.
                  London, March 28th 2007

                  [Pyotr] They needed my confession to help Boris Berezovsky when his case came to
                  court; to help his lawyers make a sensational announcement, you know, and put Boris
                  Berezovsky in a stronger position so they would not extradite him – that's what they were
                  basically trying to achieve.

                  [Caption]: London, Great Britain

                  [Medvedev] But Pyotr refused. Litvinenko proposed another meeting and increased the
                  payment to 5 million. In all, there were more like ten meetings and the pay eventually went
                  up to 40 million. Pyotr recalled one of the ﬁnal meetings, in particular. They were sitting in
                  a sushi bar, by coincidence, drinking coffee.

                  [Caption]: Pyotr, acquaintance of A.Litvinenko, now protected by Scotland Yard.
                  London, March 28th 2007

                  [Pyotr] Litvinenko went to get coffee and we were sitting with Dubov. That evening they
                  made up their minds to take action and obviously slipped something into my coffee.

                  [Caption]: London, Great Britain

                  [Medvedev] "My head started to spin", Pyotr says, "I couldn't concentrate." Litvinenko
                  invited him to meet his lawyer, supposedly for a consultation. The lawyer asked him to
                  explain in detail what Litvinenko was basically proposing. Evidently, they then recorded
                  Pyotr's story on tape.

                  [Caption]: London, Great Britain

                  [Medvedev] And at the end of August 2003, articles appeared in the British press with the
                  headline, "Attempt on Berezovsky's life". The extradition trial was brought to a halt and
                  the oligarch was given political asylum in early September. Soon after, Litvinenko phoned
                  Pyotr and said, "you've got problems, come to my ofﬁce."


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                  [Caption]: Pyotr, acquaintance of A.Litvinenko, now protected by Scotland Yard.
                  London, March 28th 2007

                  [Pyotr] At our meeting in the ofﬁce, Berezovsky's lawyer told me, "young man, 70% of
                  Boris Berezovsky's success in obtaining political asylum is down to the information you
                  gave to Alexander Litvinenko." Then I realised that by somehow putting together all sorts
                  of tapes they could send something somewhere and get someone wanting to look into it.

                  [Caption]: London, Great Britain

                  [Medvedev] During that meeting, they again proposed to him: tell people you're an FSB
                  agent and you're planning to kill Litvinenko and Dubov. Pyotr refused and said basically, I
                  don't want to have any more meetings with you.

                  [Caption]: Pyotr, acquaintance of A.Litvinenko, now protected by Scotland Yard.
                  London, March 28th 2007

                  [Pyotr] Then Alexander Litvinenko went crazy. He grabbed the edge of the oak table and
                  in front of everyone literally banged his head on the table several times, shouting: "Don't
                  you understand that if we don't get this confession, they'll extradite Dubov to Russia and
                  all of us will follow? Alexander Litvinenko rang Berezovsky and started to discuss the
                  situation that had developed and I heard Berezovsky tell him, "Agree to all his conditions".

                  [Caption]: London, Great Britain

                  [Medvedev] But he didn't offer any conditions, he just went home. Then they started
                  making threatening phone calls and watching his ﬂat. In the summer of 2006, he asked the
                  Russian and British authorities for protection. He wrote in his statement that they were
                  trying to poison him. Three months later, Litvinenko died in strange circumstances.

                                            If Pyotr's story is true, then it's clear what the
                                            Prosecutor General's investigators meant when they
                                            stated that Alexander Litvinenko was a valuable
                                            witness for the Russian courts. And it's also clear
                                            what is behind the insistence that there's a "Russian
                                            trail" in the investigation into the death of the former
                                            KGB ofﬁcer.

                  [Caption]: Alexander Zviagintsev, Deputy General Prosecutor, Moscow

                  [Zviagintsev] The investigation will show what happened. But I am categorically opposed
                  to any sort of speculation during the investigation. We could say with equal justiﬁcation
                  that the trail leads to London. It is not for nothing that our investigators are working in
                  Britain right now. But that's not what we are saying. As far as our investigation goes, we
                  are being very thorough. We have several lines of inquiry. One of these is a quite sound
                  working hypothesis. But investigation can be an unpredictable thing, so we are following
                  all lines of inquiry very carefully.


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                  [Caption]: London, Great Britain

                  [Medvedev] Basically, Berezovsky and everyone hiding from the law in Britain must have
                  been very worried by this. Last week a delegation from the ofﬁce of the Russian
                  Prosecutor General visited London for the third time in six months. They consulted with
                  colleagues from the Crown Prosecution Service, the Home Ofﬁce and Scotland Yard. They
                  established that they hold the same positions on the investigation of speciﬁc criminal cases
                  and the execution of orders in an investigation and that the English also understand the
                  need to change European conventions on handing over criminals and on legal assistance in
                  criminal cases. These conventions were agreed half a century ago at the height of the Cold
                  War and are hopelessly outdated. The result is that a criminal can now be presented as a
                  political refugee.

                  [Caption]: Alexander Zviagintsev, Deputy General Prosecutor, Moscow

                  [Zviagintsev] As I have already said, we discussed a number of practical issues. In
                  particular, we agreed to conduct a joint study in Moscow, in which members of the Crown
                  Prosecution Service, Home Ofﬁce and Scotland Yard will take part. To help combat the
                  legalisation of criminal proceeds, we have agreed to conduct a meeting in Moscow with
                  colleagues from other states, to which we will invite members of Scotland Yard. We
                  sensed some interest on the part of the Home Ofﬁce in signing a memorandum on
                  collaboration between the Prosecutor General of the Russian Federation and the Home
                  Ofﬁce. We signed a similar document last year with the Crown Prosecution Service.

                  [Caption]: Great Britain, March 30th 2007

                  [Medvedev] In a six-hour interview, the investigator asked Berezovsky more than a
                  hundred questions and requested more information on as many points. As Berezovsky did
                  not answer almost half the questions, we can only speculate on which points the oligarch
                  remained silent. The investigators have made no comment.

                  [Caption]: Great Britain, March 30th 2007

                                            Incidentally, British politicians announced back in
                                            January that the investigation into the Litvinenko
                                            affair was about to conclude. But it is still on-going.
                                            Evidently, not everything in this affair is clear to the
                                            English investigators and they still have an open
                                            mind as to who stands to gain from it."

          (Mr Berezovsky pointed out that the ﬁrst words attributed to him, at the beginning of the programme,
          had been uttered by him sarcastically in the course of a press conference and were not intended to be
          taken seriously.)

          The defamatory meanings relied upon by Mr Berezovsky

    53. The natural and ordinary meanings relied upon in the particulars of claim are as follows:


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          i) the Claimant was a knowing party to a criminal conspiracy to avoid his extradition and obtain
          political asylum in Britain by procuring a false confession from the so-called Pyotr (ﬁrst by offering
          him massive bribes and then, when he refused to comply, by drugging him) that there was an FSB plot
          to poison the Claimant and hence he would be in mortal danger if returned to Russia; and

          ii) the Claimant had been a party to the murder by poisoning of Alexander Litvinenko because the
          latter had been a witness to the said conspiracy and the procurement of the false confession from Pyotr;
          alternatively by his conduct the Claimant had given strong cause to suspect that he had been guilty of
          doing so; and

          iii) the Claimant had been a party to threats which made Pyotr fear for his life.

          The extent of Mr Terluk's role in the programme

    54. There can be no doubt that the First Defendant is responsible in law for the content of the programme
        as a whole. Also, "Pyotr" would be liable for any defamatory allegations made by him in the course of
        the interview (subject to any distortion through editing). Issues arise as to whether the Second
        Defendant was in fact "Pyotr" and, moreover, whether "Pyotr" should be regarded as liable for
        defamatory imputations not directly derived from his own words. On both these issues, of course, the
        burden of proof lies on the Claimant.

    55. Mr Berezovsky and Mr Yuli Dubov are in no doubt that Mr Terluk was the person interviewed. This
        has never been admitted, although it is difﬁcult to come to any other conclusion. At so many points the
        events attributed to "Pyotr" in the programme correspond, to a greater or lesser extent, to occurrences
        involving Mr Terluk.

    56. For example, Mr Terluk attended hearings relating to Mr Berezovsky's extradition at Bow Street
        Magistrates' Court on 2 April and 13 May 2003. He also attended meetings during the summer with Mr
        Litvinenko, including one on the evening of 18 June 2003 in a Japanese restaurant, at which Mr Alex
        Goldfarb was also present. (Although "Pyotr" suggests on the programme that Yuli Dubov was also
        present, Mr Terluk now accepts that this was not so.) Later the same evening, they all attended a
        meeting at the ofﬁce in Carter Lane of Mr George Menzies. He was the lawyer who had acted for Mr
        Litvinenko in connection with his application for political asylum. He gave evidence before me in the
        course of the trial. It is denied, however, that Mr Terluk was pressed to tell a false story, that he was
        offered money (in any amount) and that he was drugged.

    57. Furthermore, Mr Terluk appears to accept in evidence given, both in the trial and at an earlier hearing
        in March last year, that he did attend at the Russian Embassy in London on or about 28 March 2007.
        He claims, however, that he thought he was being interviewed by someone from the Russian
        prosecuting authorities rather than by a television interviewer. He denies also having spotted any
        television camera or recording equipment. That is implausible, not least because of the special lighting
        arrangements that were made. I received expert evidence from Mr Anderson to the effect that a camera
        and operator would have been located about six feet behind him and that an obvious microphone would
        have been placed to his left. There would also have been a powerful light to his left pointing at Mr
        Medvedev (in fact reﬂected off his shaven head) and on to the net curtains behind him. This left the
        back of Pyotr's head in relative shadow.

    58. This is not the only relevant evidence. Long ago the prosecuting authorities were openly referring in

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          Russia to Mr Terluk's involvement. I referred to this in my judgment of 31 July 2008 at [12]-[14] in
          these terms:

                  "12. … On 19 March 2008 (within a matter of days of the proceedings being served,
                  following considerable delay, upon the First Defendant), a resolution was issued by the
                  Russian prosecutor and notiﬁed to Mr Berezovsky's representatives in Russia which
                  accused him of "false denunciation about a serious crime linked to the artiﬁcial creation of
                  prosecution evidence". The essence of the accusation against him is that he created false
                  evidence to bolster his asylum application in 2003 by means of exercising continuous
                  psychological pressure, in the form of threats and bribery, on Mr Terluk. It is said that the
                  purpose of this was to provide the British law enforcement authorities with false evidence
                  to the effect that Mr Terluk, being an ofﬁcer of the Russian special services, was charged
                  with the responsibility of killing Mr Berezovsky by poison.

                  13. It will be noted that the commencement of these criminal proceedings took place after
                  a very signiﬁcant period of delay, following the incidents alleged to have taken place, and
                  that in the resolution no attempt is made to conceal the identity of Mr Terluk. …

                  14. There was a second resolution issued on 22 April 2008, with the purpose of extending
                  the time available to the prosecutor's ofﬁce for the investigation of the crimes to which the
                  19 March resolution related. This document not only reveals, once again, the identity of
                  Mr Terluk as the person against whom pressure is said to have been brought, but it also
                  identiﬁes him as the person who gave the interview to the First Defendant's television
                  channel. … "

    59. I have no doubt that "Pyotr" was indeed Mr Terluk and that he must have known that he was being
        ﬁlmed and recorded.

    60. On the other hand, I cannot be sure that he was a party to the overall message conveyed by the
        programme. If he was a party to the plan, he could also be made liable for the underlying theme that Mr
        Berezovsky was behind Mr Litvinenko's murder (or, at least, that there were strong grounds to suspect
        him of it). But he does not actually say that on the programme. It is true that the interview with him is
        relied upon in the programme itself by its makers (and the First Defendant) as supporting that central
        proposition. What Mr Terluk said is supposed to provide Mr Berezovsky with the motive for
        assassinating Mr Litvinenko. Yet the allegation does not directly derive from his words as broadcast.

    61. Mr Terluk seems to me to be accusing Mr Berezovsky, albeit indirectly through others, of having
        offered him massive payments to tell a false story to help him gain refugee status. He also makes the
        allegation of drugging. But he does not himself make the suggestion that Mr Berezovsky was behind
        the murder. He may well have been party to that also, but the evidence does not persuade me of that to
        the required extent (i.e. a balance of probabilities). It is conceivable that Mr Terluk was persuaded to go
        along with the interview he gave, with some reluctance, but that he was outside the loop of the
        programme makers' overall plan to lay the murder at Mr Berezovsky's door. Another possibility is that
        he was simply doing what he was told.

    62. In those circumstances, Mr Terluk can be ﬁxed with responsibility for the ﬁrst of the defamatory
        meanings listed above – but not the second.


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    63. It is also Medvedev, rather than Mr Terluk, who says that " … they started making threatening phone
        calls and watching his ﬂat". It is quite possible that the story originates from Mr Terluk, but it is equally
        possible that it did not. This means that I have to exempt him from liability for the third of the pleaded
        meanings also. Only the First Defendant can be shown to be responsible for that.

    64. So far as Mr Terluk is concerned, therefore, the central issue remaining in the case is whether he can
        prove on the balance of probabilities that Mr Berezovsky, indirectly through his associates, in particular
        Mr Litvinenko and Mr Goldfarb, attempted to bully and browbeat him into making a false statement to
        assist in Mr Berezovsky's asylum claim in 2003. Mr Terluk says that he turned down millions of dollars
        and refused to have anything to do with it. It was accepted in the course of cross-examination that Mr
        Terluk had collaborated with the Russian prosecutors in the preparation of his defence. Rather
        curiously, the defence has never been veriﬁed by a statement of truth – even after the court's order on 8
        December 2009 that the omission should be rectiﬁed.

    65. It is important to be clear on one of the central points in Mr Berezovsky's case. He does not allege that
        Mr Terluk was himself out to kill him or part of a plot to do so. Nor does Mr Dubov or Mr Goldfarb. It
        is also clear from Mr Litvinenko's full statement of 31 July 2003 that neither did he. They never put it
        any higher than that he was instructed to carry out certain reconnaissance tasks on behalf of handlers at
        the Russian Embassy (speciﬁcally, Mr Smirnov). Moreover, they only alleged that on the basis of what
        they say Mr Terluk himself told them (which he, of course, denies).

    66. Mr Goldfarb and Mr Litvinenko made contemporaneous statements as to what they had been told by
        Mr Terluk on, respectively, 4 August and 31 July 2003. In addition, Mr Goldfarb made a statement for
        these proceedings and gave oral evidence bearing it out.

    67. As Mr Goldfarb put it, " … I did not regard Mr Terluk himself as a direct threat – my assessment was
        that he was an insigniﬁcant ﬁgure being used by the Russian Embassy". Mr Terluk did not make a
        written statement in 2003, although Mr Goldfarb and Mr Litvinenko encouraged him to do so. Indeed,
        they suggested that an appointment was made for him to come back and see Mr Menzies for the
        purpose on 20 June 2003. An interpreter would have attended on that occasion. Mr Menzies conﬁrmed
        that, but said that an English speaking person rang before the meeting was to take place and cancelled
        it on Mr Terluk's behalf.

          Mr Terluk's interview with Special Branch in September 2003

    68. There is, nonetheless, a brief written record of Mr Terluk's account dating from that period. After an
        article appeared about a plot to kill Mr Berezovsky in the Sunday Times on 21 September 2003, which
        seems to have been to a large extent inaccurate, two police ofﬁcers interviewed him. Det. Chief
        Inspector Rose (then a detective sergeant) gave evidence before me and conﬁrmed the accuracy of his
        written report summarising his manuscript notes (no longer in existence themselves). That was
        obtained as a result of an order I made last year for third party disclosure against the Commissioner of
        the Metropolitan Police. Mr Browne QC submits that it is the single most important document in the
        case. It is a purely internal police report dated 26 November 2003. It sets out what Mr Terluk had said
        to him and the other ofﬁcer (Det. Constable Cadman, now retired). It appears to be consistent with
        what Mr Goldfarb and Mr Litvinenko were saying at the time. Mr Terluk, therefore, ﬁnds himself in the
        position of having to say that it was a false and twisted account. I see no reason to believe that at all. As
        Mr Rose himself said, what possible motive could he have for making it up? Moreover, he conﬁrmed in
        re-examination that he had not seen the earlier statements made by Mr Litvinenko and Mr Goldfarb at

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          the time the interview took place.

    69. The relevant part of the note (some of which was redacted) contains these words:

                  "1. An article was published in the Sunday Times on 21st September which purported to
                  expose a plot to assassinate the billionaire dissident Boris BEREZOVSKY (Attached as
                  Appendix A). The article stated that an agent of the SVR / KGB who had been tasked to
                  assassinate him at Bow Street Magistrates Court by stabbing him with a poisoned pen, had
                  lost his nerve and informed Mr BEREZOVSKY of the plot. Police subsequently
                  interviewed the alleged assassin who completely denied his involvement.

                  2. Vladimir TERLYUK (dob 04/10/51) is a former KGB ofﬁcer who arrived in the UK on
                  15th Feb 1999 and claimed political asylum. … He states he is not currently working. His
                  asylum application is still pending and TERLYUK is currently involving his local … and
                  the Refugee Legal Centre … on … in attempting to speed up his application.

                  3. TERLYUK stated that shortly after he arrived in the UK he had been walking near the
                  park in Camden Town when he had ﬁrst become aware of two men talking Russian nearby.
                  He went over to the men and began to talk to them. One of these men, who he
                  subsequently developed a relationship with he knew as Mr SMIRNOFF (ph). TERLYUK
                  stated that SMIRNOFF told him that he worked for the Russian Trade Delegation and he
                  supplied him with his telephone contact number there.

                  4. Their relationship developed over time and one day SMIRNOFF introduced the subject
                  of the review of the extradition of BEREZOVSKY. From previous conversations it was
                  clear to TERLYUK that SMIRNOFF had an extremely low opinion of BEREZOVSKY.
                  The two men arranged to attend the next hearing but SMIRNOFF called TERLYUK the
                  day before to say that he had another commitment and would not be able to attend.

                  5. They met again after the hearing and TERLYUK stated that SMIRNOFF asked lots of
                  questions in minute detail about what went on at the hearing. He asked about the layout of
                  the building, BEREZOVSKY'S security detail, the general security and how members of
                  the public were shown in and out. TERLYUK attended a total of three hearings, always
                  alone, SMIRNOFF phoning to make his apologies at the last moment.

                  6. After the last of the three attendances SMIRNOFF was asking about how people were
                  searched when they entered, if they used metal detectors, if they checked inside folders
                  and if they examined pens. It was at this point that Mr TERLYUK claimed that he became
                  very uncomfortable with what was going on and was worried that he was going to be set
                  up as a fall guy for some form of conspiracy.

                  7. TERLYUK then contacted one of the security ofﬁcers at BEREZOVSKY'S next court
                  hearing and told him what had happened. He stated that the story in the Sunday Times was
                  not what he had told them and that it had been substantially 'twisted and spun' by the
                  newspaper. He stated that he had never been tasked or asked to carry out an assassination,
                  that although he was a former Russian Intelligence Ofﬁcer post 1991 he had had no
                  contact with the Intelligence services and that he was not in the employment of the
                  Russian Trade Delegation (KGB).
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                  8. TERLYUK stated that he realised that SMIRNOFF worked for the Russian Security
                  Services and that he was being used by him but he still attended the ﬁrst three hearings as
                  he was genuinely interested in the BEREZOVSKY case. He denied that he was receiving
                  any form of payment for attending these court hearings.

                  9. TERLYUK stated that the legal team for Mr BEREZOVSKY had subsequently
                  badgered him for a statement, which would be used to bolster BEREZOVSKY'S asylum
                  application. They offered him legal help with his asylum application in return. TERLYUK
                  stated that he had refused to do this and had consulted his own asylum lawyers who had
                  told him that there was nothing more that could be done to speed up his claim.

                  10. TERLYUK subsequently re-contacted this Branch on Friday 21st November to say that
                  he was being followed by a surveillance team when he went out shopping. Ofﬁcers
                  subsequently met TERLYUK on Monday 24th November to obtain further details. …
                  Should TERLYUK be subject to surveillance again he has been briefed to call 999 so that
                  a member of the surveillance team can be stopped and spoken to.

                  11. Mr BEREZOVSKY is a multimillionaire who has a very large security entourage and a
                  substantial reputation in the Russian community for paying for information / intelligence
                  and has very strong motivation for uncovering plots to assassinate him as this will assist
                  his efforts to avoid extradition. BEREZOVSKY currently has indeﬁnite leave to remain in
                  the UK but has not been granted citizenship.

                  12. Mr TERLYUK is a former KGB/FSB and is a very sharp minded and intelligent man.
                  He has stated that he accepted taskings from the Russian Security Service and he has
                  passed this information on to BEREZOVSKY'S team. He denies taking any payment for
                  any of this but does not work and lives in a well-appointed semi-detached house …

                  …"

          It is to be noted that there is no record of Mr Terluk making any complaint to the police ofﬁcers of the
          bullying and bribery attempts that he now raises in this litigation. Nor did he mention anything about
          being given psychotropic substances.

    70. What Mr Terluk says now about that statement is that it is bogus and probably manufactured by the
        police to help Mr Berezovsky. Although he knew a Mr Smirnov, who he had bumped into a few times
        while out for walks in the park, he only ever talked to him about such innocent matters as the best way
        of transporting furniture to the Ukraine in containers.

    71. Before I go on to consider the events of the summer of 2003, it is necessary to introduce brieﬂy two
        other associates of Mr Berezovsky, who participated in those events and gave evidence in the course of
        the trial.

          Mr Alex Goldfarb

    72. Mr Alex Goldfarb was, before his retirement, a professional research scientist specialising in
        experimental biology. He was born in Moscow in 1947. Having graduated from the University of
        Moscow in 1969, he emigrated to Israel in 1975 and obtained a PhD in biochemistry from the Wiseman

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          Institute. Thereafter, he worked at the Max Planck Institute in Munich between 1981 and 1982. Next,
          he moved to New York, where he worked from 1982 to 1992 as a professor at the Department of
          Microbiology at Columbia University. Meanwhile, he became a citizen of the United States in 1987.
          He is the author of over 70 research papers in his subject.

    73. He told me that throughout his life he had been involved in the Russian democracy movement. He was
        an anti-Soviet dissident and, after the collapse of Communism, he became a pro-democracy activist. He
        described himself as a "close associate" of Andrei Sakharov, who was a Nobel Peace Prize laureate.

    74. It seems that between 1987 and 2000 he advised Mr George Soros on Russian affairs and directed a
        number of his projects in Russia concerned with promoting democracy. One of his tasks was to become
        involved in a project intended to improve conditions in Russian prisons and in pre-trial remand centres.
        Since January 2001, he has been the executive vice-president of the International Foundation for Civil
        Liberties, founded by Mr Berezovsky, who is also the chairman of its board. It is registered as a
        corporation in New York.

    75. It was in the course of his work for Mr Soros that Mr Goldfarb ﬁrst met Mr Berezovsky in May 1995.
        He has been friends with him since that time.

    76. Mr Goldfarb was also instrumental in assisting the escape, through Turkey, of Mr Litvinenko and his
        family in October 2000. He arrived with them in England on 1 November of that year. He told me that
        he had not been back to Russia since that time because his assistance to Mr Litvinenko might render
        him "a potential target for the Russian Intelligence Service".

          Mr Yuli Dubov

    77. I need also to introduce Mr Yuli Dubov, who is a long-standing friend and associate of Mr Berezovsky,
        having known him since May 1972. He was also a friend of Mr Litvinenko. He was born in Moscow in
        1948 and has lived in London since 2002. He obtained refugee status and indeﬁnite leave to remain
        shortly after Mr Berezovsky, on 30 September 2003.

    78. Having originally worked with Mr Berezovsky in the Institute for Control Sciences, he was also a
        colleague in Logovaz, of which he was General Director between 1995 and 1999. He is closely
        associated with him on a number of political projects as well as in business. He denied in cross-
        examination by Mr Terluk that he was an employee of Mr Berezovsky. He described himself as self-
        employed, although his clients include Mr Berezovsky and/or companies with which he is associated.

    79. With those brief introductions, I shall now turn to the sequence of events during the summer of 2003,
        as to which there is something in common between the parties but also a great deal in dispute.

          The Bow Street hearing on 2 April 2003

    80. Mr Terluk accepts that he attended a hearing at Bow Street Magistrates' Court on 2 April 2003,
        followed by a press conference given by Mr Berezovsky at the Meridien Hotel in Piccadilly. The
        following day he attended an Economic Forum, at which Mr Berezovsky was also present. Mr Browne
        invites the inference that he was taking a close interest in Mr Berezovsky, for one reason or another. Mr
        Terluk, however, says that he was interested in the court proceedings because he might learn something
        of value in connection with his own asylum application. This is not very compelling, since his

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          command of English would not enable him to follow the proceedings. Nor would it provide an
          explanation for following Mr Berezovsky to the press conference or coming along next day to the
          Economic Forum.

    81. On occasion, Mr Terluk has claimed that he attended the court hearings on the recommendation of a
        friend called Susanna. The account seems to have varied, however, from time to time. He told me on
        the penultimate day of the trial that, at last, he had made contact with her and that she would be able to
        come on the morrow. She would conﬁrm that she had thought it would be helpful if he attended
        because Mr Berezovsky had taken proceedings against the Home Secretary to help speed his asylum
        application. She apparently suggested that Mr Terluk might do likewise. The story does not quite stand
        up, however, because Mr Berezovsky had not sued the Home Ofﬁce. Unfortunately, Susanna developed
        a cold overnight and was unable to attend.

    82. Another difﬁculty about it is that a different account was given by Nikita Chekulin. This matters
        because Mr Terluk relies himself upon evidence from Mr Chekulin (in writing, as he was unable to
        obtain a visa to attend in person). What Mr Chekulin said on a television programme broadcast on 19
        March 2006 by NTV was that Mr Terluk attended court in the hope of striking up an acquaintance with
        somebody in Mr Berezovsky's entourage. "He needed money". If true, of course, that would lead one to
        suppose that he would wish to give the "entourage" the impression that he had information of value to
        offer in exchange.

    83. This is not the only mention of a ﬁnancial motive for attending the court hearings. Mr Chekulin had
        earlier promulgated the same story during an interview with Alexander Khinstein published in Russia
        for the purpose of debunking Mr Berezovsky on his 60th birthday (23 January 2006). It is headed as
        "The story of how Berezovsky found himself 'a killer' and got a (sic) political asylum". In the course of
        the interview, Mr Chekulin was asked why "Teplyuk" as "a petty businessman from Kazakhstan"
        should have attended the court hearings. He replied, "I asked him. He explained that it was his friend
        that advised him to ﬁnd ways to approach Berezovsky. She said that he was a rich man, there were
        many people around him and maybe something would come his way. In principle it looks like truth. As
        I see Teplyuk, he was a typical adventurer, the adventurer without money at that". Furthermore, Mr
        Khinstein brought copies of one of his books to court. It was entitled "Oligarchs from the Highway"
        and published in September 2007. At p.574 he wrote (as translated): " … [Terluk] confessed that one of
        his lady friends advised him to try and ﬁnd some approach to Berezovsky … Maybe you also could get
        something". This was a reference back to the interview with Mr Chekulin the previous year. A little
        later in the book, he also cites Mr Chekulin as saying that "Teplyuk" had attended the hearings to
        become a part of Berezovsky's circle and that he was prepared to communicate with Mr Litvinenko
        because he understood that he might be useful.

    84. In all the circumstances, I have concluded that the primary reason for Mr Terluk's attendance at the
        court proceedings in April and May 2003 (and indeed the press conference of 2 April and the
        Economic Forum of 3 April) was to meet one or more of Mr Berezovsky's associates in the hope of
        making them believe that he could be of use or interest to them. That is why he recounted the story
        about being tasked to reconnoitre the security arrangements at Bow Street. It is a separate issue
        whether that story was true or whether it was merely a way of arousing their interest in him. He can be
        seen hanging around in the background of photographs taken outside the Magistrates' Court. But there
        seems to have been no direct engagement with him until the later hearing on 13 May.


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    85. Nevertheless, he did strike up a conversation on 3 April with a journalist who also appears in some of
        the photographs. He is called Mr Kara-Murza and worked for Kommersant. He was interviewed by Mr
        Lomovtsev, one of the prosecutors, on 5 June 2009. The record was introduced by way of a Civil
        Evidence Act notice. What he recounted was that Mr Terluk approached him and asked him how he
        might arrange a meeting with Mr Berezovsky. Mr Kara-Murza responded that he would be better
        advised to approach one of his entourage. When he asked who Mr Terluk was, he answered, "I am from
        structures close to the Kremlin". That would appear to be consistent with the story he later told Mr
        Berezovsky's associates. Mr Browne asks me to infer that the reference to "structures" can only be to
        the Russian security services.

          The events of 13 May 2003

    86. It seems that Mr Dubov ﬁrst noticed Mr Terluk on 13 May 2003 at Bow Street Magistrates' Court,
        where proceedings were taking place in relation to both Mr Dubov's and Mr Berezovsky's pending
        extradition proceedings. On that occasion a journalist pointed out to Mr Dubov the person who
        subsequently was identiﬁed as Mr Terluk, as he was sitting in the front of the courtroom. The journalist
        enquired who he was, but Mr Dubov at that stage was unaware of him. According to his own evidence,
        this was an occasion when Mr Terluk's conduct or demeanour attracted the attention of a security guard
        who asked him to produce some form of identiﬁcation.

    87. Later that day, Mr Berezovsky received a call from Mr Nikita Chekulin and passed the phone to Mr
        Dubov. At that time, Mr Chekulin seems still to have been an associate of Mr Berezovsky. As I
        mentioned before, he had been one of the participants in the press conference about the apartment
        bombings in March 2002. Later, in April 2004, he returned to Russia, since when he has taken a stance
        rather hostile to Mr Berezovsky. It appears that Mr Chekulin was asking that evening for someone to
        go with him to a meeting with the man who had been seen in the courtroom (i.e. Mr Terluk). He seems
        to have been apprehensive about meeting him alone. Mr Chekulin asked Mr Dubov to accompany him
        and he agreed.

    88. Mr Dubov's account is that he and Mr Chekulin met near a church close to Hyde Park, outside Mr
        Chekulin's then home, and went on to a Thai restaurant near the Edgware Road. There, they met Mr
        Terluk who introduced himself, according to Mr Dubov, as "Vladimir Tepluk". Mr Chekulin's son was
        also present.

    89. Mr Terluk's version of events is somewhat different. He says that, as far as he was concerned, the
        purpose of the meeting was to discuss transporting furniture from England to Russia. He had no idea
        that Mr Dubov was coming, regarded him as unwelcome and thought that he had simply elbowed his
        way in. There is, of course, not necessarily any inconsistency between these two stories. That might
        very well have been Mr Terluk's perception of events, since he was not a party to the conversation
        between Mr Dubov and Mr Chekulin; indeed, there is no reason why he should have known of the
        prior arrangement. As this appears to be the ﬁrst meeting between Mr Terluk and any of Mr
        Berezovsky's associates, and it is the subject of dispute, I propose to set out Mr Dubov's account of
        what took place from his written statement, and as he later repeated it in the course of cross-
        examination:

                  "During the dinner, [Mr Terluk] told us quite freely his life story and information about his
                  life in London. What he said made me think that [Mr Terluk] had connections with the
                  KGB, or at least that he wanted it to appear to us as if he had such connections. [He] said
                  that he came from a family of political convicts and that his grandfather and the whole of
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                  that he came from a family of political convicts and that his grandfather and the whole of
                  his family had been sent to the labour camp at Magadan. [He] told us he had been born
                  there and that after Stalin's death, [his] family were not allowed to go back to where they
                  had come from and instead were sent to Kazakhstan. [Mr Terluk] also told us that he was
                  then employed in the Administrative Ofﬁce of the Council of Ministers (the government)
                  and the Central Committee of the Communist Party of Kazakhstan. I was aware that this
                  ofﬁce was very important and was responsible for everything that could be needed by top
                  Party ofﬁcials including things like apartments, transport, telephones, aeroplanes, train
                  tickets, medical treatment, books and theatre in Kazakhstan. Whatever there was a
                  shortage of in the Soviet Union, this ofﬁce had access to it because it provided these things
                  to Government Ministers. For this reason, it was not a job given to just anybody from the
                  street and I was aware that in order to get such a job, you needed someone high in
                  authority and clearance from the KGB to help you get there. For someone with [Mr
                  Terluk's] family history, it would be absolutely impossible to get KGB clearance unless he
                  was already employed by them. In my experience, people in these sorts of positions were
                  members of the KGB."

    90. According to Mr Dubov, Mr Terluk also told them something of how he had come to London in 1999
        and thereafter applied for political asylum. He said this was because he had information about crimes
        committed by ofﬁcials in Kazakhstan and believed that several attempts had already been made on his
        life. He also gave some details as to where he was living and his monthly rental. The reason he gave for
        attending the extradition hearings at Bow Street was that he himself was hoping to be granted asylum
        and was interested in the proceedings for that reason.

    91. Mr Dubov said that he had no particular interest in Mr Terluk, as he had only attended at Mr Chekulin's
        request because he thought that he was wary of him. But he concluded that Mr Terluk had indeed
        worked for the KGB or, at the very least, that he was anxious for some reason to convey the impression
        that he had done so.

    92. It is interesting that Mr Chekulin has published a book (The Oligarch's Secret) in which he gives his
        account of this Thai dinner. It is consistent with Mr Dubov's account, in the sense that both recall Mr
        Terluk mentioning Mr Brezhnev. The suggestion seems to have been that Mr Terluk was involved in
        organising hunting parties for Communist Party grandees including Mr Brezhnev. This was also
        described by Mr Chekulin in one of his interviews with the prosecutors (dated 18 January 2010). As Mr
        Dubov pointed out in the witness box, no one would have been allowed anywhere near guns in the
        presence of Mr Brezhnev unless he was KGB or KGB approved. What Mr Terluk now says is that he
        was merely in the kitchens and would have seen the game only at the stage when it was ready to be
        cooked. Be that as it may, it appears that he was making rather different claims on the night in question.
        I take particular note of the similarity between Mr Dubov's account and that of Mr Chekulin.

    93. Mr Dubov was keen to leave the dinner rather early because he had guests staying, but when he left Mr
        Terluk followed him outside and asked for his mobile phone number. He declined to give it but
        suggested that if he wanted to speak to him he should ring him on the ofﬁce number. That already
        appeared to be recorded in Mr Terluk's notebook. When he left to hail a taxi, Mr Terluk again followed
        him and stayed close beside him. Mr Dubov said he felt uncomfortable and formed the view that he
        was trying to overhear the address that he gave to the driver. He therefore simply told him "Hyde Park
        Corner" and left.


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    94. I should add that I reject the suggestion made by Mr Terluk that Mr Dubov was "the worse for wear"
        on this occasion. Mr Chekulin claimed in his interrogation of 18 January this year that Mr Dubov
        ordered a bottle of "dry wine" which he drank entirely by himself. He also added that he was not sober
        even when the meeting began. Mr Dubov denied this. It seems to be contrary to the probabilities, given
        (a) the purpose of his attendance that evening and (b) the fact that he had guests waiting for him at
        home.

    95. When these events were reported by Mr Dubov to Mr Berezovsky, he suggested that Mr Litvinenko
        should "check him out", as he had experience of the KGB and would be better able to ﬁnd out more
        about him. According to Mr Dubov, Mr Terluk rang him a few days later and asked if he wanted to
        help him write a book about his (Mr Terluk's) life story. Mr Dubov was not interested and the
        conversation ended there. He had nothing further to do with Mr Terluk directly until January 2006 (a
        matter to which I shall return later).

          The ﬁrst meeting with Mr Litvinenko

    96. The next event in this sequence took place a few days later at a pizza restaurant near Piccadilly Circus
        (probably on 21 May). It was attended by Mr Chekulin, Mr Terluk and Mr Litvinenko. According to
        Mr Litvinenko's statement, by the time he arrived (deliberately a little late) Mr Terluk was trying to
        interest Mr Chekulin in setting up a business selling trainers to Kazakhstan. As Mr Litvinenko sat and
        listened, the conversation about business "gradually withered and stopped". Mr Litvinenko then asked
        Mr Terluk what he really wanted and why it was that he had attended the court hearings. When Mr
        Terluk said that the proceedings were interesting to him, Mr Litvinenko raised the point that Mr Terluk
        did not speak very good English. Even now, seven years later, Mr Terluk requires everything to be
        translated. It is, therefore, not easy to understand how he could follow English court proceedings at that
        time. Mr Litvinenko also told Mr Terluk that he regarded his behaviour as somewhat suspicious, at
        which Mr Terluk said that he wished to consider his position. Mr Litvinenko invited him to make
        contact as and when he had done so.

    97. At paragraph 2.9 of his defence, Mr Terluk alleged that on this occasion Mr Litvinenko offered him
        dozens of millions of dollars to make a false statement to the effect that he was involved in a Russian
        plot to kill Mr Berezovsky. There was also supposed to be mention of a house, cars and employment by
        Mr Berezovsky. The accounts given of the offers, and in particular the amounts of money involved,
        have differed signiﬁcantly from time to time. Mr Browne submits that this in itself undermines the
        credibility to be attached to them. The sums involved have ﬂuctuated from £2 million to £40 million
        and then again to 50 million dollars. In the interrogation of Mr Chekulin by the prosecutors on 22
        January 2010, he alleged that Mr Litvinenko told Mr Terluk that if he co-operated "he could choose any
        house he liked in London and he would be supported by money".

    98. Since Mr Litvinenko's brief at that stage was to "check out" Mr Terluk, it seems more likely that he
        would be feeling his way and trying to ﬁnd out what story he had to tell. It does not seem plausible
        that, simply out of the blue, he would suddenly offer millions of pounds (or dollars) for a manufactured
        story.

          The second meeting with Mr Litvinenko at Café Nero

    99. Eventually, after a few failed attempts, Mr Litvinenko and Mr Terluk again spoke on the telephone and
        arranged to meet in early June at Café Nero near the Meridien Hotel on Piccadilly. On this occasion,

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          according to Mr Litvinenko's statement, Mr Terluk told him that he had attended court on the
          instructions of an intelligence ofﬁcer from the Russian Embassy. He said that he had made an asylum
          claim, although in a different name, and that he was not himself an intelligence ofﬁcer. Mr Litvinenko
          was told that Mr Terluk's main handler at the Embassy was Mr Alexander Smirnov, but he declined to
          give the name of his superior. He had been instructed to attend court and to establish contact with
          someone close to Mr Berezovsky. He added that he had served the KGB and its successor organisations
          for many years, not as an ofﬁcer, but rather as a "civilian collaborator". Mr Litvinenko recorded that Mr
          Terluk claimed to have been in charge of the department which ran meetings between the Communist
          Party and foreigners. He showed a series of photographs, including one of him (Mr Terluk) driving Mr
          Brezhnev in his car.

  100. This is a curious little episode and, although apparently rather trivial, may be revealing. Although I
       thought Mr Terluk denied Mr Litvinenko's account, there came a point in the trial when copies of
       various photographs were produced from the ﬁles of the Russian prosecutors, including one of Mr
       Brezhnev being driven in an open car. It is not possible to identify the driver because of sun reﬂecting
       off the windscreen, but I understood that the purpose of introducing this was to conﬁrm that Mr Terluk
       had indeed produced such a photograph to Mr Litvinenko. If so, it would surely conﬁrm Mr
       Litvinenko's impression that he was wishing to establish his KGB credentials (whether genuine or not).
       It would appear to be the second time that Mr Brezhnev's name was dropped into Mr Terluk's
       conversation.

  101. Mr Litvinenko, like Mr Dubov, formed the view that Mr Terluk was someone with long-standing links
       to the Russian intelligence service. One might well query why a genuine asylum seeker in London
       should be working for the FSB – a point raised by Mr Terluk himself. Mr Litvinenko gave the
       following explanation:

                  "I was not surprised that a person who was in the United Kingdom seeking political
                  asylum in respect of Russia had nonetheless been recruited by the Russian Embassy. From
                  my knowledge and experience this is not a surprising tactic because such a person is a
                  perfect choice in terms of deniability (that is to say, if anything goes wrong with a
                  particular operation, the Embassy can deny having anything to do with the individual and
                  his activities)."

  102. Mr Litvinenko pressed Mr Terluk as to the information in which his handlers appeared to be interested.
       He apparently replied that they were interested in everything about Mr Berezovsky and that they were
       also interested in Mr Goldfarb and Mr Litvinenko. He also mentioned another well known dissident,
       Mr Bukovsky. One detail he was given by Mr Terluk was that on a particular occasion someone had
       casually approached Mr Bukovsky, apparently to strike up a friendship, who was actually working for
       the Russian intelligence services. He therefore contacted Bukovsky and enquired whether this was so,
       by way of cross-checking Mr Terluk's bona ﬁdes. Mr Bukovsky conﬁrmed that this information was
       entirely correct but that he had not appreciated that the individual was connected with the security
       services.

  103. He also pressed Mr Terluk (so he said) as to what it was that the handlers wanted of Mr Berezovsky. At
       this, Mr Terluk showed him a photograph of a group of special force snipers, wearing camouﬂage and
       holding sniper riﬂes. He told Mr Litvinenko that the photograph was taken at a training camp. Mr
       Litvinenko asked directly whether he was suggesting that Mr Berezovsky's life was in danger, but at
       this point Mr Terluk became "visibly uncomfortable" and avoided giving a direct answer. Mr

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          Litvinenko said that he brought the meeting to an end and decided that, if another meeting took place,
          someone else should be there with a recording device. Also, he wanted to consider his own position
          and whether or not Mr Terluk was involved in an attempt to set him up as well.

  104. This episode was echoed in the trial when, as I have said, the prosecutors produced a selection of
       photographs. Apart from the one of Mr Brezhnev, there was one of young people with guns. The object
       was apparently to demonstrate that there was nothing sinister about them. The prosecutors clearly
       thought that idea very droll. They were not snipers but harmless students enjoying themselves.
       Wherever the truth may lie on this point, the only reason for producing it must have been to conﬁrm
       that it was shown to Mr Litvinenko. If so, it is difﬁcult to understand in the context why he would be
       shown a photograph of cheery students with guns and dressed in fatigues – unless it was intended in
       some way to conﬁrm Mr Terluk's credentials.

  105. When Mr Litvinenko reported back on his meeting with Mr Terluk, Mr Berezovsky's response was
       apparently to enquire whether the man was "a nut". Mr Litvinenko's assessment was that this was
       unlikely and that no chances should be taken. It was decided that he should meet Mr Terluk again,
       accompanied by Alex Goldfarb, so that he too could make an assessment.

          The Leicester Square meeting on 16 June 2003

  106. On 16 June 2003, Mr Terluk, Mr Goldfarb and Mr Litvinenko met near the Odeon Leicester Square
       and went to a nearby Starbucks. Mr Goldfarb was apparently late and Mr Terluk and Mr Litvinenko
       sheltered from the rain while waiting for him. Mr Litvinenko decided to let the conversation go
       wherever Mr Terluk wanted, but he had by this time decided against attempting a tape recording. He
       was reluctant to frighten him off. He set out, however, in his statement how Mr Terluk gave further
       information about his instructions from his handlers at the Embassy. The extradition proceedings were
       to be carefully monitored. "He then said that if things went badly, the plan was to kill Berezovsky."

  107. Apparently, Mr Terluk described his most recent meeting with Mr Smirnov, who had instructed him to
       attend at the Magistrates' Court on 30 June for a hearing in a case concerning Mr Zakayev, another
       dissident. He was to observe the procedures for gaining admission to the court, the security checks, the
       layout of the building and whether smoking was allowed. He was also asked to keep an eye on the parts
       of the building where journalists were permitted to gather. As a result of this conversation, Mr
       Litvinenko said that he warned Zakayev and his assistant Abdulaeva to be more vigilant.

  108. It seems that the most critical piece of information imparted to Mr Litvinenko (still before the arrival of
       Mr Goldfarb) was that Mr Terluk had received instructions to take into the court, on 30 June, a packet
       of ballpoint pens and a sealed packet of cigarettes. They wanted to establish whether he would be
       allowed to take these in with him and/or whether they would examine the pens closely or open the
       packet of cigarettes. Mr Terluk had been told that the object was to see whether there was a place
       within the court building where someone, perhaps posing as a journalist, would be able to get
       sufﬁciently close to Mr Berezovsky to drip ﬂuid from the pen on to his clothing or a shoe and then to
       light a cigarette. The intention was to blow smoke in the direction of the liquid.

  109. At this point Mr Goldfarb arrived. The three men went into the café and Mr Terluk gave a brief
       summary to Mr Goldfarb of what he had already told Mr Litvinenko, without mentioning the ballpoint
       pens or cigarettes. Mr Goldfarb had rather assumed that Mr Terluk was after ﬁnancial help of some
       kind and told him that he could not make any payment, although it might be possible to assist with

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          legal representation and legal fees. This is a service regularly provided by the Foundation run by Mr
          Berezovsky and Mr Goldfarb. Mr Terluk, however, said that he was not interested in ﬁnancial support,
          but rather wanted to extricate himself from his involvement with the Russians. The meeting then broke
          up because Mr Goldfarb had to leave, and they agreed to meet again on another occasion.

  110. When Mr Litvinenko was walking down the road with Mr Goldfarb, he recalled what Mr Terluk had
       said about the ballpoint pens and cigarettes. Mr Goldfarb was apparently startled at this and asked if Mr
       Litvinenko realised its signiﬁcance. Mr Goldfarb, in the light of his professional knowledge and
       experience, pointed out that the introduction of smoke could be a catalyst for a binary action poison.
       He suggested to Mr Litvinenko that there should be another meeting with him present, so that he could
       hear Mr Terluk's account for himself. In the light of this information, he also warned Mr Berezovsky to
       take greater precautions over his security. Then he made contact with one of Mr Berezovsky's legal
       advisers, who said that this should be brought to the attention of the police – whether or not Mr Terluk
       was prepared to provide a statement.

          The meeting at the Japanese restaurant on 18 June 2003

  111. Thus it came about that on 18 June Mr Goldfarb, Mr Litvinenko and Mr Terluk foregathered at a
       Japanese restaurant in Soho. In his witness statement of 4 August 2003, Mr Goldfarb summarised his
       recollection of Mr Terluk's story in these terms:

                  "In the Soviet times Vladimir worked in the Protocol Department of the Council of
                  Ministers, and worked covertly for the KGB with a codename and secret ID number. His
                  work for the KGB lasted for well over a decade.

                  After the collapse of the Soviet Union, his relationship with the KGB stopped and he went
                  into private business.

                  In the course of his business activity he ran into trouble with some powerful interests and
                  had to ﬂee from imminent arrest.

                  He arrived in the UK some years ago and applied for asylum. His wife and children were
                  with him and he had no close relatives in Russia. By the time of our conversations, his
                  asylum application was still pending and there had been no interview or word from the
                  Home Ofﬁce.

                  About six months into his stay in London, he met with a Russian diplomat; he could not
                  say whether this meeting was accidental or deliberate. In a conversation he gave the
                  diplomat his name.

                  After a while, the diplomat contacted Vladimir. When they met again, the diplomat gave
                  him his codename and secret ID number and asked him to work for 'his motherland' or else
                  the Russians would see to it that he goes back home. However, if he co-operated, they
                  would help him with asylum through their own people at the Home Ofﬁce.

                  Over three years he has done 'many assignments' for his handlers, for which he was paid.
                  His last assignment was to attend all Berezovsky and Zakayev events.


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                  He conﬁrmed that he stood close to me in an elevator at the Russian Economic Forum, as I
                  was leaving the building after Berezovsky, and I clashed with Russian spokesmen at the
                  session on Press Freedom.

                  He said that his assignment was to study approaches to Mr Berezovsky's person, to see
                  whether he was shielded from physical contact with well-wishers by his security detail, to
                  have a general plan of the courthouse, particularly the toilets, etc. From his description of
                  this activity, it appeared that he had some training of this kind of operation.

                  He essentially conﬁrmed what I heard from Alexander Litvinenko about the ballpens and
                  the cigarettes."

  112. Mr Goldfarb recorded in his statement that this "conﬁrmed my alarm". He asked Mr Terluk whether he
       knew the implications of what he had told him and he appeared to appreciate that "this could be a
       preparation for a hit using poison". He enquired whether he had worked this out for himself or whether
       he had been told by his handlers. He replied that when he had asked his Embassy contact a direct
       question about this, he was told "We are not God. We are not the ones who decide".

  113. Although Mr Terluk accepts that he was present on this occasion in the Japanese restaurant, he denies
       that any conversation of this kind took place. He recounts the events as though it were simply one more
       attempt to pressure him into giving a statement for use in Mr Berezovsky's claim for asylum.

          The visit to Mr Menzies' ofﬁce

  114. At all events, both sides agree that after the meal in the Japanese restaurant they attended a meeting in
       Carter Lane with Mr George Menzies (the solicitor who had advised Mr Litvinenko in connection with
       his asylum claim two years earlier). After the meal was over, Mr Goldfarb and Mr Litvinenko took Mr
       Terluk to the ofﬁce by cab. There is a dispute between the witnesses as to whether this meeting began
       at about 10 p.m. or at midnight. At all events, Mr Menzies had invited them to come round when they
       rang his mobile because he happened still to be working late at his ofﬁce that night. There was no
       interpreter present, and Mr Goldfarb claims that he relayed what Mr Terluk was saying to Mr Menzies,
       with a view to obtaining his advice and possibly at some point taking a full statement from Mr Terluk.
       Mr Terluk does not accept that Mr Goldfarb gave Mr Menzies an accurate account of his story. He
       claims that they stayed there from midnight until 3 in the morning. Mr Menzies, on the other hand, was
       quite sure they did not leave after midnight. He thought the meeting took place between approximately
       10 o'clock and 11.30 p.m. The timing probably does not matter a great deal.

  115. As I have said earlier, there was a tentative arrangement apparently for Mr Terluk to return to Mr
       Menzies' ofﬁce on 20 June, by which time it was hoped that an interpreter could be arranged, with a
       view to making a statement. This was in accordance with Mr Menzies' advice. But it was cancelled and
       the meeting never took place. Mr Browne has suggested that the reason for this was that Mr Terluk
       received on 19 June a letter from the Home Ofﬁce inviting him to an interview in connection with his
       asylum application on 30 June. He would not wish to put his prospects of asylum in jeopardy. That may
       or may not be so. I am not prepared to speculate.

  116. A rather curious aspect of this evening is that Mr Terluk has claimed from time to time (as, of course,
       did "Pyotr" in the television programme) that he may have been drugged by Mr Goldfarb and Mr
       Litvinenko. It seems, on the other hand, that this claim was made at a time when Mr Terluk believed

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          that there might have been a secret recording made of the conversation. It may be, therefore, as Mr
          Browne QC submits, that this was merely a false story to explain how he came to make any
          incriminating remarks that might show up on the record. No such recording was made, however, and
          that would have become apparent following disclosure of documents. Accordingly, the need for this
          account of drugging with psychotropic substances has receded into the background. Indeed, it was not
          mentioned in Mr Terluk's statement of 16 November 2009.

  117. Before that stage was reached, however, Mr Terluk appears to have gilded the lily by claiming to have
       told his GP (Dr Lopes) about the possibility of drugging back in the autumn of 2003. When ordered to
       disclose the relevant medical notes, he was unable to offer conﬁrmation. The explanation for this
       became rather complicated. He eventually said that he tagged along to one of his wife's consultations
       and, as there were a few minutes to spare at the end, he took the opportunity to mention it to the doctor
       then. This was supposed to account for why no note was made of it. I am afraid I do not believe any of
       that. It should be noted, however, that at one stage, in his much earlier witness statement of 30
       November 2006, he went so far as to allege that Mr Litvinenko had secretly "spiced" (or "spiked") his
       drinks during every conversation with him.

  118. Mr Goldfarb recalls how, at one point in the evening, Mr Terluk asked whether it would be worthwhile
       him meeting his handlers again in an attempt to obtain more corroborative evidence. But Mr Goldfarb
       said that they did not wish to become involved in any way in activity directed against a foreign
       embassy. Mr Menzies suggested that he knew a retired MI5 ofﬁcer, who was a consultant, and
       wondered whether he should seek his advice. According to Mr Goldfarb, Mr Terluk became very
       enthusiastic at this point and said that he wanted to have the opportunity of speaking to this person and
       obtaining advice. Mr Menzies suggested that this would only be of any use if a written statement had
       been obtained ﬁrst.

  119. All of this Mr Terluk denies. Ms Margiani, his McKenzie friend, told the court during the trial that at
       this meeting "Mr Terluk insists that he never ever said anything". This, of course, lies uncomfortably
       with his assertion that he might have said things under the inﬂuence of drugs. He says that he could not
       understand why he was there at all and certainly had no interest in meeting a retired MI5 ofﬁcer. There
       is an outright conﬂict, as so often in this case, between the witnesses. In the end, nothing was achieved
       by the meeting at Mr Menzies' ofﬁce.

          Mr Terluk agrees to a further meeting with Mr Litvinenko on 3 July 2003

  120. Mr Terluk was unable to attend the Magistrates' Court hearing on 30 June, relating to Mr Zakayev,
       because he had to go to the meeting with the Home Ofﬁce in Liverpool in connection with his asylum
       application. It was at about this time that Mr Litvinenko read in a newspaper of the death, from
       suspected poisoning, of Mr Berezovsky's political ally Mr Shekochikin. For this reason, he says, he
       arranged to meet Mr Terluk on 3 July at between 5 and 6 p.m., again in the vicinity of Piccadilly
       Circus. On this occasion Mr Litvinenko told him that he did not want the same to happen to Mr
       Berezovsky and asked him whether he was "on the level". Mr Terluk conﬁrmed that he had been
       entirely serious in what he had said about his instructions to reconnoitre at the Magistrates' Court. He
       told Mr Litvinenko that Mr Smirnov had been displeased that he had been unable to attend on 30 June
       at Bow Street because the "preparations had been completed".

  121. Once Mr Terluk had conﬁrmed to Mr Litvinenko that his account was truthful, Mr Litvinenko repeated
       that it was necessary for him to take this information to the police, but Mr Terluk was reluctant to "rock

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          the boat" in relation to his asylum application – especially at that point, when he was optimistic that it
          would shortly be decided in his favour. He conﬁrmed to Mr Litvinenko that, if the police approached
          him for an account, he would tell them the truth. On the other hand, he repeated that he was anxious
          not to do anything at that point to prejudice his pending application. He asked Mr Litvinenko to hold
          off until a decision had been made. At that stage he would be happy to clarify things with the police.

  122. Mr Terluk's angle on this is quite different. He asks, rhetorically, why Mr Goldfarb and Mr Litvinenko
       were delaying in going to the police if he really had told them that an assassination plan was in the
       ofﬁng.

          The meeting at Marble Arch on 30 July 2003

  123. At all events, there was further contact on or about 30 July 2003, when Mr Litvinenko attended the
       ofﬁces of Gherson & Co near Marble Arch to discuss his evidence in the Berezovsky case with
       someone from the ﬁrm, which was at that time acting for Mr Berezovsky. He was asked there whether
       it would be possible to try and make contact with Mr Terluk in order to see if he would make a
       statement. He telephoned him and arranged a meeting at Marble Arch at around 6 p.m. He had hoped
       that he might come round the corner with him to the ofﬁces of Gherson & Co to make a statement. He
       was accompanied by Mr Joe Levtov, who had been acting as an interpreter for Mr Litvinenko during
       the course of his meeting. Mr Levtov gave evidence before me in the course of the trial and recalled the
       events of that evening.

  124. Mr Litvinenko, according to his statement, sought to persuade Mr Terluk to come to the ofﬁce and to
       make a statement, since the decision had been taken that he would go to the police anyway and inform
       them of what Mr Terluk had said. He was disinclined to do anything immediately. Mr Levtov told me
       that he was present throughout the conversation until the end, when Mr Litvinenko and Mr Terluk went
       round the corner out of sight. It was on this occasion that Mr Terluk told Mr Litvinenko that his two
       "friends" (i.e. Mr Smirnov and his superior) were being sent back to Moscow. For this reason, Mr
       Terluk sought to reassure Mr Litvinenko that the situation was not as serious as he had previously
       thought. The two Russians were to leave on 1 August 2003 because, according to Mr Litvinenko's
       understanding, the British authorities had given them the choice of returning quietly or being expelled.

  125. Mr Litvinenko, therefore, thought it all the more important to obtain a statement from Mr Terluk
       immediately, because he had it in mind to inform the police before the two Russians left on 1 August.
       This brought a degree of urgency to the matter. Mr Litvinenko was concerned that if Mr Smirnov and
       his colleague went back to Russia, they would only be replaced by another pair of would-be assassins.
       Mr Goldfarb gave evidence to the effect that he carried out some checks and discovered that a Russian
       diplomat called Smirnov had left London, although somewhat later than 1 August. His impression was
       that he left after publication of the Sunday Times article of 21 September 2003 (which led to the Special
       Branch interview with Mr Terluk).

  126. Mr Terluk suggested that this meeting at Marble Arch was in some way disreputable and that it was
       unprofessional of Mr Levtov to have taken part in it. Mr Levtov saw nothing wrong with it and I do not
       understand the complaint either.

  127. Mr Browne points out that it would be very odd, if there were any truth in the drugging allegations, that
       Mr Terluk should have voluntarily presented himself for further meetings with Mr Litvinenko on 3 and
       30 July.

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          Mr Terluk's evidence of a later meeting with other lawyers

  128. Mr Terluk put to Mr Levtov also that he had been present at another meeting, placed by him variously
       between 24 and 27 September 2003, when he and Mr Litvinenko had taken him in a cab from Marble
       Arch to a different lawyer's ofﬁce, somewhere in the City and not far from the river. Originally, it was
       pleaded (at paragraph 2.12 of the defence) that this occurred at Mr Menzies' ofﬁce, but this allegation
       was withdrawn shortly before trial. It was said to be simply a mistake. There is no precision as to
       where or when this second meeting took place, or as to who was present. Since the date, the place and
       the name of the ﬁrm are not supplied, the story is impossible to check. It was said that further pressure
       was exerted on him at this meeting.

  129. Mr Levtov denies that any such meeting took place in the premises of a different ﬁrm of solicitors. A
       vivid description was given by Mr Terluk in the course of his cross-examination of Mr Levtov, in
       which it was suggested that Mr Litvinenko had banged his head on the table or, at least, if he did not
       bang his head on the table, there was deﬁnitely the sound of ﬂesh on wood. He further described how at
       various points in the meeting two other, unidentiﬁed, lawyers were present. One was aged in his early
       sixties with red or sandy coloured hair. The other was a tall respectable man who came in at a later
       stage. They were supposed to represent Mr Berezovsky, but neither he nor any of his associates
       appeared to recognise who these extra lawyers could have been.

  130. The whole of this incident was denied by Mr Levtov and it is difﬁcult to see what purpose it was
       supposed to serve. It will be remembered that by this time Mr Berezovsky had obtained refugee status
       on 10 September. Accordingly, by letter, the Secretary of State invited the Russian Federation to
       withdraw its extradition request or offer no evidence. It declined to take either step, but the District
       Judge discharged Mr Berezovsky in any event on 12 September. (We now know that the Russian
       Federation was advised on 17 September by James Lewis QC that there was no point in an appeal for
       so long as Mr Berezovsky continued to enjoy "asylum status". We know this because Mr Terluk
       disclosed the opinion.)

  131. Mr Terluk suggests that the meeting might have been to assist Mr Dubov with his application. Mr
       Litvinenko was supposed to have said at the meeting that, unless Mr Terluk provided a statement, Mr
       Dubov would be sent back to Russia and Mr Litvinenko as well. It is difﬁcult to understand the logic of
       this scenario, since Mr Berezovsky and Mr Litvinenko had already been given refugee status, and there
       was no reason to suppose at that time that there was any risk of being deported. This clearly
       undermines the suggestion made by Mr Terluk, in his witness statement of 30 November 2006, to the
       effect that the red-haired lawyer told him that a statement was required for the Home Ofﬁce so as to
       make Mr Berezovsky's (and Mr Dubov's) position "unshakeable". The objective had already been
       achieved, at least so far as Mr Berezovsky was concerned. Indeed, on 12 September 2003, Clare
       Montgomery QC, acting for Mr Dubov, had felt able to tell the Bow Street Magistrates' Court that a
       plot had recently been uncovered to assassinate Mr Berezovsky. In these circumstances, I cannot see
       (even on Mr Terluk's perception of events) why Mr Litvinenko should have been desperate to obtain a
       written statement from Mr Terluk at this stage. As it happened, Mr Dubov acquired refugee status,
       within days of this supposed meeting, on 30 September.

  132. Mr Terluk invites me to conclude that Mr Levtov was lying in the witness box and suggested that he
       could see from where he was sitting that he went pale and his legs were shaking. But I saw no reason to
       disbelieve what appeared to me to be clear, straightforward and credible evidence.


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  133. Meanwhile, Mr Goldfarb recalls that he had a meeting with Mr Terluk on 17 September, at his (Mr
       Terluk's) request, at Bibendum in South Kensington. On this occasion, he asked for payment for the
       assistance he had supposedly given towards Mr Berezovsky's asylum application. This would appear, at
       least, to be consistent with the suggestion made by Mr Chekulin that Mr Terluk had made contact with
       Mr Berezovsky's entourage in the ﬁrst place with a view to obtaining ﬁnancial help. Mr Goldfarb felt
       that there were no grounds to make any such payment. I see no reason to reject this evidence.
       Accordingly, the urgent need for a meeting at the end of September is even more difﬁcult to fathom. It
       was in the course of the Bibendum meeting that Mr Goldfarb said that he felt rather sorry for Mr Terluk
       because he was "between a rock and a hard place". He assessed him as "an insigniﬁcant ﬁgure being
       used by the Russian Embassy".

          An assessment of the Claimant's witnesses

  134. As I recorded earlier, a wholesale attack was made on the character of Mr Litvinenko by the Russian
       prosecutors. Reliance was also placed on his conviction in a Russian court in his absence. In deciding
       how much weight to attach to his contemporaneous statement, I take into account the following factors.

  135. First, it is internally consistent and presents a cogent account of events. Secondly, it is consistent with
       other evidence; speciﬁcally, that of Det. Chief Inspector Rose, Mr Menzies, Mr Levtov, Mr Goldfarb,
       Mr Berezovsky, Mr Dubov and Mrs Litvinenko. Thirdly, as to his character, it seems to be common
       ground that he made public his allegation that he had been instructed, in December 1997, to assassinate
       Mr Berezovsky and that he campaigned against corruption in the FSB. In so doing, he was putting his
       livelihood and welfare at considerable risk. It is not easy to understand why he would do this unless he
       was a man of courage and conviction. The same is true, as I observed earlier, of his public
       denouncement of Mr Putin in October 2006. No doubt he had his faults, like anyone else, but nothing I
       have seen suggests to me any solid ground for rejecting his evidence.

  136. As for Mr Dubov and Mr Goldfarb, I had the advantage of observing them give evidence and be cross-
       examined. They are obviously both highly intelligent and articulate men. They also speak excellent
       English. Nothing in cross-examination caused them to change or qualify their evidence. Again, it was
       in each case internally consistent and coherent. It also accorded with the other witnesses and presents a
       credible account of what are admittedly rather unusual events.

          The scope of Mr Terluk's plea of justiﬁcation

  137. As to his plea of justiﬁcation, Mr Terluk was somewhat equivocal with regard to the murder of Mr
       Litvinenko. His primary case was that he made no such allegation – even though it was undoubtedly
       the cornerstone message of the programme as a whole. He no longer wishes to allege, in the alternative,
       that such a charge would be well founded. As he said in the course of the trial, "I don't care who killed
       him". Nevertheless, he did dally with the suggestion that Mr Berezovsky had given reasonable grounds
       to suspect him of complicity in the murder. The basis of this remained unclear. The allegation in the
       programme was premised on Mr Berezovsky's wish to dispose of Mr Litvinenko because he witnessed
       the pressures said to have been exerted on Mr Terluk in 2003. By that logic, he would presumably also
       have a motive to murder Mr Goldfarb.

  138. I can say unequivocally that there is no evidence before me that Mr Berezovsky had any part in the
       murder of Mr Litvinenko. Nor, for that matter, do I see any basis for reasonable grounds to suspect him
       of it. He himself, when being cross-examined, asserted that the whole world knows that it took place on

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          the instructions of Mr Putin. Obviously, it is not part of my function to make any ﬁnding as to who was
          responsible. The only issue that arises in this case is whether there are reasonable grounds to suspect
          Mr Berezovsky – and plainly there are not.

  139. The central issue on Mr Terluk's defence of justiﬁcation is whether his allegations about Mr
       Berezovsky's associates' activities between May and September 2003 have been shown by him, on a
       balance of probabilities, to be correct. In particular, did Mr Litvinenko and Mr Goldfarb exert pressure
       on Mr Terluk to persuade him to make a false statement for use in Mr Berezovsky's application for
       political asylum? If so, were they acting on his behalf or simply on a "frolic" of their own?

          Is the central allegation true?

  140. It is accepted by Mr Berezovsky and his witnesses (including in the contemporaneous statement of Mr
       Litvinenko) that there were attempts to persuade Mr Terluk to make a written statement for submission
       to the police. But they say that they were only asking him to reduce into writing what he had told them
       orally. Mr Terluk denies that he told them what they allege, namely that he had been asked by handlers
       at the Russian Embassy to carry out surveillance at Bow Street Magistrates' Court, with particular
       regard to the layout of the building and security arrangements. If true, this would plainly be a matter of
       concern to Mr Berezovsky and his friends. Equally, it would be a proper matter to submit to the police.
       That is why they say Mr Terluk was asked to put his story into a written statement. They were
       primarily concerned to take steps to protect Mr Berezovsky, with the aid of Special Branch, against
       what appeared to be a possible assassination attempt. It might well have been, in addition, a relevant
       document to place before the Home Ofﬁce in connection with the application for asylum, but the
       primary concern was for his physical safety.

  141. Mr Terluk's case is that this was all fantasy. He was not involved in any plot to kill Mr Berezovsky and
       had no connection with the FSB or any other hostile Russian agency. One of his arguments was that Mr
       Berezovsky's associates would have had nothing to do with him if he had truly posed a threat to Mr
       Berezovsky. He says, in particular, that Mr Berezovsky would not have sat near him in February 2004
       at a press conference which took place in London. No one has any recollection of this, apart from Mr
       Terluk, but he contends that Mr Berezovsky actually sat next to him – within poisoning reach.

  142. Mr Berezovsky's case is, however, not that Mr Terluk was himself a would-be assassin, but rather that
       he was being used by Mr Smirnov and others (possibly against his better judgment) to ﬁnd out how
       easy or difﬁcult it would be to smuggle the necessary ingredients into the Magistrates' Court. Their
       view of him was, in Mr Goldfarb's words quoted above, that he was between a rock and a hard place.
       He had made contact with this group with a view to extricating himself from the Embassy pressures. It
       was in this connection, they suspected, that he had eventually told them of his reconnaissance duties.
       Because he had done so, they would be unlikely to see him as a direct threat and they might even have
       reason to be grateful to him for putting them on notice.

  143. His case, on the other hand, involves the rather less plausible scenario that Mr Berezovsky's associates
       simply picked on him for no good reason and tried to pressure him into writing a false statement to
       boost the asylum application (i.e. without any genuine belief that there was a threat at all). On this
       basis, he simply has to dismiss the connection with Mr Smirnov as an invention. Yet, as I have already
       said, following the article in the Sunday Times of 21 September 2003 which prompted Special Branch
       to contact him, he told them a very similar story – including reference to Mr Smirnov. I can imagine no
       reason why that important note of Det. Chief Inspector Rose should have been dishonestly compiled. It

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          obviously bears out what Mr Goldfarb and Mr Litvinenko were saying at the time.

  144. It is signiﬁcant that Mr Terluk included a misleading account of his meeting with the police in his
       defence at paragraph 2.19. He made the allegation that the Home Ofﬁce had chosen to give Mr
       Berezovsky refugee status despite the information he had given to the police. This plainly implies,
       quite falsely, that his interview with the police preceded the grant of 10 September 2003. It also
       suggests that he had told the police that Mr Litvinenko had tried to extract false statements from him.
       Yet it is obvious from the police record that this was not so.

  145. It is of some interest that one of the excuses Mr Terluk gave at one point for not committing himself to
       a written statement was that any urgency had gone out of the situation as Mr Smirnov and his colleague
       were about to be sent back to Russia. According to Mr Litvinenko's witness statement of 31 July 2003,
       this is what Mr Terluk had told him only the day before. Mr Smirnov and his superior were said to be
       due to leave on 1 August – in something of a hurry.

  146. Criminal proceedings were begun against Mr Berezovsky in Russia founded upon these allegations of
       Mr Terluk. It seems that the Russian government wishes to have Mr Berezovsky's refugee status
       withdrawn and yet again to try for extradition. It is said that he sought to manufacture a false case, by
       exerting pressure on Mr Terluk, in order to defeat the original application for extradition. There is thus
       clearly an overlap between the prosecutors' case in the Russian criminal proceedings, Pyotr's
       allegations in the programme and Mr Terluk's defence in the libel action. That is the reason the
       prosecutors have given when pressing me to stay the libel action. On the other hand, neither they nor
       Mr Terluk have ever quite addressed the divergence between the story they attribute to Mr Berezovsky
       and the case he actually advances. He has never said that Mr Terluk was an assassin, or that he
       personally was going to poison him, or that he had been sent to England for that purpose. That would
       hardly be consistent with his spilling the beans to Mr Litvinenko and Mr Goldfarb. Yet this is the
       account the prosecutors, through Mr Terluk, like to ridicule as outlandish and absurd. Mr Berezovsky's
       case has never been painted in those primary colours.

  147. Mr Terluk was keen for me to see a recording of an NTV television broadcast of 19 March 2006. This
       too was clearly aimed at conditioning the viewers into seeing just how absurd Mr Berezovsky's story
       was and how easy it was to see through it. It attributed to him the claim (to the United Kingdom
       authorities) that Mr Terluk had confessed to being "an agent of Russian Special Services" and that he
       "had come to London to jab the oligarch with a poisoned pen during court hearings". Of course that
       sounds absurd and the viewers were clearly being encouraged to wonder how such a crude and
       transparent melodrama could have fooled the Home Ofﬁce in 2003. But that was not Mr Berezovsky's
       account and never has been. Nor, critically, would that be compatible with what Mr Terluk actually told
       Special Branch at the end of September that year. That account marries up in all practical details with
       what he is alleged to have told Mr Litvinenko and Mr Goldfarb. We do not know what he told the
       Russian prosecutors because they have not supplied any record of his interviews. For all I know, he
       may have been the source of NTV's fanciful story.

  148. It seems clear that Mr Chekulin has been used from at least January 2006 to January 2010 to lend
       credence to the prosecutors' case. One has to be very careful, however, in giving weight to anything he
       has said since his return to Russia. He was interviewed by Mr Lomovtsev on 13 and 21 March 2006.
       Following the second of these interviews, Mr Chekulin sent a letter to Mr Terluk asking him twenty
       questions. It is to be assumed that the answers would be fed to the prosecutors.


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  149. Later that year (apparently in September, according to Mr Terluk's list of documents), a coded letter
       was sent by Mr Chekulin to Mr Terluk. It refers to various people posing a threat to him and his family
       and to warnings received. He uses adjectives (in translation ) such as "especially dangerous",
       "extremely unscrupulous". He concludes by warning Mr Terluk, "Two of us will stay alive to the same
       period in time, if not the day". He refers to a delegation of Russian prosecutors who had arrived in
       England the previous July. They were sent over to investigate and discuss with the United Kingdom
       authorities what had gone wrong with a number of unsuccessful extradition applications. The
       opportunity seems to have been taken during the visit to interview Mr Terluk, and Mr Chekulin was
       pressing him to reveal what had passed between them: "What questions in reality have you been asked
       in the ﬁrst, second and third meetings?"

  150. He also comments, "Bear in mind that they arrived at the third meeting after they were given a dressing
       down from Ptichkin, who got it from the Head". Mr Browne invites the inference that "Ptichkin",
       which means "bird" in Russian, must refer to Mr Chaika who was appointed by Mr Putin as chief
       prosecutor to put some backbone into the service. "Chaika" happens to be the Russian for "seagull".
       When asked about this, Mr Terluk responded rather feebly that perhaps "Chaika" meant "sparrow". As
       for the "Head", Mr Browne suggested that this was Mr Putin. I cannot come to any conclusion about
       this. But, in the end, all that matters for present purposes is that Mr Chekulin and Mr Terluk would
       appear to be in a very unenviable position, to say the least. I was shown a witness statement of Mr
       Yuschenkov dated 25 April 2002, which had been prepared to assist Mr Chekulin's asylum application.
       This made clear his view at the time that Mr Chekulin's life would be in danger if he returned to
       Russia. Anything Mr Chekulin says about Mr Berezovsky or Mr Terluk has to be approached with the
       utmost caution unless otherwise corroborated.

  151. Because their interests coincide, Mr Terluk has been assisted both before and during the trial by a team
       from the Russian prosecutor's ofﬁce. Four to ﬁve people have accompanied him throughout the
       hearing. One or two of the team have been sitting in the silks' row and asked for the opportunity to
       cross-examine Mr Berezovsky. I thought that a step too far. But they were able to assist Mr Terluk by
       presenting him with lists of questions to ask the witnesses in cross-examination. They also prepared
       applications for him to be allowed to introduce new evidence in the middle of the trial.

  152. One of the ironies of the case was that Mr Berezovsky paid for an instantaneous interpreting service for
       Mr Terluk, so that he could follow the trial through headphones. From the outset, at least one of the
       prosecutors took advantage of this service as well, but unfortunately Mr Berezovsky did not provide
       enough headsets to accommodate the full team.

  153. Unhappily, Mr Terluk decided to hand over documents disclosed by Mr Berezovsky in these
       proceedings to the Russian prosecutors in breach of his obligation of conﬁdentiality. This despite being
       given clear information about this rule in letters dated 28 August and 9 October 2009. Mr Terluk made
       expressly clear his contempt for the English court when he said at the trial, "If you don't want me to
       have them, do not send them to me but, if I have them, I will decide myself what to do with them". The
       disclosed documents have been used to further the criminal proceedings in Russia and also to launch
       civil proceedings there at the suit of Mr Terluk (presumably funded by the Russian government).

  154. The civil claim was launched against Mr Berezovsky, Mr Dubov and Mr Goldfarb. It emerged from the
       Moscow Times for 25 January 2010 that an order was made in those proceedings for the seizure of a ﬂat
       in New York (which the court believed belonged to Mr Berezovsky).


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  155. Further, the criminal proceedings were recently extended (on 2 February 2010) by Mr Lomovtsev in
       reliance upon the witness statements of Mr Litvinenko and Mr Goldfarb taken in 2003.

  156. This co-operation and community of interest between Mr Terluk and the prosecutors is relied on by Mr
       Browne, who says that it simply undermines Mr Terluk's credibility and is thus consistent with Mr
       Berezovsky's case that he was working for the Russian government all along (including in 2003). It is
       no doubt relevant material to take into account, but it can hardly be determinative in itself. It is clear
       that Mr Terluk has been treading a ﬁne line for some years. I was shown a letter of 27 October 2006
       from his asylum lawyer, Mr Symonds, who pointed out to him, effectively, that the closer he became to
       the Russian prosecutors, the greater the risk to his asylum application. He advised that " … the fact that
       the Russian authorities have offered you witness protection would likely be regarded by the Home
       Ofﬁce and the Tribunal as a good indication that adequate measures would be taken in Russia for your
       safety". Mr Terluk has no wish to be deported to Russia. On the other hand, he can hardly afford to fall
       out with the Russian prosecutors.

  157. What is of central importance is Mr Rose's note of 26 November 2003 (set out above at paragraph
       [69]). There is captured, more or less contemporaneously, the account Mr Terluk was giving to the
       authorities in this jurisdiction, in September 2003, as to his links to the Russian government. He there
       named Mr Smirnov, as he had also apparently named him to Mr Litvinenko a couple of months earlier.
       That note had lain in the Metropolitan Police ﬁles, apparently undisturbed, for nearly six years until it
       came to light in June 2009 as a result of my order. I do not accept what Mr Terluk seems to be
       suggesting; namely, that it is a bogus document created by the police to assist Mr Berezovsky. Its
       contents are, of course, wholly at odds with what Mr Terluk is now saying. It is, on the other hand,
       consistent with the evidence called by Mr Berezovsky as to the events of that summer.

  158. It would be perverse for me to conclude that Mr Rose was lying in court or that he concocted a false
       record of his interview with Mr Terluk. I can think of no reason why he should do so. Nor can Mr
       Terluk suggest any.

  159. Furthermore, that scenario would account for the close interest taken in Mr Terluk by Mr Litvinenko
       and Mr Goldfarb in 2003. It is far more plausible than the explanation that Mr Terluk and the
       prosecutors put forward; that is to say, that they singled out a total stranger out of desperation and kept
       on pestering him, at meetings he had no wish to attend, to come up with and confess to a plot to murder
       Mr Berezovsky.

  160. The evidence of Mr Litvinenko, Mr Goldfarb, Mr Dubov, Mr Levtov and Mr Menzies is in all
       essentials consistent and plausible. I am not only asked to disbelieve Mr Rose, a senior police ofﬁcer,
       but also Messrs Levtov and Menzies, who are two experienced practising solicitors. They are ofﬁcers
       of the court and appeared to me to be scrupulously careful as to their professional responsibilities. Nor
       can I see why they would have any motive to mislead the court and put their careers in jeopardy.

  161. I do not believe that Mr Terluk would have gone on attending fairly regular meetings with Mr
       Berezovsky's associates unless he had a story to tell. If they were merely pestering him, and he wanted
       nothing to do with them, he is quite determined and strong-minded enough to have told them to "get
       lost". It is clear beyond doubt that he was recounting the same story to the Special Branch ofﬁcers who
       interviewed him. It is hardly surprising that Mr Berezovsky and his friends would want to know as
       much as they could about a possible plot to kill him. Nor is that far-fetched fantasy, since earlier
       attempts had been made on his life and everyone knows what happened to Mr Litvinenko.

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          Furthermore, there was a later assassination plot in relation to Mr Berezovsky himself, which was
          discovered by the police in June 2007. This led to the deportation of Mr Atlamgeriev (as reported in
          The Times for 18 July 2007).

  162. On the other hand, one can understand Mr Terluk's reluctance to reduce his story into writing. He had
       to consider the risk to his own asylum application and, moreover, he would be reluctant to incur the
       displeasure of the FSB and the Russian Embassy. He was feeling his way at that time. Mr Chekulin's
       son (in his interrogation notes of 27 January 2010) recounts that after the 13 May dinner meeting Mr
       Dubov's immediate reaction was, in effect, to describe Mr Terluk as "our man", which perhaps
       connotes "one of us". Mr Chekulin Senior in his interrogation of 22 January said that Mr Dubov used
       the expression "our insider". Moreover, Mr Dubov has himself conﬁrmed that this had been his initial
       impression. That would not be surprising as a tentative view. Indeed, for all I know, at that time Mr
       Terluk might well have wished to throw in his lot with other asylum seekers who, like him, had no
       wish to return to Russia.

  163. I mentioned earlier that Mr Dubov had no direct dealings with Mr Terluk between May 2003 and
       January 2006. What happened was that Mr Terluk telephoned Mr Dubov after the publication of Mr
       Khinstein's article on 23 January 2006. He was displeased that he had been mentioned in it and a
       photograph of him published. He asked of Mr Dubov how Mr Chekulin could possibly have done this,
       as he had thought him "one of us".

  164. At all events, having fed information to Mr Berezovsky's entourage, Mr Terluk cannot have been
       surprised at their interest in getting to the bottom of what he was saying.

  165. Mr Terluk did himself no favours in cross-examination. Although articulate and never lost for words,
       he was truculent and evasive throughout. As often as not, he simply failed to engage with the questions
       he was being asked and tried to quip his way out of difﬁculty. This tactic made it very difﬁcult to take
       what evidence he did give at face value. He tended to dismiss anyone who gave evidence inconsistent
       with his story as a liar in Mr Berezovsky's pay. He also accused Mr Browne of being a disgrace to his
       profession and even of "palming" one of the documents he was passed by Mr Terluk in court. He
       seemed to be directing his performance more to the team of Russian prosecutors than the court; this
       plainly was not calculated to boost his credibility.

  166. I am driven to conclude that the central allegation that is directly attributable to Mr Terluk in the
       programme is false; namely, that corresponding to the ﬁrst pleaded defamatory meaning (set out at
       paragraph [53] above).

          The accuracy or otherwise of the third defamatory meaning

  167. It remains for me to rule on the third meaning – to the effect that Mr Berezovsky threatened Mr Terluk
       or in some way posed a danger to him. This led to what Mr Browne called the "pantomime" about Mr
       Terluk's security. It was difﬁcult to serve him with the pleadings at the outset, because he was making
       himself scarce. (That emerges clearly from evidence of a conversation between Ms Middleton, one of
       the legal team acting for Mr Berezovsky, and a solicitor at a Law Centre who had been representing Mr
       Terluk, albeit to a limited extent.) Thereafter there were continuing difﬁculties about communication
       with him which caused major inconvenience and delay. The reason given for this was the need to
       protect his security. At the earlier hearings in the case, Mr Terluk was brought into court by my clerk
       through the Judges' entrance for the same reason. By the later stages, however, this precaution had been

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          dispensed with and, so far as I am aware, was quite unnecessary. On 8 June 2009, I received a letter
          from the Russian Embassy complaining that I had revealed to Mr Berezovsky's lawyers the documents
          previously received by me from the Russian prosecutors. It was said that by so doing I had increased
          the risk to Mr Terluk's security, but no reasons were given. I see no evidence at all of any risk to Mr
          Terluk's safety and welfare originating with Mr Berezovsky or his entourage. Nor did he lead any
          evidence to that effect.

          Reputation

  168. At various stages during the proceedings, the Russian prosecutors have sought to introduce evidence
       attacking Mr Berezovsky's character, sometimes directly and sometimes through Mr Terluk. I think the
       purpose was to demonstrate that he has no reputation worth protecting. They wrote to me more than
       once through the Russian Embassy enclosing information I was asked to keep to myself. Obviously,
       this was impossible. It had to be handed over to the Claimant's advisers. There were also requests to
       stay the proceedings until the conclusion of the criminal proceedings in Russia against Mr Berezovsky.
       That did not appear to be consistent with his Article 6 rights.

  169. We do not in this jurisdiction have a rule to the effect that a bad reputation precludes a person from
       suing in defamation. We do have a rule, which is in some respects unsatisfactory no doubt, to the effect
       that (subject to proper notice) evidence may be introduced of "general bad reputation" – for the purpose
       only of mitigating damages. On the other hand, it is not legitimate, for that purpose, to introduce
       evidence of speciﬁc acts of misconduct: see generally Duncan & Neill on Defamation (3rd edn) at
       23.20 et seq. This is the so called rule in Scott v Sampson (1882) 8 QBD 491. Despite a
       recommendation contained in the report of the Supreme Court Procedure Committee in 1991 (the Neill
       Report), Parliament decided when considering the Defamation Bill in 1996 not to abrogate this rule.
       The reasoning was that to enact such a provision would be to establish a "muckraker's charter".

  170. It has been recognised that if a claimant has been convicted of a criminal offence, this can also be
       admitted in evidence provided that it is in the relevant sector of the claimant's life and, of course, does
       not fall within the deﬁnition of a "spent" conviction under the Rehabilitation of Offenders Act 1974.
       The Russians wanted to introduce evidence of a conviction of Mr Berezovsky in a Russian court in his
       absence. They also sought to introduce the judgment of a Swiss court relating to the conviction of
       someone else, because there are some references to Mr Berezovsky. For reasons I explained more than
       once, I was obliged to rule this out. Mr Terluk nonetheless introduced it in his closing speech. He tends
       to treat rulings of the court as minor irritations rather than directions to be complied with. (As I have
       already explained, he handed over disclosed documents to the Russian prosecutors and also failed to
       verify the contents of his defence with a statement of truth or to specify what errors and inaccuracies it
       contained, as ordered on 8 December 2009. The reason for this order was to ﬁnalise his case and to
       enable the Claimant's advisers and the court to concentrate on that – rather than a moving target.)

  171. Nevertheless, it would be unreal to ignore the fact that, in the eyes of many people, including Russian
       speakers living in this country, Mr Berezovsky has acquired the reputation of a criminal on the run
       from Russian justice. He has been sentenced to 13 years imprisonment in his absence. On the other
       hand, he is seen by others as a political dissident who is working for justice and democratisation. Many
       see the criminal proceedings against him as politically motivated. It is not for me to take sides in that
       wider debate. I need to focus only upon the speciﬁc issues raised in this litigation. I merely recognise
       the realities. He does not have a settled "general bad reputation". There are contrasting views. None of

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          this means that he is deprived of the right to sue these Defendants in respect of the broadcast and, if
          successful, to recover damages by way of vindication.

          My approach to damages

  172. Having found that the defence of justiﬁcation has failed, I must assess damages against Mr Terluk, as
       well as against the First Defendant. There is something of a difﬁculty about this, as I am confronted
       with joint tortfeasors. Mr Browne argues that they are as bad as each other, in the sense that they have
       committed the same tort and have each, in their different ways, aggravated the damage. I do not believe
       this is the right way to approach it.

  173. First, I have found on the evidence that Mr Terluk is only responsible for what he actually said on the
       programme. He did not expressly state that Mr Berezovsky posed a continuing danger to him. Nor did
       he make any accusation that Mr Berezovsky was implicated in Mr Litvinenko's murder. What he did
       say, which is plainly serious in itself, is that Mr Berezovsky through his associates (or, as Mr Khinstein
       called them, his "marionettes") had exerted pressure on him to produce false evidence of a murder plot.
       This was to deceive the British authorities. There is no truth in any of the allegations, but I am not
       persuaded that Mr Terluk (as opposed to RTR) is to be held responsible for publishing them all. He
       may have been a party to the entirety of the messages proclaimed in the programme: on the other hand,
       he may have been conﬁned to a subsidiary role.

  174. Secondly, the aggravation has been different in the case of each Defendant. In Cassell v Broome [1972]
       AC 1027, 1063F-H, 1090D-E, it would appear that Lord Hailsham and Lord Reid were of opinion that,
       in such circumstances, any joint tortfeasor will only be liable for the lowest common denominator (that
       is to say, only to the limit of their joint responsibility). In Hayward v Thompson [1982] 1 QB 47, 62E-
       G, on the other hand, Lord Denning MR thought this unsatisfactory. He seemed to think that in the case
       of a joint publication, such as a newspaper article, one should not draw ﬁne distinctions as between one
       defendant and another. I do not read the judgments of his brethren (Sir George Baker and Sir Stanley
       Rees) as expressing a view on this point either way. Accordingly, the law in this respect cannot be
       deﬁnitively stated.

  175. I have indicated that the words complained of bear each of the Claimant's pleaded meanings and that,
       in respect of each of those meanings, the allegations are false. Nevertheless, I plan to compensate in
       respect of only the ﬁrst of those meanings – for the reason that Mr Terluk cannot be shown to have
       published all the allegations. I propose to ignore individual aggravating factors, as something of a
       distraction, because I think the lowest common denominator approach is likely to be preferred by a
       modern appellate court – not least because it is more compatible with Article 10 of the European
       Convention on Human Rights. There would seem to be an inhibiting or "chilling" effect on freedom of
       expression in so far as the law may render each individual contributor to an investigative story liable
       for the words or conduct of other people. In a genuine case of "joint enterprise", that may be
       appropriate, but I am not persuaded that this is such a case. Yet I do not believe that for the purposes of
       this case I need to resolve this dilemma.

  176. What I propose to focus upon is the seriousness of the allegation and the fact that it has gone
       uncorrected for about three years. The ﬁgure selected needs to compensate for distress, as well as the
       fact that the allegation was calculated to put at risk Mr Berezovsky's refugee status and leave to remain
       in the United Kingdom. It needs also to serve the purpose of vindication. Obviously, many people have
       ﬁxed views about Mr Berezovsky and most will not change them as a result of this judgment. He is

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          nevertheless entitled to his remedy as reﬂecting the court's clear and unequivocal ﬁnding, on the
          evidence, that the relevant allegations are false.

          Conclusion

  177. Apart from that primary objective, the quantiﬁcation of the damages may be academic in the sense that
       there are likely to be formidable obstacles in recovering the money. This may indeed be a matter of
       only peripheral interest to Mr Berezovsky. I doubt that he brought the proceedings to make money. It
       will be for him to decide whether it is worthwhile to attempt to enforce the award. But that is by the
       way. I have concluded that there should be judgment for the Claimant and that an appropriate award in
       respect of these joint tortfeasors is £150,000. It would have been higher if I were also compensating for
       the equally unfounded allegation that he was responsible for the death of Mr Litvinenko.

  178. Finally, as I said at the conclusion of the hearing, I should like to record my thanks to Ms Margiani,
       who assisted Mr Terluk in the preparation and to some extent in the presentation of his case, and also to
       Ms Bayliss. As the interpreter, she had a very difﬁcult task in circumstances where quite often several
       people insisted on speaking at the same time. I found their contribution very valuable and they enabled
       Mr Terluk to get across what he wanted to say. I should also like to express my thanks to counsel, who
       have assisted the court to focus on rapidly developing issues when they were often under considerable
       pressure themselves.

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EXHIBIT 2


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                                   Program 1.

       3/20/2018. Channel One “Let Them Talk”. Full transcript from 00:00 to 55:15

Participants:

DB - Dmitry Borisov, program host
AL - Andrey Lugovoy, Duma deputy
AK - Andrei Karaulov, Channel One contributor
OL - Oleg Lurie, journalist
AH - Alexander Hinshtein, Duma Deputy
MS - Maxim Shingarkin, public activist
ND - Nikolai Dolgopolov, historian of secret services
YK - Yuri Knutov, military historian
AC - Alexander Chalenko, Ukrainian journalist
AT - Alexander Treschev, attorney
IN - Igor Nikulin, former UN bioweapons expert
IP - Igor Prokopenko, TV host
MI - Mikhail Ignatov, forensic expert
VS - Vyacheslav Sokolenko
WL - Walter Litvinenko
AB - Andrei Borovkov, Berezovsky’s attorney
ZB - Zoya Boguslavskaya, writer
GZ - Galina Zaporozhtseva, retired police officer


Time
0:00   DB This is Channel One. Good evening. In this show one can’t be silent. I
       am Dmitry Borisov in “Let Them Talk.” The most talked about stories and
        people!
       [Recorded film] A purely English thriller. The whole world is talking about
       the mysterious poisoning of an ex-Russian spy Sergei Skripal. Accused of
       high treason in his homeland he obtained asylum in Britain. He settled in a
       quiet green town away from mystery and high politics, but now mystery
       surrounds Skripal’s own poisoning together with his own daughter who came
       to visit him from Russia. The townsfolk of Salisbury can’t make sense of it.
       Nor can simple people in other countries.
       [Female Salisbury resident] “OK, so I was going to work and saw a couple
       on the bench, a young woman and a man. She leaned on his shoulder and he
       made strange movements. He stared upwards and I thought of coming up but
       then I thought “how can I help?”
       DB Information is fragmentary. The press is full of theories and dramatic
       accusations against Moscow coming from London. Previous mysterious
       deaths are recalled – of Boris Berezovsky, Alexander Litvinenko, Vladimir
       Pasechnik and now of Berezovsky’s pal Nikolai Glushkov. They discuss the

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      attempt on Viktor Yuschenko which left marks on his face. So we went to
      Salisbury. Are they alive - the 64 year old Sergei Skripal and his daughter,
      33? And what really happened to the ex spy?
      DB [Studio] When the story of Sergei Skripal’s poisoning broke out
      (according to British secret services it was caused by an agent called
      “Novichok” – a Russian word that has now entered the English language)
      everyone recalled another case that had paralyzed Russian-British relations,
      the murder of Alexander Litvenenko. One of the main protagonists of that
      case was Andrei Lugovoy. He will now join us. Together we can reconstruct
      the timeline of what happened to Sergei Skripal.
      [AL entrance, applause]
      DB Good evening.
      AL Good evening
      DB When these reports from UK started coming did you have a sense of déjà
      vu?
      AL I had this feeling on the next day. About 1 am I got a phone call from a
      British media organization. I did not quite understand what it was about but
      in the morning some forty calls came. Everyone called, BBC, Sky news,
      Channel 4, the Times, the Sunday Times. Naturally, I thought: here we go
      again! From then on I had a strong feeling that the situation with Skripal in
      London will develop essentially by the same scenario as had the scandalous,
      so called polonium case in 2006.
      DB We remember that. You were accused of bringing polonium. Have the
      British journalists asked you if you were in Salisbury?
      AL No. Thanks God they haven’t asked that because, you see, I haven’t been
      in London for a long time, for some twelve years and I am not likely to go
      there. But last week I had many questions to answer. Of course both the
      Skripal case and that of Litvinenko are two sides of the same coin, no doubt.
      I would describe this whole matter using the words of Sir Winston Churchill:
      “A lie can travel half way around the world while the truth is putting on its
      shoes”. I belive this was a provocation even if this provocation might not be
      the work of the secret services of UK but some third party such as the United
      States. In any case Britain hyped the scandal in order to demonize Russia and
      stimulate Russophobia.
      DB So you said to yourself “Here you go again” What did he mean Andrei
      Viktorovich?
      AK What Andrei says is terrifying. This is an attack on Putin. “Putin who
      sent Lugovoy along with his kids to the bar of Millennium Hotel”. Had
      Lugovoy in the Millennium bar dispensed one-millionth of a gram
05:00 of Polonium and put it in Litvinenko’s cup – and he brought his kids –
       then Lugovoy and his kids, and the whole Millennium bar would’ve died on
      the spot and the coffee in the cup would have boiled like a volcanic lava and
      presently the new story with Skripal timed to the elections precisely.
      OL They needed a provocation and they did it.




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    DB Wait. How did it impact the presidential election? Did the Putin campaign
    thank the UK for a good turnout?
    OL Their calculation once again was to demonize Putin, to demonize Russia.
    DB Alexander Evseevich and why use such devious methods of settling
    scores with alleged enemies? These unthinkable poisons – polonium then and
    Novichok now, a sort of chemical weapons?
    AK Wasn’t there a simpler way to hit Litvinenko than dispensing one-
    millionth of a gram? [Applause]
    AH Why every time this sort of thing happens they pick exotic means more
    appropriate for a James Bond movie than for the real spy operation? Take
    Berezovsky who hanged himself on a tie and now Glushkov strangled with a
    belt…
    AL With his dog’s leash.
    AH Oh. His dog’s leash, I am sorry. So you have polonium here, Novichok
    there; there was a plutonium scandal in the 90’s. Simple folk in the west who
    grew up on comics, James Bond and Spiderman would instantly believe these
    things. Not only believe but get terrified, absorb the message that is being put
    in their heads: “Russia today continues the evil doings of the Soviet Union: a
    sting with an umbrella, a poisoned ice pick. The horrible KGB, Smersh and
    NKVD agents roam the streets of Europe in their fur hats, planting bombs
    aiming to destroy the planet”.
    DB So to understand what you are saying, to see how the residents of a small
    town, a quiet normal English town are taking all this I followed the footsteps
    of Yulia Skripal. She went to see her father. Actually she lives in Russia but
    she went to visit UK. I was able to see what the press writes about it, both the
    British press and ours – because UK tabloids print all kinds of theories. Here
    it goes…
    [Recorded film] London, Heathrow. Here on March 3, a flight from Moscow
    landed bringing Yulia Skripal who came to the UK to visit her father Sergei,
    the former spy. The next day, March 4 the two of them were found
    unconscious on a bench in the shopping mall in the town of Salisbury, 140
    miles from here. They say they were were poisoned, there are many theories
    how. One of them says Yulia landed in Heathrow carrying the poison in her
    bag. The day after she arrived Yulia Skripal and her dad drove to the centre
    of the town. At 1.40 pm they parked at the public lot and went for a walk.
    Their car is no longer at the parking lot. What’s interesting, before the Secret
    Service got hold of it, the car was towed away because it looked abandoned.
    Now you cannot go through, the police are here. This is the pub where Sergei
    Skripal and his daughter stopped by. A lovely place with a view of an old
    clock tower. The town centre. There is a real noisy waterfall. According to
    reports Yulia ordered a glass of white wine, Sergei had a beer. They talked.
    After the pub Sergei and his daughter went through this shopping arcade,
    entered a restaurant where over lunch Yulia wanted to talk about some
    important events in her life. Traces of poison called Novichok were later
    found in the restaurant. On that basis there is a version that it was there,


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      during that meal, that Yulia gave her father a gift from friends, which was
      laced with poison. One cannot see what is happening inside because the
10:00 building is surrounded by a high green fence obscuring everything inside.
      After lunch Sergei and Yulia went through this gallery towards the shopping
      mall. There is a park here and the bench, now hidden behind the yellow
      screen where they sat down when they felt unwell. At 16.00 pm a local
      resident saw people on the bench acting strange. At 16.15 an emergency team
      arrived and Sergei and Yulia were taken to the hospital. Now the park is
      closed by the police. No entry.
      DB [Studio] So this was a short chronology of events. How precisely the
      poison found its way – if at all, but that’s a separate question – into the
      organisms of Sergei and Yulia, there are many theories. One version assumes
      that someone in Moscow gave Yulia a gift for her father, which she for some
      reason accepted. It travelled in her luggage to Heathrow. From Heathrow she
      went to Salisbury and the next day gave the present to her dad. Who could
      make such a present?
      AK Isn’t the English customs equipped, after Litvinenko, to scan the luggage
      for everything including radiation, poisons, especially Novichok?
      MS There are radiation detectors…
      AK Then how did it go through?
      MS Look, pay attention. If this was a combat poison it rapidly reacts in the
      atmosphere so that people inhale it and die. In a few hours practically no trace
      is left because all of it has reacted.
      DB Then what did they find?
      MS That is the question! Let’s imagine theoretically how it had unfolded at
      the Millennium in the middle of London or presently in the middle of
      Salisbury. Say you are head of government, the Prime Minister of Great
      Britain, they come and say: “A radioactive substance has been used in
      London or in this case a nerve agent in Salisbury in the middle of England.”
      As the Prime Minister you would call government agencies and take
      extraordinary measures to ensure the security of the state as a whole. Have
      they taken any such measures?           Did they close the London subway?
      Deactivate the Buckingham Palace? Did they check all law enforcement
      personnel for contamination? If they did not do it…
      DB Oh you want to know what they did? A spokesman for the Health
      Protection Agency some days later advised all residents of Salisbury who’ve
      visited the restaurant and the pub visited by Sergei Skripal: “Dear citizens of
      Salisbury, if you visited the pubs, please cleanse your gadgets with baby
      wipes”.
      MS This reflects their assessment of the level of threat. [Applause] They
      claim that citizens and visitors in the UK are being killed in terror attacks,
      which can be countered with baby wipes!
      DB Nikolai Nikolaevich, still, could a spy service, any service use the
      daughter? Theoretically?
      ND Andrey Lugovoy here said something important: there was a third party.
      My personal view the third party arrived in the UK from across the ocean.

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      You see they act on a grand scale, they deploy huge resources, spend tons of
      money, use an awesome suppression machine. Somehow I think this time the
      Americans did not alert their colleagues in MI-5, the counter intelligence that
      they were doing this. Quite possible they did it without the English knowing
      and told them only after the fact. Another point. Who would benefit from it at
      this time? Who needed it so badly? I would say that if some time later a
      Ukrainian connection is discovered I wouldn’t be much surprised. Now about
      Skripal. This man has been milked out completely, squeezed dry like a lemon
      First he betrayed Russia in 1995, secondly he was lured here for his love
15:00 of money, he was caught because of his greed, they caught him through
      an ingenious trick of the GRU which he had betrayed. See they are grabbing
      him. [Film of Skripal ’s arrest].
      DB They said they found him out because of his lavish spending, buying
      expensive clothes, living beyond his means.
      ND He lived outside of Russia in a different country but they lured him here
      by promising big money. Many people don’t know about it. Then he was put
      on trial. [Film of Skripal behind bars in court] He got 13 years although in
      my opinion he deserved more. He served until 2010 and then was swapped
      for a group of Russian intelligence agents. He went back there and again
      started working for the British. He totally was under their control.
      DB But before he was exchanged he was pardoned in Russia.
      ND He was pardoned, but the British MI-5 fully controlled him like a circus
      calf who walks circles.
      AH Skripal was exchanged in 2010 for our illegals but another traitor,
      Gordievsky, still lives in Britain since the Brits got him out in 1985. He was
      sentenced to death in absentia – while it was still the Soviet Union.
      Gordievsky inflicted incomparably greater damage than Skripal. I put aside
      moral, ethical or legal side, I am talking strictly common sense and
      pragmatism. By the way, today, with all archives opened, we can say with
      confidence what happened before. The last attempt of a liquidation abroad by
      our secret services took place in 1961.            That was the unsuccessful
      assassination of the illegal Stashynsky after he defected. They stopped this
      kind of operations now. Approximately thirty former operatives turned
      traitors live abroad. Among them Skripal is the last fiddle in the orchestra.
      There was no reason to kill him. [Applause] Skripal was a British spy who
      had been exchanged for our illegals. Naturally he was monitored by the
      British intelligence, as they do everywhere else in the world. Our own
      George Blake who defected from the UK to the Soviet Union in 1966 is still
      alive, God bless. They call him George Ivanovich today. He is in perfect
      health. Of course you cannot approach him easily or pay a visit to him at
      home even though more than a quarter of a century has passed since his
      defection. Now take Skripal, who is protected by the Secret Service, who is
      visited by his daughter from Moscow
      DB But that’s a daughter, a close relative.
      AH Granted, but like any visitor from Moscow. They must have checked the
      daughter’s luggage. They must have made sure their meeting was secure. The

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      story that someone has put something in her bag and she brought it and
      opened it by accident…And what if she had not given it to her Dad and if she
      had not opened it? And if not in the restaurant?
      AK They don’t work that way!
      OL Regarding the substance, how could they have brought it in? If it was
      binary, that’s a composite, it must be mixed before it starts working. What
      bag? What airport? Obviously it was a well-planned action. She gave hm the
      present at home. Not at the restaurant. That is a planned operation.
      DB Regarding the restaurant, it’s a big question. There are different versions.
      A policeman got poisoned at the home
      OL There is not a single piece of evidence
      DB What’s interesting is that some threads from the Skripal poisoning lead to
      the same place as the poisoning of Victor Yuschenko and Alexander
      Litvinenko. Why? Because 11 Km from Salisbury there is Porton Down. The
      British military base, the laboratory… And what is happening inside? We will
      be back after a commercial break. Stay with us.
      [break]
      DB This is “Let them Talk’ I am Dmitry Borisov. Good evening to all. We are
      discussing the poisoning in Great Britain of Sergei Skripal, the former
      Russian spy who had been convicted of treason by a court here, then
      pardoned and exchanged for Russian agents in the US. Before the break we
      mentioned that only 11 Km from Salisbury where Skripal was poisoned, there
20:00 is Porton Down, the British military base which had determined the agent that
      was used to poison Alexander Litvinenko. So maybe the name Porton Down
      rings a bell Andrei?
      AL No-one has ever seen any document showing who or what was involved
      in the Litvinenko case. I want to emphasize that in both cases one of the main
      steps taken by Great Britain was to classify everything. But in the case of 12
      years ago they did it 5 years after the fact when we were about to get access.
      In the present case they did it within a week, so that no-one even tries.
      DB What seems strange, this particular poison Novichok was invented in
      Russia they say and could not be produced anywhere else. All at the same
      time they compared it with samples which they already had.
      YK Let me say, everyone quotes the interview of Mirzayanov on BBC.
      There are interesting moment there.          For example Mirzayanov says a
      chemical weapon was used. When American soldiers were blowing up
      chemical weapons stockpiles some of them got contaminated by traces. This
      is not true. Tony Blair confirmed that was a lie. So the question remains was
      there Novichok in the first place, as they present to us? Before this tragedy
      took place – and I believe it is a tragedy for those involved and our relations
      with Britain – just before that they showed a TV series in which this very gas
      Novichok was featured. The public was preconditioned psychologically that
      such a gas could be used by the Russians. Then the most interesting part. At
      this point in time the USA declare they are getting ready to massively strike
      Syria because Assad has perpetrated a chemical strike. We are opposing that
      strongly and suddenly there is a provocation demonstrating that Russia is no

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      different from Damascus. The most horrible thing is that 600 cruise missiles
      on ships and subs are waiting for launch orders in Mediterranean …
      DB What you’re saying is horrifying…
      YK I am telling the truth. Why Theresa May acted this way in this situation?
      Why did she agree? I think she knows very well that Russia has nothing to
      do with it but Brexit has been a catastrophe. Her resignation is on the
      agenda . Now, all of a sudden the British public attention is distracted towards
      Russia. The EU had been strongly at odds with London, and now suddenly t
      Brussels stands by London. They all stand together and Theresa May’s rating
      goes up.
      DB Maybe she was just lucky and this was not a provocation by spy agencies,
      but an unrelated poisoning?
      YK You know I agree with what’s been said that both CIA and MI6 were
      involved, but the execution most likely was done by Ukraine. In that case,
      even if everything comes into the open neither America nor England will lose
      face, but a third country will. If Kiev is exposed they’d only be happy to
      have made so much problems for Russia.
      DB So in your view Theresa May is happy.
      YK Yes, this is a gift for her; Americans are happy too.
      DB And in the Russian election, the turn out is high, so all is well?
      YK That the police were not around, and they’ve removed surveillance could
      only be done in collusion with the British secret services.
      DB Alexander, could Ukraine be involved?
      AC Skripal means “fiddler” in Ukrainian. He was born in Kiev. Possibly
      after he’s left for England he has established a connection.
      DB But Theresa May says it is Russia, that Russia clearly had a motive and it
      is also claimed that only Russia had this poison
      AT And it is also claimed that only Russia can produce this poison
      YK No this poison was not produced in Russia but in the Soviet Union.
      Moreover, in Uzbekistan there was an American base. The BBC reporter
      asked Mirzayanov if the Americans could get hold of this agent there and he
      said yes. They dug the soil in that base and could take this agent with them to
      USA.
      DB The base at Porton Down reportedly is where they’ve developed the nerve
      agent that was used to poison a family member of Kim Jong Un, the North
      Korean leader.
      ND I want to say something else. We are all saying that this nerve poison gas
      is called Novichok. Some good analyst from British intelligence must have
25:00 told this to Theresa May. The truth is that this gas is in some catalogues
      published in Britain – this is not a secret. It is designated A-234. So the
      English do have the very same agent. Where is it from? This remains a secret
      of the Crown. They have this gas. End of story!
      DB Novichok, a fancy word that has now become well known just like
      “Babushka” or “Perestroika”…
      ND Also “Spasibo” and here is a new name “Novichok” [applause]


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    DB And still did we or did we not develop Novichok? We know official
    statements that we do not have this gas.
    OL This is a story invented by Mirzayanov.
    IN Mirzayanov did play a role but not a major one. Take into account that in
    1994 Mirzayanov made this public for the whole world. A political decision
    was apparently taken not to arm Russian forces with it. Firstly Uzbekistan
    has split away in the course of disintegration of USSR. The factory that
    produced it was in Uzbekistan, near the town of Lukus.
    DB So is there is no gas in Russia because the factory is in Uzbekistan and
    Russia has fulfilled all international obligations on destroying stockpiles. An
    Uzbek trail or American! Igor you have been silent. Let’s go back. Isn’t it a
    weird method to solve a problem, a deadly gas that may or may not exist.
    IP I am absolutely sure that all statements in the early hours made by Theresa
    May and the British Foreign Minister called Boris have been written before
    Skripal was poisoned, because when they made the statements he was still in
    the ambulance on his way to the hospital. I quote “For the first time since
    WW2 Russia attacked Britain”. What we have been shown, here he has a
    beer – the photo went round the world – and then he stepped outside and
    passed out on a bench. My friends, the nerve gas we are talking about kills
    instantly if it was a chemical weapon! But anything is possible in a fiction
    movie.
    DB We have a movie plot, maybe an advanced formulation, that does not kill
    right away but say in 12 minutes
    IP In that case we are not talking about a chemical weapon but about a
    poison. I am not an expert in poisons but I am an expert in chemical weapons.
    In 1993 when Russia signed the convention prohibiting chemical weapons
    and declared it holds 40 thousand tons of chemical weapons the Americans
    then declared 31 thousand tons. At that time America and Russia allowed
    observers to the sites where chemical weapons were stored. I was the first
    journalist who was allowed to film those storage depots, seven of them in all.
    I was wearing these things. I filmed these sites on permission from Defense
    Minister. I saw canisters with Sarin and Zaman. Now half of Salisbury wears
    this gear but remarkably regular policemen are mingling with these costumes
    and they are still breathing. But I want to say that in 1993 it was impossible
    to conceal anything. I say this as a witness, as a participant in those events.
    At the time the Americans and Brits saw everything there was to see. No
    secrets left. Of course we can talk about poisons, but that’s another story. Yet
    the British all the time talk about chemical weapons.
    DB Yes. They don’t say “poison”.
    IP That’s because “chemical weapons” remind of Saddam Hussein and Assad
    and that test-tube that Colin Powell displayed at the UN. “Chemical
    weapons” is a brand that has been promoted in TV shows, mass media and
    what not. As long at the British talk about chemical weapons we know that it
    is a lie. A cynical arrogant, open lie.
    DB But still it sounds horrifying and dozens of people in Salisbury having
    seen the news went to see their doctors.

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      IP I want to say it’s not clear if he was poisoned in the first place. Maybe he
      had a stale beer. Since we don’t know what happened it is possible that he
30:00 is now sitting at some secret bunker of MI-6, sips his beer and laughs at all
      this. With Litvinenko they shaved his head to show how beastly Lugovoy
      was. To show a strong handsome man who has lost his hair? Nothing of the
      kind. They shaved him to fake this for the photo. Shame on the British, they
      abused the dying man. To sum up it’s not a fact that he has been poisoned at
      all.
      DB Since you mentioned Alexander Litvinenko, after the break we’ll hear
      what his family thinks about that poisoning after all the years that have
      passed. Who was responsible? And where is Sergei Skripal? Stay with us.
      [break]
      DB This is “Let Them Talk”. Good evening to all. I am Dimitry Borisov.
      Today we discuss the poisoning in Britain of Sergei Skripal and his daughter
      Yulia. To see everything with my own eyes I went to Salisbury.
      [Recorded film] This is Salisbury a quiet, green provincial English town,
      population 45 thousand. Everything is close by, doctors, hospitals, schools,
      pubs, restaurants, shops. The Cathedral keeps one of the first copies of
      Magna Carta. Stonehenge is not far. An ideal retirement spot. Another
      reason why Skripal settled here might be this, Pablo Miller, the British
      spymaster who reportedly recruited Skripal also lived here. They had what to
      discuss. To get an idea about real estate prices in Salisbury, take a look at the
      window of this realty agent. Here is a house for £170,000, that’s about 13
      million Roubles, or this house for £235,000, that’s 18 million Roubles. The
      house of Sergei Skripal according to the press reports is valued at £340,000
      but he bought it at a discount for £260,000 because he paid it all in cash. This
      is the quiet green street where Sergei Skripal bought his house in 2010.
      Neighbors remember him as a quiet man but recall how when he moved in, he
      invited the whole street to the housewarming. Apparently Brits are not
      accustomed to such largesse. One of the versions of the poisoning assumes
      that it could happen at this home. The police sealed the whole area. Streets
      are closed; only residents are permitted to enter. Even at the cemetery one
      can see the consequences of what happened to Sergei Skripal and his daughter
      Yulia. The same kind of green fence that surrounds the restaurant, the same
      blue tent that was in the parking lot. Here there are the graves of Sergei’s
      wife and the eldest son. Over the past few years he had lost three family
      members. His wife died of cancer in 2012, then his brother and the last year
      his son died of acute liver failure. His wife and son are buried here. The
      police are interested in this spot because reportedly Yulia and Sergei brought
      flowers to the grave and possibly those flowers carry traces of poison. That’s
      what police is trying to figure out.
      DB [Studio] So the version of the flowers carrying traces of poison, how
      realistic is this? Is it serious when people look there for Novichok?
      MI It is unlikely there will be any traces, I think they cannot be there. It kills
      and the next moment it’s gone. You won’t find any traces on the flowers, the
      gravestones or in the grass.          Secondly, this happened on the eve of

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       presidential elections but the aim was not to discredit our elections but to
       show the world that Russia is a potential threat and that it would be dangerous
       to hold the World Football Championships there, that it should be moved to
       the UK where they have all the infrastructure.
35:00 DB And a supply of baby wipes…
       MI The aim is to contain Russia. That
       was the first, I continue. I fully agree with Igor Prokopenko that there was no
       poisoning at all. He is probably sitting at a safe house of MI-6 waiting it off.
       Didn’t they say he is alive, in a coma?
       DB Our diplomats tried to get consular access to Yulia Skripal, who is a
       Russian citizen. They did not get it.
       MI If the British were interested in true investigation they would immediately
       contact our investigators because she went there from here and so the trail
       they are looking for must be in Russia.
35:45 DB In the case of Alexander Litvinenko which has been mentioned here there
       was a concrete person, Andrei Lugovoy, who has been accused of brining
       polonium. How did that story end?
       AL The story ended with me and Dmitry Kovtun being accused of the
       poisoning murder of Litvinenko and at a certain moment Theresa May, she
       was the UK Home Secretary at the time, decided to classify all case materials
       saying that public access to these materials including lawyers and those
       involved in the inquiry would undermine national security of Great Britain.
       At this the case ended. Later in 2016 there appeared, sorry for the expression,
       a clownish ex-judge who allegedly conducted a public inquiry where all his
       statements were based exclusively on suppositions and guesswork, where
       they accuse our state of ordering it and
36:46 the two of us carrying it out. By the way, Vyacheslav Sokolenko happened to
       be there at the CSKA-Arsenal match but he, thanks God, escaped the
       misfortune.
       DB That is, you could also be on the list.
       AL They questioned him.
       DB Andrey points at you now.
       VS Let me tell this story from a different angle, which is not well known.
       Just three months before these events with Litvinenko I invited Andrey to a
       football match. We travelled in a large group with friends…
       AL Kids.
       VS With kids to see the match. After that they found polonium at the Emirates
       stadium where CSKA played with Arsenal. And what’s interesting, they
       initially accused CSKA fans that they may be complicit in Litvinenko
       poisoning. The level of madness was such that our fans decided to respond in
       their own way and produced a T-shirt with inscription “Polonium – 210” and
       the CSKA emblem with the radiation icon replacing the ball. The inscription
       went “London-Hamburg” – since they found polonium also in Hamburg –
       “To Be Continued” and in the back “CSKA-Moscow. Nuclear death is at your
       doors”. The shirt sold out!


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      DB Who was not amused by this whole episode was the family of Alexander
      Litvinenko. What are they thinking after all these years about the poisoning
      and those responsible? Let’s ask them. [Applause, as Walter and Maxim
      Litvinenko enter, WL shakes hands with AL] Right now the brother and the
      father of Alexander came to our show. Let us greet them. Good evening, an
      interesting detail: Walter Alexandrovich and Maxim greet Andrey Lugovoy.
      How can you do it so easily? With someone who according to the British is
      the poisoner? The murderer?
      WL He is no murderer. I was at the hospital as Sasha lay in his bed. I was
      there right before his death. He died on my hands. I think he was poisoned
      several times. Not one time. Even in the hospital they kept poisoning him
      that’s what I believe.
      DB My gosh!
      WL I came to the hospital three days before he died I was there all the time, I
      talked to him. I was present when they tried to revive him. Of course as a
      doctor I knew it was very serious. Take a look, he is completely bald. On the
      other hand as a father I hoped, it was London after all… the hospital… that
      they might save him. First they said it was food poisoning, then they found
      Thallium, he lost his hair and they said it was Thallium.
40:00 AT When you saw him did they give you any protective gear? Or you wore
       your regular clothes?
      WL Regular clothes only, you know those knit socks.
      MS Can you say did he have any internal burns?
      WL Yes, yes, precisely. When I was later thinking I thought if it were
      polonium he wouldn’t have lived for three days.
      DB Even with Thallium, hair loss. We can see some hair on his chest.
      WL That was Polonium-210
      Unidentified It would’ve burned his oesophagus if it were Polonium.
      WL Yes it would be all burnt. That hospital was like a revolving door.
      Anyone could walk in easily
      DB You said you think he was poisoned several times also in the hospital. By
      whom?
      WL First they said food poisoning, then thallium. And then when he was
      already dead, when he died they were still thinking thallium. Then half an
      hour later they came running wearing masks, gas masks and said
      Polonium-210. From then on it was polonium.
      DB So what do you think, who could benefit from all that?
      WL You know on the next day a huge crowd gathered. Many people were
      there, a kind of rally. I am standing there, Goldfarb is standing, Akhmed
      Zakayev too. Boris Berezovsky and lots of people. I spoke. I was very upset
      and I said here in London a strike on my son happened, they struck his heart
      with radioactive agent, a new kind of radiation, a bomb … And Goldfarb hits
      me like this in the ribs. That is, I said something too early that was not yet
42:11 useful to them and then after that rally we come in. Goldfarb’s wife is sitting
      there, a young girl sitting on the bed, crying, weeping: “Walter, Walter. Alex
      killed Alexander”. Who knows English they understand what I said. Alex is

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      Goldfarb, she openly told me that Goldfarb killed. “Walter, Walter” - that is
      me, Walter.
      DB So you believe an associate of Boris Berezovsky killed your son?
      WL Goldfarb! While Sasha was at hospital he flew to the USA three times. I
      come to Akhmed and say “Akhmed what is this?” And Akhmed says “Listen
      he is CIA”. Alex is. That is he was interested in raising this outcry, all that
      dirt which they are throwing also today on Putin, they are sitting there
      rejoicing. That Alex Goldfarb, that same Akhmed saying “Now Putin will
      never rise back. This is the end of him! We’ve torn him to pieces!”
      DB Who said that?
      WL Alex, Goldfarb
      DB Alexander Goldfarb
      AK An incredible account of a man who for three days sat at Litvinenko’s
      deathbed. We heard your monologue. Absolutely sensational. Would
      anybody in the world, BBC, CNN, anyone request this tape and show what
      you said today, your testimony especially you naming Goldfarb.
      Berezovsky’s right hand, who is actually an agent, a member of the American
      Central Intelligence Agency, and here is your present monologue, which no
44:10 one except us in Russia, no one in the world wants to hear! (Applause).
      WL Here is what I’ll say. This calamity taking place in Europe that dirt has
      been spreading from there all these years, targeting us, targeting Vladimir
      Vladimirovich. Putin, for whom I’ve voted by the way in Italy I voted for
      him. [Applause] I’ll tell you straight we should be now helping him. What
      I’ve just said this should have been known before they have poisoned those
      guys. That man, surely he was a spy, a scoundrel, but he is a human being.
45:00 After all, he had been punished in his time and they released him so there
      was no reason to poison! Who had the right to poison? And by the way she is
      a Russian citizen she must be helped now.
      DB What is also very interesting in what Walter Alexandrovich just said, for a
      few days he was near Alexander Litvinenko. As we heard from British
      security services and authorities, polonium-210 is a super toxic thing. So
      Walter Alexandrovich should be glowing now, but he said no one checked
      him. Is that possible?
      AK Did they give you a gas mask like those doctors had?
      WL There was no gas mask
      MS Had Litvinenko really been poisoned by Polonium as the witness
      described the circumstances. There should have been scores of corpses there,
      dozens of dead people.
      AK Take note, you slept…
      WL When I arrived in London where did they put me? In Sasha’s bed. Sasha
      was in hospital and I in his bed. By the way they are saying he is the poisoner
      [pats AL on knee]– ha ha. Meaning they walked around London spilling
      polonium including on themselves. Sasha was all covered with polonium not
      to mention the tea they gave him or that thing. Sushi Sushi which he had..
      AL At Itsu Sushi bar with Scaramella
      WL Scarmella. Yes they dragged that poor Scarmella out

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      AL Scaramella
      WL An Italian…The Italian they put in a hospital. Totally idiotic. Their
      police force is non-existent!
      AK This is not idiotic. Sorry to interrupt. Walter Alexandrovich…
      WL Then it’s malice. Idiotic or malicious!
      AK The blame is on us the journalists, how foolish we’ve been. No one
      thought of, I did not think of calling you and inviting you for an interview.
      Had your story been aired on Channel One Skripal would have been alive
      today.
      DB What, Skripal has died? - Nobody knows that? He is in a coma. Is
      Sergei Skripal alive? The question troubling the world press . After a short
      break we will go back to Britain. Stay with us.[break]
47:20 DB Good evening to everyone again. I am Dmitry Borisov. Today in “Let
      Them Talk” we discuss the sensation of the recent days in Britain. The
      poisoning of Sergei Skripal and his daughter.         In this context everyone
      remembers the poisoning of Alexander Litvinenko in Britain. His father
      Walther Alexandrovich in this studio is sitting next to Andrey Lugovoy who
      had been named the murderer of Alexander Litvinenko.                So Walter
      Alexandrovich said he considers CIA complicit in the murder of Alexander
      Litvinenko and you even said you know who specifically did it?
      WL Yes Goldfarb. It was his work
      DB And you know that it was Alexander Goldfarb, an associate of Boris
      Berezovsky from what you’ve heard from Alexander’s own wife.
      WL Yes the wife. She told me about that. And a month later she herself died
      suddenly…
      Unidentified guest. She died suddenly.
      Unidentified guest. Was she a young woman?
48:19 WL 28 years old. She was very young. I am so sorry for her. That’s how it
      started. Then it went on and on. Also Berezovsky. The death of Boris
      Berezovsky brings about many questions.
      DB During the break we were joined by his associates: lawyer Andrei
      Borovkov and the writer Zoya Boguslavskaya. The official version of Boris
      Berezovsky’s death was suicide but those who knew Boris Berezovsky’s say
      it’s impossible. His love of life; his activism. What theory do you support?
      AB Anything but suicide. He was indeed a vivacious life loving man, lots of
      energy. To imagine that such a man all of a sudden puts his head in the noose.
      I honestly can’t.
      DB Zoya Borisovna do you also disagree with the official version of suicide?
      Regarding his death ,
      ZB I have a view probably different from everyone else’s. I think he was
      killed at his own request.
      DB My gosh!
      WL And they broke his ribs at his own request?
      ZB No he was asking to be killed.
      DB Andrey you knew Boris Berezovsky when you worked…
      WL No. Did they break Berezovsky’s ribs at his request?

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      DB Boris Abramovich has been described as a great adventurist, an ingenious
      man. Your theory is of that sort, isn’t it?
      ZB I’ll tell you about a phone conversation with him I spoke to him three
      days before it happened. He was just discharged from a nerve clinic
      everything had stabilized but I did not know about those letters he wrote to
50:00 Putin asking to be let back into Russia. Saying he was sorry. These were the
      letters of an absolutely broken man. But he did not imagine himself without
      Russia. When we talked I kept saying, God, now it’s all behind you. That
      trial. You are now out of the clinic. Fixed up. And he said “That’s not the
      point Zoya. The purpose of life has been lost.” I said, don’t say this. And
      literally in a few days this happened. He talked about suicide constantly. That
      he could not do it himself but he will make it happen.
      DB There is a conspiracy theory that Boris Berezovsky may be alive and was
      preparing his friends…
      ZB I was at the funeral…
      DB Andrey…
      AK On the one hand there is not a single photo of Berezovsky in his coffin.
      On the other hand he would never kill himself while his mother was alive.
      Yet on the other hand he was expecting to be killed. When I first visited
      Berezovsky in London I will never forget … We set our cameras, he greeted
      us in his sacrosanct office. He said, please get ready they brought in some tea,
      but Boris has vanished. We wait 5 minutes, 10, 15, half an hour. As it turned
      out they were watching us through a camera to make sure I didn’t put
      anything in his tea. But I did not come to kill Berezovsky but to ask him how
      he was planning to make revolution in Russia. It’s a tragedy of a man who
      lost everything a personal tragedy of Boris Abramovich. Plus after the
      Andava case he and Glushkov could not enter many countries. There was a
      huge dacha on the Antibes, which he could not visit. Lots of things in his life
      truly became meaningless. He also had betted on Ukraine. He told me many
      times that when a “right” president comes to power, I will go to Ukraine. Be
      very close to Moscow. Nothing came out of it. Ukraine did not let him in. I
      was the first to say there was no photo, his mother, everything, that strange
      funeral. I imagined him alive with changed identity. I didn’t believe he was
      killed but Sasha Dobrovinsky, the lawyer, has those text messages. Pity he
      could not come. The bodyguard who found Berezovsky was firing out
      messages: “Sasha he is hanging! Sasha what should I do? Sasha, he fell!
      Sasha they’ll blame it on me. What should I do? Tell me as a lawyer” and so
      on. Those hysterics could not be faked. In the final count Boris Abramovich
      committed suicide. He is dead. That is what I think
      DB But from what you said earlier there is grounds for a theory that Boris
      Berezovsky with changed appearance is alive in Ukraine.
      AK That’s too much!
      DB Galina Evgenievna. How about this scenario?
      GZ I don’t think Ukraine. This is the second most dangerous place after
      Somalia probably, But after listening to all accounts of Berezovsky’s death
      and knowing Berezovsky as a born adventurist, a man capable of faking his

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      own death and funeral, I can believe that he changed his looks and is
      watching us and taking pleasure. I do not believe he went to Ukraine because
      those forces he counted upon, the orange camp, Orange revolution. By the
      way that revolution in which Berezovsky invested was also based on a
      poisoning, that was Yuschenko. When his PR people saw the effect of Botox
      or other cosmetic treatments on his face and hands they concocted a legend
      that he was poisoned and this played very well during the elections because
      people felt sorry for him - poor soul – that’s how he won the elections of
      2005.
      DB You do not believe in the poisoning of Victor Yuschenko? One minute!
      Do you believe in the poisoning of Sergei Skripal?
      GZ I believe these are episodes from the same TV series. There is a team at
      work which stages these scripts which they themselves compose and then
55:00 bring to life. I want to emphasize: in the poisoning of both Yuschenko and
      Skripal a meal of sushi is featured, a so-called fish is given in the form of
      sushi causing a food poisoning that has the same symptoms..
      DB And finally, the main question that everyone asks: Where are Sergei
      Skripal and his daughter Yulia now? This we are likely to find out in the next
      episode of, using the words of Galina, this TV series. In half an hour on
      Channel One is the next episode of “Golden Horde”. Today’s news will be
      reviewed on Channel One’s “Vremya.” I am Dimitry Borisov in “Let Them
      Talk”.




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                                  Program 2.

         3/30/2018. Channel One “Man and Law”. Transcript from 16:45 to 24:45


Participants:

AL - Andrey Lugovoy, Duma deputy
NA - Narrator
SL - Sergei Lavrov, Russia’s Foreign Minister
AA - Alexander Asafov, political scientist
WL - Walter Litvinenko
RE - Reporter
NK - Nikolai Kovalev, former FSB Director
ALit - Alexander Litvinenko




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DG - Dmitry Gladyshev, Expert

Time
16:45 AL The deaths we head in Britain:Litvinenko, Berezovsky
      NA [off screen] Glushkov
      AL Glushkov, Patarkatsishvili, there is a question about him, but well,
      Patarkatsishvili, Perepelichny, Skripal, six people, and all these cases have
      been classified.
      NA [recorded film] The war of worlds.          More than 20 European countries
      announced expulsion of Russian diplomats. US are expelling 60 members of
      Russian diplomatic missions and are closing Consulate General in Seattle.
      Moscow responds.
      SL [news footage] Mirroring measures will be taken, including expulsion of
      the same number of diplomats, and they also include our decision to recall
      agreement on the work of US Consulate General in Sankt Petersburg
      NA [recorded film] Britain accuses Russia of poisoning of the ex-spy Sergei
      Skripal and calls it one of the main threats to the whole of Europe.
      AA Russia stands accused of a horrific attempt to deploy secret Soviet
      military technologies on the territory of United Kingdom, which only thanks
      to the courage and bravery of English police did not lead to massive deaths.
17:55 NA [recorded film] With all these outrageous accusations they did not even
      hear in the West - or did not want to hear - a sensational news: the father of
      fugitive Lt. Colonel of FSB Alexander Litvinenko who in 2006 was poisoned
      with Polonium, named the murderer of his son.
      WL [interview] Lugovoy had nothing to do with it. And Scaramella had
      nothing to do with it.
      RE And who had?
      WL So far I think there is only one who had, Goldfarb personally. Who else?
      NA [recorded film] Alexander Goldfarb, an Israeli and American citizen, the
      head of Foundation of Civil Liberties founded by Boris Berezovsky, a former
      associate of George Soros. Who is he really? We combed our archives, met
      with the main protagonists of the Polonium story and found many threads
      linking the poisoning of Litvinenko with the Skripal case. Alexander
18:55 Litvinenko began his career in the KGB at the dawn of Perestroika. In
      those days there was a deficit of manpower so an ordinary lieutenant of the
      interior troops was accepted. The life of a new secret agent cardinally
      changed in 1994 after an explosion destroyed the car of Boris Berezovsky
      who was just beginning his ascent to power.


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      NK [interview] Boris Abramovich wrote a request for personal protection.
      Litvinenko took part in Berezovsky’s security detail.
      NA [recorded film] At the oligarch’s they offered Litvinenko a big salary and
      he put his official duties at the FSB to the back burner. Early in 1998 his own
      colleagues started investigating him; there was information that he was
      involved in protection rackets. To avoid arrest, Alexander made a decisive
      move: he told Berezovsky that at a meeting in FSB his superiors ordered him
      to kill the oligarch. Boris Abramovich got frightened and called a press
      conference.
20:00 ALit [news footage] The order to kill Executive Secretary of
       Commonwealth Berezovsky unfortunately today is not something
      extraordinary in FSB.
      NA [recorded film] Thus Litvinenko ended his service at the FSB and about a
      year later defected to London. Alexander made his living by helping Russia’s
      traitors to move to England. He also introduced British business people to
      Russian and took a percentage. On the 1 of November 2006 Litvinenko met
      Andrey Lugovoy at the bar of the Millennium Hotel. They briefly discussed a
      would-be deal with a London firm providing security services. After that
      meeting Litvinenko was put in a hospital with food poisoning. A few days
      later doctors announced they found Thallium in his organism.
      DG [interview] Thallium is a toxic substance. The symptoms are similar to
      those found in Litvinenko, a gradual failure of functions of the organism.
      RE [interview] When did they start saying it was Polonium-210?
      WL They started talking about Polonium half an hour after he died.
21:04 NA [recorded film] Scotland Yard accused Andrey Lugovoy of murdering
      Litvinenko, allegedly on orders of Russia’s special services, which, they said,
      decided to eliminate their ex-colleague for collaborating with the English.
      Litvinenko’s father has his own explanation. Alexander in fact died in his
      arms, but neither Walter Alexandrovich himself nor those who visited his son
      in the hospital during the three weeks did not get any radiation. This led the
      father to think that his son was poisoned already in the hospital.
      WL [interview] He was vomiting blood; it was clear that he ingested
      Polonium not more than an hour or two previously. Meaning, it happened in
      the hospital. I understood it later, by analyzing…
      RE Who visited him in the hospital?
      WL Everybody. Goldfarb too.
      NA [recorded film]: While the runaway Lt. Colonel was at the hospital
      Goldfarb flew to US several times. Litvinenko’s father is sure that his every
      step he cleared at the CIA. Walter Alexandrovich is positive: Goldfarb is a

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      CIA agent. Here is why: few people know that shortly before his death
      Alexander Litvinenko converted to Ilsam. After he died his father discussed
      with Akhmed Zakayev, the fugitive Chechen general, the rules of Muslim
      funeral.
      WL [interview] Goldfarb sat there and said, “They won’t understand this in
      America”. Meaning, they don’t like Muslims in America. Sasha had become a
      Muslim but we should not advertise it, talk about it too much. I went to
      Akhmed and asked, “How can this be?” And he said, “What to expect of
      him? He is CIA. Has been CIA for a long time”.
      NA [recorded film] The fugitive Chechen general Zakayev would not speak
      idly. Another extraordinary situation happened in Alex’s home - they called
      him Alex in London.
      WL [Interview] There was a woman weeping, Goldfarb’s wife. She was
      about your age, very pretty. She was sitting there crying, weeping: “Walter,
      Walter, Alex killed Alexander”.
      RE That was Goldfarb’s wife?
      WL Goldfarb’s wife. She died within a month.
      NA [recorded film] She confessed that her husband killed Alexander and
      herself died a month later at the age of 28. That’s strange. By the way,
      according to some reports Goldfarb had been closely associated with the
      famous physicist Andrey Sakharov who designed the first Soviet hydrogen
      bomb. Some sources say Goldfarb was his interpreter, others, his secretary.
      AL [interview] When he lived in the Soviet Union, Goldfarb was
      professionally involved in nuclear physics. This, of course, makes one think
      that when the media and others started talking about Polonium-210, this could
      well have been his idea and probably his practical doing.
      NA [recorded film] So Litvinenko’s father’s theory is this: Alexander was
      poisoned by the CIA together with MI-5 and MI-6 in order to discredit
      Russia. It was done by the hands of Alex Goldfarb. He administered
      Polonium at the hospital. As for Lugovoy, they contaminated him later with
24:45 small doses so that he would leave Polonium trail in various places.




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                                     Program 3.
                4/1/2018. RT “Worlds Apart”. Transcript from 00:24 to 12:57

Program participants:

OB - Oksana Boyko, program host
WL - Walter Litvinenko, guest, Alexander Litvinenko’s father

Time


00:24 OB Hello and welcome to Worlds Apart. The British authorities explicitly cite
      the poisoning of the former FSB agent Alexander Litvinenko in London as a
      circumstantial evidence in the Skripal case. The Russians did it before, they
      will do it again. That’s the essense of the UK allegations against Russia. But
      doesn’t London itself have capability, intent and motive for this kind of
      national character assassination? Well, to discuss that I am now joined by the
      father of Alexander Litvinenko, Walter Litvinenko.


[Further conversation is rendered in voiceover translation of OB and WL into
English.]


       OB Mr Litvinenko, thank you very much for your time, thank you for
       coming to our program. This is going to be difficult conversation probably, so
       I am sorry, I apologize in advance if some of my questions might seem
       insensitive. As far as I know, the last days of your son, you were with him at
       the hospital, he basically died in your hands, in your arms, and right after that
       you publicly blamed Russia in his death. Who or what made you change your
       opinion on this issue?
       WL The analysis. I kept analyzing this situation; I kept thinking again and
       again and eventually I came to a conclusion and now nothing can change my
       opinion. Putin would never do anything like that.
       OB I’m sorry for interrupting but we know that your son blamed, accused
       Putin. There were some serious accusations. He said that Putin was behind the
       Russian apartment bombings, behind the 9/11 attacks in the United States.
       These are serious accusations. Why do you think that Russian intelligence
       services, or maybe politicians, could not have done something like that?
       WL You know, perhaps some in the Russian leadership would want to do
       any such thing but we have one person in charge of everything and that’s the
       way it has always been. And it’s the same these days. The president, he is on

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      top of everything. And I can see he is a decent person. He doesn’t do such
      nasty thinks. So, I reject all those ideas. And he is smart; he is a smart guy, he
      would never do something… Who is Alexander? He was just a regular agent,
      he loved his work. He was fighting criminals. And that was his primary job,
      he was going after criminals..
      OB Well, in Putins eyes I guess, he was a traitor?
      WL No, he was not a traitor. Alexander was never a traitor. He could not be
      a traitor in Putin’s eyes. Actually, Putin knew him personally. He went to
      Putin’s office a couple of times. At least that’s what he told me. I know it
      from him, I’ve heard about it. I don’t know whether it’s true or not. Maybe it
      was just his inventions. Even though I doubt it.
      OB Well, let’s not talk about Putin but your son’s case because our British…
      many of our British colleagues say that, whether you trust Putin or not,
      whether you trust the British authorities, there is a chemical trace that leads
      through Lugovoy to the airport and then back to Moscow?
      WL Yeah, I’ve heard about that. You know, that’s not something that one
      person did. It was a group of people. Not just three people. Dozens of people
      involved. There were traces on the airplane, there were traces… it’s stupid,
      they say, you go there to poison one guy… there would be traces if they were
      after dozen…but if they sent somebody with Polonium to poison one pers…
      It was not Polonium immediately; first they just said he ate something and
      then they said it was thallium and then they said it was polonium. Polonium,
      they found it after he died; thirty minutes after he died they started saying it
      was polonium. So you know, doctors are so stupid and they never figured out
      what they should treat him for? I know, I am a doctor myself, I know, first
      you get the diagnosis right and then you offer treatment.
05:00 OB Your opinion about the cause of death of your son is different from what
      his widow Marina says. She still publicly, and I think sincerely, accuses
      Russian authorities…
      WL While Marina remains in the UK she depends, she is controlled by the
      intelligence services in charge of this case. I could have stayed there as well
      but I realized that I had to leave as soon as I could because I would never
      survive there… for a couple of years, you know… and when I fled to Russia I
      told them, you have to hide me, if you can’t hide me I would never go back.
05:51 OB I know that you personally think that his former friend Alexander
      Goldfarb is connected to his death? A shady character?
      WL He is a CIA guy. It’s CIA that killed my son.
      OB What was his motive? Why are you so sure that it was him?


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      WL Motive? I think he would have left like I did. He was as smart as I am.
      You know, as long as you remain obedient you live; as soon as you rebel you
      get killed. This is what happened to Berezovsky, this is what happened to this
      lady who said, ‘Walter, Walter, Alex killed Alexander’
      OB You mean Goldfarb’s wife. She had cancer?
      WL No, she did not have cancer. So young…woman. They just killed her.
      Because she knew too much and she spoke too much. And when she was
      saying that, they told me she was a drug addict, and now they say she had
07:07 cancer. They lie all the time.
      OB But it’s obvious that there are a lot of Russians in the UK who still have
      an axe to grind with Russia?
      WL Just like Alexander. They’re all under control. They all depend on the
      British authorities. And they are all on the payroll.
07:30 OB There is an interesting coincidence in this case. Theresa May, when she
      was Home Secretary, she classified the Litvinenko case, all the investigation
      materials, and she said it was a matter of national security. You are a family…
      WL Sure, it was the right thing to do. Because if they actually reveal all this
      information… It’s not just the national security. It’s basically CIA that’s
08:01 involved. The Brits and the Americans, they are very close, and Israeli
      intelligence services as well, because Alexander went to Israel, then to Italy
      and then he went to London and then he was killed soon after that. There was
      the first attempt in October, maybe it was the beginning of the poisoning, then
      on November 1 he felt very sick; and they purged his stomach. If this was
      polonium they would have diagnosed it straight away. I am a doctor myself, I
      know about these things.
      OB The British authorities say that it is such an unusual poison so nobody
      could even think that somebody would use it. But let’s go back to…
      WL The reason they say this was polonium is becuse they want to blame it
      all on Russia. That’s what they did. I don’t know, they didn’t show me any
      documents, nothing.
      OB This is something I would like to ask you. As a family member you
      have… you should have access to the documents…
      WL I have no access whatsoever.
      OB Have you tried to maybe take it to court? Go to some British court and
      ask for access to these documents? As a father, as a victim.
      WL You know, when I was there, nobody would let me have any access, you
      know, they would just kick me out.
      OB You have already mentioned the fact that there are many former Russian
      citizens in the UK who have strained relationship with Russian authorities?

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      WL I talked to some of these people; I can give you their names but I don’t
      want to set them up.
      OB What did you talk about with them? Are they scared?
10:00 WL Some of them blamed Putin at first and then they told me openly that this
      was mafia meaning Berezovsky and Goldfarb and all those people. So people
      who told me about that, they could not accuse CIA openly because CIA is
      everywhere and these people there they don’t want to get killed. So it was
      easier for them to say mafia instead… even though Berezovsky himself was
      controlled by the CIA.
      OB Many in the UK think that the British authorities did not really want this
      tension in the relations with Russia, so after Litvinenko’s death there were no
      serious diplomatic push but now finally they are fed up. Why do you think
      they’re taking these steps right now?
      WL You know, they were looking to find something on Putin back then, as
      soon as he gave his speech in Munich they started trying all sorts of nasty
      things against Putin. When all those things happened I remember how
      Goldfarb and there was also Ahmed, but I don’t want to talk about him…
      OB You mean Zakaev?
      WL Ahmed Zakaev, but I don’t want to talk about him. As soon as he speaks
      out, you know, he wants to go back to Chechnya, they would kill him straight
      away. They are hostages there. They are all hostages of the US government
      which seeks global domination.
      OB Mr Litvinenko, but let’s go to our previous question. After Litvinenko’s
      death, and that was a very public case, all the newspapers wrote about it, but
      there were no serious measures after that: no expulsion of diplomats, no
      financial sanctions, nothing was done. But now, even though we still don’t
      know what happened to the Skripals there are serious measures that are being
      taken. You personally, how do you explain this absence of serious measures
      back then and the steps that the government is taking now?
      WL These stories about what these British services do… they try to do
      something against Russia but what can they do? So they only can expell our
      diplomats but actually they are scared, they are afraid of Russia. Well, if you
      are afraid of Russia be human. We don’t want anything. We are not imposing
      anything… You know, all those new weapons, it’s just we don’t want
      anybody to make jokes about us…
      OB Well, we have to take a very short break now but we will br back in just a
12:57 few moments. Stay tuned.




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                                        Program 4.
           4/4/2018. Channel One “Let Them Talk”. Transcript from 32:43 to 54:06.


Program participants:


DB - Dmitry Borisov, program host
AL - Andrey Lugovoy, Duma deputy
DG - Dmitry Gladyshev, expert on poisons
MS - Maxim Shingarkin, public activist
WL - Walter Litvinenko
OL - Oleg Lurie, journalist
VS - Victoria Skripal
DK - Dmitry Kovtun
AK - Andrei Karaulov, Channel One contributor

Time

32:43 DB This is "Let Them Talk". Good evening everyone. I am Dmitry Borisov. Today
      again we discuss the poisoning case of Sergei Skripal, the ex-spy and his daughter
      Yulia. Theories multiply like mushrooms after the rain and in the process it turned out
      the ex-spy while in Britain, could get close to the crowd around Boris Berezovsky
      who had long lived in London. This group reportedly had included Alexander
      Litvinenko and a long time associate of Berezovsky Alex Goldfarb. The murder of
      Litvinenko, the mysterious death of Boris Berezovsky and the poisoning of Sergei
      Skripal could be links in the same chain as was indirectly asserted by Walter
      Litvinenko the father of the late agent. On the previous show he said he believes the
      probable murderer of his son was Goldfarb who, he said, could be a CIA agent. So
      whose path in reality could the ex-spy Sergei Skripal cross? Or perhaps the actual
      target was his daughter and if so why only she is out of coma? Before the break we
      talked about what was also discussed last time, namely that Sergei Skripal was a link
      in the same chain with the poisoning of Alexander Litvinenko. A sensational
      statement was made on the last program by Walter Alexandrovich, the father of
34:09 Alexander Litvinenko. We'll ask if that version was a surprise to Andrey Lugovoy
      whom the British authorities accuse of complicity in this murder. Good evening.
      AL Yes, good evening.
      DB
      Of course Walter Litvinenko…
      AL Today it's more fun…
34:38 DB More fun with Victoria who insists… So, look here, you heard everything that
      Walter Litvinenko said on our program. No one was prepared for that version. It truly
      became one of the most discussed news, at least in our country. Did it surprise you?
      AL Regarding Goldfarb?
      DB Regarding…

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35:00 AL No, it did not surprise me. We aired this version 12 years ago when the events
      happened. We discussed several versions very thoroughly including the role of
      Berezovsky's people. The main version was that in the case of Litvinenko the
      interests of both Berezovsky and secret services were affected. And of Berezovsky’s
35:10 circle. By contrast, in the case of Skripal I think the top leadership of UK was
      involved from the start. You know when I've reflected on my own fate - because of
      the Litvinenko case I am a wanted man, I cannot leave the territory of Russia - I was
      thinking how and where this would end? It may sound cynical but not in my wildest
      dreams could I imagine a situation like this, which, in the eyes of all doubters,
      vindicates us by 100%, exonerates myself and my friend Dimitry Kovtun. By all our
      actions during about six years we we demonstrated that we are open to dialogue, we
      hired British lawyers, but when the Brits realized that we'd finally get access to the
      case files Theresa May classified everything.
      DB Lets get back to Sergei Skripal…
      AL I am trying to see an analogy with my own experience. When this misfortune
      happened to Skripal I woke up in the morning and saw about 20 unanswered calls
      from Britain, English phone numbers that is. If it were an ordinary event and they
      were trying to find out it could not have happened within 24 hours that the whole
      media machine of Great Britain jumped upon me with questions and ready analogies.
      This whole story is being run, managed, and coordinated as a singular system, a singe
      organism. Specific recommendations to the topmost British media have been issued
      and they went running to carry out the orders. Period. A provocation. Action of the
      British side. Consent from the UK top leadership. Involvement of the Secret service.
      All of that is absolutely clear to me.
      DB But still, on the one hand parallels are drawn but on the other the two substances
      are different. Dmitry, Polonium there and Novichok here?
      DG The pattern is similar. The available data about the poisonings indicate that both
      the investigations and the court hearings are being rigged. Because in the normal
      process of inquiry into poisonings, the causative agent remains unknown for three or
      four days. If we speak about Litvinenko, he did not have a chance to survive because
      he got Polonium. Skripal wouldn't have survived had they not given him the antidote.
      But an antidote can be given only after the agent has been established…
      MS I want to say something about Polonium. We should be clear Polonium is
      something that’s being claimed by the British secret services. But if you have a task:
      Suppose somewhere in this room there is Polonium. To find the exact spot would be
      extremely difficult. You have to take individual swabs from every two-centimeter
      site, collect 2 million samples, as there will be 2 million sites here, and only one will
      show where Polonium was…
      DB But if it's true what they say in Britain, we have here in the studio at least one
      man who was near Polonium. This is Walter Litvinenko, the father of Alexander
      Litvinenko who came here again to tell us about the impact of his sensational
      interview on our last program. Good evening, thank you for coming again.
      WL Hello.
      DB Walter Alexandrovich, have many journalists contacted you for comment after
      you said here things that you had not say before?
      WL Many. There were people from St. Petersburg.
      DB As Oleg asks, were these Russian media or Western media too?
      WL Only Russian, I would not speak with the foreign…


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       OL No point talking to Western…
       WL I heard what was said here about Skripal. If he was poisoned by the British it is
       not really known if Novichok was there in the first place. Maybe it was simple
       chloroform. Or maybe they are not in the hospital now but in jail.
       Unidentified voice I totally agree.
       DB That has been suggested.
       WL And there they show them, so to say, a big fist and tell them: either you'll never
 40:00 leave here alive, or you say what we want. And right now when you sit here… I like
       you, you are a very active woman...
       VS Thank you.
       WL I mean you are very much needed there… in UK. You should be there and
       demand to be let to visit that girl. I am sorry for that girl. She will die there. They'll
       poison her like they poisoned my son. They've poisoned him three times in the
       hospital. This might be a common poison or something else. In the final count it is
       very serious. The English are very dangerous to deal with, I learned. Right now
       almost half a million of our citizens are hostages there. Hostages! Anyone of them
       can tomorrow end up like Skripal?
40:56 DB Walter Alexandrovich, on our last show you came out and greeted and practically
       embraced Andrey Lugovoy who you think is absolutely uninvolved in the case.What
       would you say about Dimitry Kovtun?
       WL They were all together. Sokolenko, Dmitry Kovtun, them all were together.
       DB If he shows up in this studio, will you greet Dimitry Kovtun?
       WL Why not?
       DB Dimitry Kovtun is here. Greetings. Let's ask him about this old case in which he
       also has been accused, and the present case of Sergei Skripal.
       DK Hello!
       WL Hello!
       DB Good evening Dmitry! I know that when our editors talked to you about the
       version that Alexander Goldfarb could be complicit in the murder of Alexander
       Litvinenko you put forward a rather sensational supposition regarding the possible
       relationship of Alexander Goldfarb and…
       DK …the former wife of Alexander you mean?
       DB … and Marina Litvinenko.
       DK Well, from the first days after Litvinenko's death Goldfarb was near her we saw
       them together all the time, they wrote a book together, they prepared for the hearings
       together and all those statements she made during Public Inquiry makes one think
       that she is of course under someone's influence and does not make her own decisions.
       DB So you think she is under Goldfarb's influence?
42:28 DK I think yes.
       MS Colleagues, let's dot the i'es in this matter. Berezovsky said many times that he
       knows some weapons grade plutonium went missing in Russia. At the time,
       Berezovsky had a plan to show to the global community Plutonium allegedly
       originating from Russia to prove a point that Russian Federation cannot secure its
       nuclear weapons. Some of these materials landed in the hands of Litvinenko and he,
       knowingly or not, got a radiation dose. He suspected that something went wrong
       with him and he talked about it. But we should understand that Litvinenko himself
       did not know what happened. But people who managed Berezovsky and his plan to
       accuse Russia, knew. Therefore when they had a situation they needed to get rid of


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      Litvinenko, which they did. They claimed it was Polonium, which is impossible to
      detect by usual methods. Moreover after five years, if there was Polonium there
      nothing could be found at all, because all of it has decayed. The totality of material
      demonstrates that under the control of British secret services, their recruited an agent,
      the fugitive oligarch Berezovsky, who handled radioactive material on the British
      territory. This is the gravest indictment of Theresa May who at the time virtually
      controlled all secret services of Britain, as well as a violation of international
      agreements on handling nuclear materials, and a violation of the international
      agreement against nuclear terrorism.
      WL I have a question.
      DB Walter Alexandrovich.
      WL How did Alexander Litvenenko get himself irradiated?
      MS He was irradiated not by Polonium. They gave him a sample. He opened the
      sample and passed it to Berezovsky That was why Berezovsky's car was
      contaminated. Where did this sample go? Berezovsky was killed so that he would
      never tell where that sample went.
      DB And here again we came to the question what happened to Boris Berezovsky. We
      will look into that after a short break. This is Let Them Talk. Stay with us.
      [break]
      DB This is Let Them Talk. Good evening to all, I am Dmitry Borisov. Today we
45:00 again are trying to sort out the poisoning case of ex-spy Sergei Skripal and his
      daughter Yulia.
      [Recorded film] It’s been a month since the incident in Salisbury. One would think
      it's enough for the investigation in an era when CC cameras cover nearly every meter
      of any city. But the impression is that the more time passes the less evidence remains.
      While the British government is loudly accusing Russia British own experts confess
      they are not sure where the Novichok gas came from if at all. Scotland Yard promises
      to reexamine all mysterious deaths in Britain but there have been no movement. But
      if you listen to the family of Alexander Litvinenko who was poisoned earlier most
      threads lead to Boris Berezovsky who himself could be a murder victim. The fugitive
      oligarch who lived in London since 2000 surrounded himself with all kinds of people
      including possibly agents and double agents of various secret services. Years have
      passed since another Soviet defector, scientist Vladimir Artemovich Pasechnik died
      near Salisbury. Then happened the poisoning of Berezovsky's acquaintance, the ex-
      KGB agent Alexander Litvinenko. The oligarch himself was found dead five years
      ago and just recently, in mid-March, died of his closest aides Nikolai Glushkov.
      Could that be a tradecraft of British secret services? Today in our studios are
      journalists who conducted their own investigation. How it can be that Alex Goldfarb
46:33 whom Walter Litvinenko blames in his son's death keeps warm relations with the
      widow of poisoned Alexander and what linked Boris Berezovsky to Sergei Skripal?
      Just before the break, one more version of Alexander Litvinenko's murder was
      offered by Dmitry Kovtun who also had featured in the British criminal case. I want
      you Dmitry to repeat it. So, Alexander Goldfarb whom Walter Alexandrovich thinks
      is complicit in his son's murder, according to you was in a kind of warm relationship
      with Marina Litvinenko.
      DK He is still in a kind of warm relationship with Marina Litvinenko.
      DB You said she is influenced by him.
      DK I said he influences her in a certain way directs her.


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      DB How?
      DK He formulates her position her opinions, convinces her to make false statement in
      the Public Inquiry hearings, for example. And she does that. She is making absolutely
      ill-advised, easily disprovable…
      DB Why does she listen to him?
      DK Probably because he in some way commands her respect.
      DB Respect, or...?
47:45 DK Respect, maybe more by now, I don’t…
      VS I want to say that on the third day after what happened BBC wrote to me that
      Marina Litvinenko agreed to help me in any way, that she understands my feelings
      since she has been in a similar situation; they gave me her phone number, numbers of
      her lawyers in England and said that if I come to England I can contact her directly
      and she will help me in any way.
      DB Now I suspect Andrey Karaulov will say Marina Litvinenko does not want to
      miss your arrival.
      AK You guessed almost right. I want to say something more dramatic: on the third
      day BBC offers help of Litvinenko via BBC, and uncle Walter says something
      sensational. I thought that the journalists of the world press based in Moscow would
      comment your words. But not a single word! Even in England independent journalists
      published more that a 100 blogs and articles saying it was unexpected, how can we
      not trust a father, but at least in a half of them repeat like a carbon that you have been
      bribed by Channel One. Apparently Borisov gave you some money so that you utter
      nonsense about your son, bribed you and you are already a KGB, FSB
      agent...Berezovsky is dead but his cause lives on!
      OL Walter Alexandrovich, have your son told you before dying that possibly he could
      go back or something of that sort, some ideas…
      WL Nothing of the kind. And generally he didn't think he would die. Until the end he
      was telling Marina I will run yet; he enjoyed jogging; he was a Sports Master in track
      and field..
      OL Sadly Berezovsky also did not think he would die and Skripal did expect to be
      poisoned.
      WL Berezovsky was killed, no doubt, no way he’d…
      Unidentified He knew a lot..
      Unidentified Such people do not kill themselves.
      DB You say you're sure Boris Berezovsky was killed, you're sure your son was killed,
      as you've said here by the Western secret services. We now know Sergei Skripal was
50:00 poisoned. Do you think these things are connected?
      WL You know, I will tell you, I am 99% sure Goldfarb did it. Maybe 1%, I'd give to
      criminals. Maybe.
      DB And are these incidents connected?
      WL But it would be hard for criminals to get close so I think, most likely… the
      closest…
      DB But are they connected, the three strange occurrences, at least three? Are they
      linked together, your son, all that happened to him, Boris Berezovsky, Sergei Skripal?
      WL Well, Boris Berezovsky could not be linked...The way he behaved with me when
      we met...It's impossible I think...Berezovsky was not so... He was just making money.
      He was not so vicious to look in the eye of a father whose son he killed and behave
      that way. No, I don't think so.


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      AK Do you agree it's time to dot the eyes and end the mystery? You are the survivor
      of your murdered son.
      WL You see, the British have known for long that Russia has nothing to do with it,
      meaning Sasha's death.
      AK Once you demand to see the medical records, first of all, the post-mortem, the
      official cause of death…
      WL Will they give it to me?
      AK Stop. There are human rights. It's a wrong question. Walter Alexandrovich, let's
      check it. Let us check out Theresa May, I am sorry for the expression, how she
      upholds human rights, or using plain Russian...
      WL This is what they demand from us, to observe rights; themselves, they never
      observe any rights ever! And they are killing us because we don't have the right to
      life, as they think.
      AK Do you want to go to London to see Theresa May?
      WL No, I won't go there. I want to die of old age.
      AK No? But will you agree to dispatch a lawyer with your letter, as a survivor…
      Again, you have rights, as any of us…
      WL I don't need to prove anything. I know very well about rights..
      AK That's not what I…
      WL As far as the English are concerned, no rights there...They are murderers!
      AK I agree, but again, you and you as survivors, in accord with your human rights,
      the conventions that everyone, including Britain have signed. And Theresa May
      refuses to see you, and you are left out in the street...At this point the whole world
      will understand! Am I right?
      Unidentified A brilliant idea.
      AK This woman, before the whole world, has accused our country. And when she
      was minister, had classified everything. Let her explain what has beed classified. At
      least to you and you.
      DB Victoria, after this speech, do you have a desire to go there and find out what's
      going on, where is your family?
      WL Will they let us?
      DB Victoria?
      VS This desire never left me. You see, when this whole thing started, it started at 8
      p.m. when no one yet knew, it all began in the internet, the first ones on midnight, on
      my page, the news agencies, the Telegraph and BBC appeared and they asked, will
      you go? will you go? And I said I don't know if I go or not. In our situation, as long as
      thee is a tiny, 1% chance they are alive, we as relatives must do everything so as do
      no harm. But after Boris Johnson spoke, his statement, and then Theresa may, all
      became clear.
      DB I see what you mean when you say you're afraid to harm. This ia your family, do
54:06 what you must and keep us informed. And we will report to our viewers.




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                                    Program 5.
         4/10/2018. Channel One “Let Them Talk”. Transcript from 27:00 to 50:53.

Program participants:

DB - Dmitry Borisov, program host
AL - Andrey Lugovoy, Duma deputy
VS - Victoria Skripal, Sergei Skripal’s niece
AT - Alexander Treschev, attorney
AI - Alexander Ionov, VP of International Human Rights Foundation
SV - Sergei Vistretsov, Duma deputy
OL - Oleg Lurie, journalist
MI - Mikhail Ignatov, forensic expert
NA - Natalia, Channel One producer
AG - Alex Goldfarb
IN - Igor Nikulin, former UN biological weapons expert
NP - Nikolai Platoshkin, Chair of Department of Foreign Affairs and Diplomacy
of MoscowSU.
WL - Walter Litvinenko, Alexander Litvinenko’s father
ML - Maxim Litvinenko, Alexander Litvinenko’s half-brother

Time
27:00 DB So, Andrey, when the Office of Prosecutor General recalled similar
      scenarios, they mentioned the Litvinenko story in which you’ve been
      involved, they also mentioned the attempt to assassinate Boris Berezovsky in
      2003. And a name emerged there, that of a certain Vladimir Terluk
      AL Yes, colleagues let us go back to what the Office of Prosecutor General
      said. They showed a key story with Terluk. Few remember it. I was
      peripherally involved in that story too, because British lawyers came to
      Moscow and took my deposition as part of the Berezovsky vs Terluk case. For
      a year I worked with them; Vladislav Reznik, the lawyer who helped me is
      here. So this is what that was about: in 2003, when Berezovsky arrived in
      London they refused to give him political asylum. My friends, he did not get
      it, and this was a shocking blow to him. So precisely after that, Berezovsky’s
      collaboration with the British special services commenced, with MI-6. There
      was a deal, apparently. This deal involved Goldfarb - who, as we firmly
      believe is a member of the CIA -, Litvinenko and a certain con man, the
28:15 historian Felshtinsky. In order to create an appearance…
      DB Just one second, there is a phone call from Great Britain… Victoria
      answers. What? Who is that?
      VS Uh-hum, Lena, can you call a bit later? This is Sky News.

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      DB This is Sky News. Yes, Andrey. We are waiting for a phone call from
      Yulia that’s why…
28:35 AL So in order to create an appearance of legitimacy in obtaining political
      asylum for Berezovsky, they needed a scandal. In the end they found a certain
      Terluk. He is a citizen of Kazakhstan. They got him to agree to claim that
      Russian special services gave him a fountain pen loaded with poisoned ink,
      which he was supposed to use during the second court hearing on
      Berezovsky’s political asylum. And in a nutshell this kind of operation was
      carried out. As the result, Berezovsky got political asylum. I have read the
      testimony of Litvinenko, Goldfarb and Felshtinsky in this case, a real
      tearjerker. And so, in effect, the British already in those days were using
      stories about poisoning. Why this is a key episode? It looks they did not pay
      Terluk enough or something else because Terluk was released, there was
      nothing against him, no pen with poisoned ink was found but the political
      asylum has been granted. And when Litvinenko fell out with Berezovsky,
      who held him by not transferring the deed on the house, withholding his
30:00 salary, stopping funding the tuition of his son, I’ll tell you straight:
      Litvinenko became a threat to Berezovsky because he could return to Russia.
      And quite possibly this led to what’s happened to him next; we talked about it
30:12 a lot. So, British justice never tried to cooperate with Russian prosecutors
      office, they ignored all requests, and as I said here, we took part in the
      process…
      DB Yes, this is what they said in prosecutor’s office that their many requests,
      dozens of requests, remained unanswered.
      AL They did not answer. Moreover we helped draft those requests, me
      personally together with the lawyers. Vladislav here went to London probably
      ten times. And at the hearings there we did request: give us the post mortem
      report, show where they found Polonium, the quantities, who did the
      analyses, what are the data; provide… by the way, there was another key
      player, a certain Martin who was spotted at the hospital when Litvinenko was
      nearing death. He used to see this Martin. Scotland Yard, you see, works
      along their specific lines, they are not always privy to everything, so they too
      were looking for Martin. They found him. Martin turned out to be a member
      of the British Secret Service in charge of Litvinenko’s security. We demanded
      to see Martin so that our lawyers could question him. But no one has seen
      Martin up until today. And so, when they realized that we will get to the
      bottom of their lies, they classified the whole case.
      DB And now, according to PGO, Vladimir Terluk, whom you’ve mentioned is
      afraid for his own life…

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      AL He is afraid because in the end of January agents of Scotland Yard, or
      people claiming to be from Scotland Yard, contacted him, and offered to
      cooperate with them. A question arises: who and why tried that, especially
      two months before the events with Skripal?
      DB Yes, I will quote Terluk’s complaint who says that his unwillingness to
      bear false witness may negatively affect his immigration status and so on…
32:08 AL There is one more small detail, so that you understand everything related
      to Goldfarb and his Foundation for Civil Liberties founded by Berezovsky.
      Using as a model the way Berezovsky got his asylum, Goldfarb, Felshtinsky
      and Litvinenko decided to set up a trade selling British citizenship. They told
      me - Dmitry Kovtun will confirm: guys, let’s find someone in Russia who has
      been pursued by the law; we’ll strike a deal with that person; the price will be
      one million dollars; he will make several harsh statements against Russian
      authorities, make sure he is photographed preferably as he is being detained
      in one of the skirmishes that we see. Then we get him over to London via a
      third country; he makes appropriate statements, the Foundation fir Civil
      Liberties - it has been registered in New York - takes him under its wing; and
      he gets asylum.
      DB And the Foundation for Civil Liberties is the one where Goldfarb is vice-
      president…
      AL The president. As we were listening to this all, I said, how can that be, its
      an obvious con, and he said, you don’t realize how idiotic the British are; they
      believe all the crazy stuff we’re telling them about Russia! Period.
      (Applause).
      AT Andrei, the most important is that they have realized several such
      scenarios and a number of people got immunity trough them, that is, this
      industry has since developed and became large scale; we know that dozens of
      people, maybe several dozen got asylum in this way, being crooks, traitors
33:36 and thieves…
      DB So, does the British justice really believe this kind of stories and gives out
      asylum to all of them? Absolution from prosecution?
      AI As we have seen in the last story with Skripal, he should be protected from
      Great Britain because the Skripal family has never said that Russia has
      threatened them in any way and now Victoria does not know where is Yulia,
      they’ve hid her, she maybe under pressure, the diplomats are not allowed to
      see her while a picture is being disseminated through the media where people
      in these strange chemical protection gear appear in all Western media, on the
      front pages, and the Western world trusts this and says, “See how bad Russia
      is.” Britain in principle, has no other way to hang their foreign policy hook

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      against Russian activities so they resort to these eccentric actions. By the way,
      the fugitive oligarchs who fled there, the Chechen terrorists, and all kinds of
      gangsters, they have always fiercely criticized Russia. More importantly, they
35:00 criticized not simply Russia but the Russian president, the Russian justice
      system, saying that they are being persecuted.
      SV Well, if Skripal has been poisoned, why not show her to the whole world,
      let het tell who has poisoned her. They are afraid…
      DB They will, not once. Oleg
      OL She is a Russian citizen. Why no one talks about that? She has nothing to
      do with Great Britain, unlike her father. She is a Russian citizen who
      disappeared in Britain. They are trying to ship her into the USA. There are no
      statements from her. This is an international crime in effect.
      DB So from what you say we may expect some statements from Yulia Skripal
      against Russian authorities and Moscow’s policies? By the way, look,
      Victoria’s phone is bursting with calls, British numbers as I understand, but
      this is not Yulia.
      Unidentified guest. A big problem of Conservatives is that the level of
      liquidation is so high. That is, in case of further escalation of confrontation
      with the Russian Federation or something else their life will be in serious
      danger. A second very important point: you want to hear statements from the
      people who are not ready to make them…
      DB You mean Yulia?
      Unidentified guest. Her too. In order to make the right statement, for
      example, she should be able to fully describe her day. And if at the moment
      her investigator is not ready, if there are some inconsistencies with the
      principal? They will ask her if there is an open press conference why her
      phone was turned off. And she will have to answer because the investigators
      cannot. The protagonist should know why it happened. There are questions
      about the pets…
      DB Look , we will now turn to Alex Goldfarb who has been mentioned by
      Andrei Lugovoy and who, I remind, Alexander Litvinenko’s father Walter
      named as the possible murderer of Alexander Litvinenko. After a short
      break we will hear what Alex Goldfarb said in response to our questions. Stay
      with Channel One.
      [break]
      DB This is Let Them Talk. Good evening to everyone. I am Dmitry Borisov.
      Yulia Skripal has been discharged from the hospital in Salisbury and moved
      to some “safe place”, according to British media reports which did not specify
      what is the safe place and how safe it really is. Victoria Skripal in our studio

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      can’t wait for Yulia maybe getting in touch with her again; but the phone call
      from Great Britain never comes. Meantime in the Russian Prosecutor General
      Office they draw parallels between the Skripal poisoning and other resonance
      incidents in Britain including the murder of Alexander Litvinenko. I invite
      into the studio another participant of that resonance British investigation -
      Dmitry Kovtun. (Applause.) Good evening Dmitry. You also know first hand,
      like Andrei, how it feels to be in the focus of the whole world press,
      something that Yulia Skripal goes through right now. And Victoria too.
      Victoria is here and we can see how worried she is waiting for info. What’s
      happening with Yulia we don’t know. How was it for you?
      DK It was very unexpected and very painful because when all of a sudden
      you wake up a famous man, and this fame is connected with some tragedy…
      which they link you to, this is always - especially if unexpected - this is
      always hard. A heavy burden of fame so to say.
      DB Then we remember there was an investigation of the case in Britain and
      also another, alternative investigation in Hamburg…
      DK Yes in Germany. Well they went on simultaneously, and the case they
      started against me in Hamburg in December of 2006. I was accused of illegal
      transportation of radionuclides. The visit to Hamburg, I remind…DB That is
      Polonium-210, used to poison…?
      DK Yes, Polonium-210, the traces of which were on me after the first
      encounter with Litvinenko on October 16. We met him on 16-17 of October.
      After that I went to Hamburg, and they found the traces of Polonium there.
      Well in Germany, after three years of active investigations by the police,
      Bundesnachrichtendienst, that’s German intelligence agency, jointly with
      Russian Investigative Committee, and the British special services…
      DB Meaning German investigators were not against the participation of
      Russian colleagues?
      DK No, they actively collaborated with Investigative Committee and with the
      British, naturally. And so in December 2009 the criminal case against me in
40:00 Germany was dropped because no crime has been committed. (applause).
      DB So this was the conclusion reached in Hamburg. And what was the
      reaction to this in London?
      DK In London they decided to be cunning. They did not name me at first as a
      chief suspect - all of this went to Andrei - and they lied low. They hoped - this
      is what Goldfarb says; this was a special operation maybe run by Goldfarb
      himself - they hoped that since the criminal case against me in Germany had
      been dropped, I would’ve immediately rushed to travel abroad for a vacation,
      say in Turkey.

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      DB Where they could have…
      DK They could’ve arrested me…
      DB And deliver…
      DK Yes, and deported, extradited to Great Britain.
      MI Are you under an international arrest warrant right now?
      DK Yes, I am on Magnitsky List, under an international warrant…
      MI And Andrei as well? That is, with all the vagueness of the accusations,
      these people are restricted in their travel, the movements…
      AL Moreover, our assets in Great Britain has been seized even though no one
      has ever seen those assets…
      DB The case is kept secret, the evidence unclear, in Hamburg they say no
      crime has been committed, nevertheless in the lists…
      AL One important thing as Dmitry said, there was a testimony of one
      incredible madman as a witness; this witness, as I understand, the Hamburg
      Prosecutors have discounted because they found him inadequate, whereas in
      London, when Robert Owen made his kind of public report, that witness
      became the key one. That was how British prosecutors…
41:46 DB Nonetheless, nothing of what you’ve said undermines Alexander
      Goldfarb’s trust in the British Justice. We got in touch with him. Here is how
      he answered the questions of my colleague.
      NA [audio of conversation]:
      … will be taped.
      AG Go ahead.
      NA First question. What do you think about the poisoning of Skripal?
      AG I think Russian special services poisoned Skripal as British authorities
      say. Why I think so? Because I trust British authorities and don’t trust Russian
      authorities. The Russian authorities poisoned him and sooner or later they
      must be held accountable. The Brits have the evidence, they claim, and I fully
      trust them.
      NA Litvinenko’s father has accused you of killing his son. How do you
      respond to him?
      AG I can respond: he is no father to him, he abandoned him when the boy
      was two years old, later he milked him, and later when Berezovsky stoped
      giving him money he returned to Moscow. He is worse than Lugovoy because
      Lugovoy at least carried out an order while the father betrayed his son for an
      apartment in Moscow.
      NA When Alexander Litvinenko was in the hospital they say that you shaved
      him bold. What is the story? Why you did it?


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        AG I did not do it. When Alexander Litvinenko was in the hospital his hair
        fell out because of the action of radiation. This was confirmed by the way in
        an open court, all evidence is available in the Internet, anyone can see.
        DB [studio] Alexander Goldfarb says he trusts British authorities 100%,
        absolutely does not trust what Russia says and if this is what Britain says,
        then…
        MI What else can he say?
43:35   IN Nothing else could be expected from him!
        DB Why nothing else could be expected from him?
        SV There were elections in Russia. Russia was the only country which would
        not benefit from Skripal’s death. So if they wanted to kill Skripal - maybe he
        deserves to die as a traitor - but it was not to the benefit of Russia to do this
        during the presidential campaign, you see? This was to the benefit only of UK
        and USA.
        MI Look, in Russia no one knew who Skripal was. Only a limited number of
        people knew him.
44:04   DB Regarding Alexander Goldfarb, you, Andrei, have called him on the air a
        likely CIA agent, didn’t you Andrei?
        AL Well, a CIA agent, firstly Litvinenko’s father said that and also I know
        that he had emigrated from Russia in the Soviet time and I know from his
        own words that in the 1990ies he was on the so-called black list, he was on
        the list of people whose entry into the Russian Federation was prohibited.
        These lists are not compiled arbitrarily, so apparently he was a threat to the
        security of Russian Federation.
        DB And what do you think…
44:48   AL That was in the 1990ies, I emphasize!
        DB And presently, in the 2010s, was Alexander Goldfarb in contact with
        Sergei Skripal?
        VS What for?
        AL It’s hard for me…
        DB They say that in Britain there was a… what’s the word?…community of
45:00   sorts where Berezovsky, Litvinenko and others who one way or another
        ended up in Britain with asylum…
        AL We have heard that Marina Litvinenko seemed to offer her services to
        Victoria, and I think that of course this could not have happened without
        Goldfarb. It is not a secret that Goldfarb and Marina Litvinenko maintain
        close business relationship, they have several books together, and no doubt
        they keep moving in this direction somehow.
        DB Has Marina Litvinenko contacted you again, Victoria?

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         VS No they gave me her phone number but I did not call…
         DB That is, you yourself did not call, there was an offer but you did not.
         (Applause). So what do you think, was Goldfarb in contact with Skripal, was
         there any kind of link?
         NP I would like to add to what Mr. Lugovoy said regarding the style of
         British intelligence. You see, they do things but leave the “wet jobs” 1 to the
         citizens of other states, those who have nothing to lose, who has already been
         compromised so as not to leave, as they say, a paper trail. I do not exclude in
         view of the fake that appeared yesterday about the murders allegedly linked
         to Russian officers in Syria, I by the way do not exclude that all of this has
         been carried out by Syrian opposition that have been sitting in London since
         1980. And by the way take notice: lots of British citizens were fighting for
         ISIS, including the chief executioner of ISIS. So I don’t exclude…
         DB So you think that some Syrian opposition is lobbying in London…
         NP No, no no, I’d like to finish. Now these people have returned, they could
         be prosecuted and they could’ve been told that they may get leniency through
         committing this act. So I don’t exclude that was done by Syrians, the Syrian
         opposition or some other people who just in case… As with Goldfarb by the
         way, to be able to say it was done by Russians, or by Syrians, whereas we, the
         British counterintelligence, have nothing to do with it. This is their stock
         modus operandi just in case they are exposed.
         DB So see, as we know by now Yulia Skripal has been discharged from the
         hospital. But what awaits Sergei Skripal himself, thanks to whom this whole
         thing started? After a short break we will be back in the studio. This is Let
         Them Talk. Stay with us.
         [break]
         DB This is Let Them Talk. Good evening to everyone again. I am Dmitry
         Borisov. Yulia Skripal has been discharged from the hospital in Salisbury. Her
         cousin Victoria is in our studio. Earlier the Russian Prosecutor General Office
         said that the Russian side has not received from Britain documents related to
         the death of Boris Berezovsky and its causes; the same is true for the
         Litvinenko case, which remains classified until today, and generally, as they
         said at PGO, in the case of Skripal poisoning, London follows a scenario
         similar to the one used in the previous cases. During commercials, Alexander
         Litvinenko’s father Walter Alexandrovich joined us. So, you’ve heard
         everything Alexander Goldfarb said about you in our interview…



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      WL I’ve heard that liar. He is a liar like the whole of the CIA. Like the whole
      of America lies about Russia. (Applause). So he lies about me.
      DB He said you were a bad father to Alexander Litvinenko, even that you are
      no father, abandoned him at the age of 2, he said…
      WL If I can’t defend myself let my son say how I cared for Sasha…
      ML After Walter and his first wife divorced, Sasha lived in Walter’s house
      with Walter’s father until he went to military school. He lived in Nalchik,
      trained in track and field, went to school in Nalchik and his mother lived in
      Moscow. Sasha lived with his father, that is, with his grandfather…
      WL With us.
      ML With us. And when he already worked in Moscow he used to visit us and
      so on. That is, we had excellent relations. To say that Walter was a bad father,
      I don’t know… His has been misinformed…
      DB Misinformed or he is simply lying? (applause)
      ML Or he is lying, but then it is very stupid…
      WL He is a liar, he is a lier. A true slanderer.
      AT Walter, still, Dmitri asked, did he shave your son bold in the hospital?
      ML May I answer this question. I was in constant contact during the first days
      when Sasha was taken to hospital. On November 2 I spoke on the phone with
      him. We did try to start a business together because his dealings with
      Berezovsky were closing, and he said: ‘Yesterday I ate something bad, but in
      two hours I will be at home”. This was on November 2. “I will be at home
      shortly, I will call you back”. There was no call. On the next day he no longer
50:00 picked up calls. His wife did. And when she passed the phone to him, he said,
      “It’s something strange, Scaramella came”. He did not even mention Lugovoy
      or anyone else. So I tried to call practically every day. I don't remember the
      exact date, but his wife Marina’s number was answered by their live-in
      housekeeper, and she said that Marina cannot talk right now, a barber came
      and Sasha is getting a haircut.
      AT This is important. You know why? Because ‘once a liar, always a liar’.
      (Applause). That is why when he started lying when Dmitry put the question,
      (applause) it is clear that he maliciously slandered your father as well.
      ML Apparently the housekeeper was not told what to say, she just said into
      the telephone what she saw.
      DB Or she simply babbled out the truth.
50:53 ML I remember that conversation…




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